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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               (Richmond Division)



In re:                                                  Case No. 08-35653 (KRH)

CIRCUIT CITY STORES, INC., et al.,                      Chapter 11

                      Debtors.                          (Jointly Administered)




  OBJECTION OF THE UNITED STATES TRUSTEE TO THE MOTION OF THE
 LIQUIDATING TRUSTEE TO DETERMINE EXTENT OF LIABILITY FOR POST-
   CONFIRMATION QUARTERLY FEES PAYABLE TO THE UNITED STATES
TRUSTEE PURSUANT TO 28 U.S.C. § 1930(A)(6) AND MEMORANDUM IN SUPPORT



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       John P. Fitzgerald, III, Acting United States Trustee for Region Four (the “United States

Trustee”), files this Objection to the Motion of the Liquidating Trustee to Determine Extent of

Liability for Post-Confirmation Quarterly Fees Payable to the United States Trustee Pursuant to

28 U.S.C. § 1930(A)(6) (the “Motion”). In support of this objection, the United States Trustee

respectfully states as follows:

                                           SUMMARY

       1.      In 2017, Congress amended 28 U.S.C. § 1930(a)(6) by adding a new subsection (B)

and an additional uncodified provision. That 2017 amendment temporarily increased the amount

of quarterly fees to be collected in larger chapter 11 cases, those with quarterly disbursements of

$1 million or more each quarter.       28 U.S.C. § 1930(a)(6)(B).      Congress passed the 2017

amendment so the Treasury would collect sufficient fees to fully offset the congressional

appropriations that fund the cost of the United States Trustee Program, and 18 additional

bankruptcy judgeships. It did that so ordinary taxpayers would not bear the costs of the bankruptcy

system. This temporary fee increase was effective for disbursements made on or after January 1,

2018. Because of a recent decision from the United States Bankruptcy Court for the Western

District of Texas, 1 the Liquidating Trustee now asks this Court to “rule” that (1) the 2017

amendment is unconstitutional as applied to this case, (2) the amount of quarterly fees due should

be calculated based on the pre-amendment version of the statute, and (3) “the Trust’s rights to seek

recovery of any excess amounts previously remitted . . . are preserved.” Motion at 14.




1
  In re Buffets, LLC, No. 16-50557-RBK, 2019 WL 518318 (Bankr. W.D. Tex. Feb. 8, 2019),
appeal pending sub nom. Hobbs v. Buffets Holdings, LLC, Case No. 5:19-cv-0173-DAE (W.D.
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       2.         The Motion should be denied because Congress’s 2017 amendment is

constitutional.

                                                 FACTS

       A.         Circuit City Stores, Inc. Files a Chapter 11 Case.

       3.         Circuit City Stores, Inc. and certain of its subsidiaries and affiliates filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code on November 10, 2008.

       4.         On September 14, 2010, the Court confirmed a plan of reorganization (the “Plan”).

       5.         The Court also approved, as provided in the Plan, the formation of the Circuit City

Stores, Inc. Liquidating Trust (the “Trust”) to be overseen by a Liquidating Trustee. Mr. Alfred

H. Siegel is the Liquidating Trustee.

       6.         Under the Plan and the order confirming the Plan, the Liquidating Trustee is

required to remit quarterly fees to the Office of the United States Trustee:

       All fees then due and payable pursuant to 28 U.S.C. § 1930, as determined by the
       Court at the Confirmation Hearing, shall be paid on or before the Effective Date by
       the Debtors. All such fees that become due and payable thereafter by a Debtor shall
       be paid by the Liquidating Trustee. The Liquidating Trustee shall pay quarterly
       fees to the U.S. Trustee until the Chapter 11 Cases are closed or converted and/or
       the entry of final decrees. The Debtors, through the Liquidating Trust, shall file
       post-confirmation quarterly reports or any pre-confirmation monthly operating
       reports not filed as of the Confirmation Hearing in conformance with the U.S.
       Trustee Guidelines. The U.S. Trustee shall not be required to file a request for
       payment of its quarterly fees, which shall be paid by the Debtors and/or the
       Liquidating Trustee.

Doc. No. 8555 at 101.




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         B.      The Liquidating Trustee challenges the quarterly fees due under 28 U.S.C.
                 § 1930.

         7.      On March 28, 2019, Mr. Siegel, as the Liquidating Trustee, filed the Motion and a

notice of constitutional question (Doc. No. 14198).

         8.      The Liquidating Trustee challenges the constitutionality of section 1930(a)(6)(B)

of title 28 and an uncodified provision that applies section 1930(a)(6)(B) to all disbursements made

on or after January 1, 2018. 28 U.S.C. § 1930(a)(6)(B); Bankruptcy Judgeship Act of 2017, Pub.

L. No. 115-72, § 1004(c) (uncodified). 2 The 2017 amendment applies to post-January 1, 2018,

disbursements made in this case.

         9.      The Liquidating Trustee asks this Court to (1) determine the amount of quarterly

fees due; (2) hold that the 2017 amendment is unconstitutional as applied to this case because it

violates the uniformity provision of the Bankruptcy Clause of the Constitution, U.S. Const. Art. I,

§ 8, cl. 4, and (3) hold that the 2017 amendment does not apply to this case because such

application would be unconstitutionally retroactive. Motion ¶ 15.

         10.     Through the Motion, the Liquidating Trustee also purports to “reserve[] [the

Trust’s] rights . . . to seek recovery of all excess amounts previously remitted” based on application

of the 2017 amendment, id., and asks this Court to hold that “the Trust’s rights to seek recovery of

any excess amounts previously remitted . . . are preserved,” id. at 14.




2
    Section 1004 of the amendment provides in relevant part:
         (c) APPLICATION OF AMENDMENTS.—The amendments made by this section
         shall apply to quarterly fees payable under section 1930(a)(6) of title 28, United
         States Code, as amended by this section, for disbursements made in any calendar
         quarter that begins on or after the date of enactment of this Act.
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        C.      Quarterly fees billed to date.

        11.     According to the Trust’s post-confirmation reports, there were total disbursements

of: $23,284,297 during the quarter ending March 31, 2018 (Doc. 14166); $14,909,055 during the

quarter ending June 30, 2018 (Doc. 14181); $12,530,446 during the quarter ending September 30,

2018 (Doc. 14190); and $3,077,721 during the quarter ending December 31, 2018 (Doc. 14195).

        12.     The quarterly fees incurred under section 1930(a)(6) since January 1, 2018 have

fallen below the $250,000 quarterly maximum Congress authorized in the 2017 amendment.

Instead, they were set at 1% of quarterly disbursements. 28 U.S.C. § 1930(a)(6)(B). Based on the

disbursements noted above, the fees ranged from $30,777 in the fourth quarter of 2018 to $232,843

in the first quarter of 2018.

        13.     By comparison, based on the monthly operating reports (cited above, supra ¶ 11),

professional fees in 2018 have totaled over $9.5 million, or 17.79% of total disbursements during

that time.

        14.     From the commencement of the case through December 31, 2017, based on the

Debtors’ monthly operating reports, the quarterly disbursements ranged between a little over $4

million to about $1.8 billion. A spreadsheet showing disbursements and quarterly fees for this

period is attached as Appendix A.

        15.     The quarterly fees incurred during that pre-amendment period ranged between

$10,400 and $30,000. See 28 U.S.C. § 1930(a)(6); Appendix A. On average, the quarterly fees

were about $22,500 and they totaled $833,400 from the commencement of the case through

December 31, 2017. See Appendix A. As a percentage of quarterly disbursements, the quarterly

fees ranged between 0.002% and 0.252%. Id. On average, the quarterly fees for this pre-
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amendment period were about 0.096% of quarterly disbursements, and were 0.019% of the total

disbursements during that time. Id.

                                           OBJECTION

       16.     The Liquidating Trustee argues Congress’s 2017 amendment is unconstitutional for

two reasons. First, he argues that the 2017 amendment violates the Bankruptcy Clause of the

Constitution, which confers the power on Congress to pass “uniform Laws on the subject of

Bankruptcies.” U.S. Const. art. 1, § 8, cl. 4. In his view, the temporary fees imposed in this district

were unconstitutionally non-uniform because they apply to all disbursements made on or after

January 1, 2018, but the increased fees in six judicial districts located in North Carolina and

Alabama (the “bankruptcy administrator districts”) were not collected in bankruptcy cases filed

before October 1, 2018. Motion ¶ 18 (citing Report of the Judicial Conference, at 11-12 (Sept.

2018)). Second, the Liquidating Trustee argues that the 2017 amendment should not be read to

apply to cases pending before the 2017 amendment’s effective date (January 1, 2018) because

application to pending cases would be unconstitutionally retroactive. As this case was filed before

January 1, 2018, he concludes the 2017 amendment is unconstitutionally retroactive as applied to

the Trust.

       17.     This Court should deny the Liquidating Trustee’s request because it fails to satisfy

the heavy burden to overcome the amendment’s presumption of constitutionality.

       18.     First, Congress’s 2017 amendment does not violate the United States Constitution’s

Bankruptcy Clause. Section 1930, as amended, is uniform because 28 U.S.C. § 1930(a)(7)

provides that bankruptcy administrator districts (located in Alabama and North Carolina), may

charge only the same fees as those charged in the other districts under 28 U.S.C. § 1930(a)(6).
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That is dispositive because the Bankruptcy Clause requires only uniform laws, and not uniform

application. The disparity here flows not from non-uniform laws but human error. Under a

controlling directive of the Judicial Conference of the United States issued in 2001 (the “2001

Directive”) fees in bankruptcy administrator districts must go up automatically when Congress

increases fees under section 1930(a)(6). 3 In other words, the 2001 Directive means fees in North

Carolina and Alabama increased by operation of the Directive on January 1, 2018, just like it did

in the other 48 states. The Judicial Conference’s 2001 Directive was in full force and effect on

January 1, 2018. There is no explanation why the Executive Committee—acting under authority

delegated by the Judicial Conference—decided almost eight months later in September 2018 to

permit bankruptcy administrator districts to disregard the 2001 Directive and sections 1930(a)(6)

and (a)(7) by charging fees only in cases filed on or after October 1, 2018—9 months after the fee

increase became effective in those jurisdictions. The bankruptcy administrators’ failure on and

after January 1, 2018, to follow both the Judicial Conference’s 2001 Directive and section

1930(a)(7) was human error, not the absence of a uniform law.

       19.     Alternatively, the 2017 amendment is not a substantive bankruptcy law of the type

subject to the Bankruptcy Clause. The Supreme Court has explained that the Bankruptcy Clause

only encompasses laws that regulate the adjustment of a debtor’s obligations to creditors. The

2017 amendment does not do this; rather, it is a revenue measure to allocate the costs of certain

government functions so that they fall on users of the bankruptcy system rather than taxpayers.



3
 See Report of the Proceedings of the Judicial Conference of the United States, at 45-46 (Sept./Oct.
2001) (available at http://www.uscourts.gov/sites/default/files/2001-09_0.pdf) (attached as
Exhibit A).
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            20.     Second, Congress’s October 2017 amendment is not impermissibly retroactive.

  Instead, the 2017 amendment is prospective because it applies to disbursements beginning January

  1, 2018 rather than going back to disbursements made since the petition date. And even if the

  amendment were retroactive, it does not violate the Due Process Clause. Instead, it is a rational

  measure designed and calibrated to ensure that bankruptcy system users, and not taxpayers,

  shoulder the “costs” of the system.

I.      Overview of Chapter 11 Quarterly Fees and the 2017 Amendment.

            A.      Congress established chapter 11 quarterly fees so that the cost of the United
                    States Trustee Program is not borne by taxpayers.

            21.     In passing the Bankruptcy Reform Act of 1978, Pub. L. No. 95-598, 92 Stat. 2549

  (1978), Congress overhauled a bankruptcy system that had been in place since 1898 because

  bankruptcy courts were burdened with statutory duties to supervise and administer bankruptcy

  cases. H.R. Rep. No. 95-595, at 3 (1977), reprinted in 1978 U.S.C.C.A.N. 5963, 5965. The

     solution was to remove those duties from the judges and transfer them to a “new system of United

     States trustees” in the Justice Department. 4 Id. at 4, 100. See also In re Prines, 867 F.2d 478, 480

     (8th Cir. 1989) (“Congress established the United States Trustee Pilot Program in 1978 to

     separate—on a trial basis—the administrative and judicial functions previously performed solely

     by the bankruptcy courts.”).      United States Trustees “were given responsibility for many

     administrative functions, such as appointing private trustees and monitoring their performance,



  4
     The United States Trustee Program was established as a pilot program in 1978 and was
  nationalized in 1986. See Bankruptcy Reform Act of 1978, Pub. L. 95-598, 92 Stat. 2549, (1978);
  Bankruptcy Judges, United States Trustees, and Family Farmer Bankruptcy Act of 1986, Pub. L.
  99-554, 100 Stat. 3088 (1986).
                                                7
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and monitoring cases for signs of fraud or abuse.” Id. Thus, as envisioned by Congress, the United

States Trustee Program was integral to the new bankruptcy system. H.R. Rep. No. 95-595, at 88-

109.

        22.     Congress used a variety of “bankruptcy fees” to offset the monies it appropriates to

fund the Program.      Under this congressional regime, all quarterly fees paid under section

1930(a)(6) of title 28 are deposited into the United States Trustee System Fund established in the

U.S. Treasury (the “Fund”), and are used to offset congressional appropriations made to directly

fund the Program. See 28 U.S.C. § 589a(a) & (b); H.R. Rep. No. 115-130, at 7 (2017), reprinted

in 2017 U.S.C.C.A.N. 154, 159-160.

        23.     Congress created the Fund at Treasury to ensure the Program’s cost would be borne

“by the users of the bankruptcy system—at no cost to the taxpayer.” See H.R. Rep. No. 99-764 at

25 (1986), reprinted in 1986 U.S.C.C.A.N. 5227, 5238; see also id. at 22.

        24.     Before settling on quarterly fees as part of the way to fund the Program, Congress

“considered many different possible mechanisms . . . including fees based on a debtor’s assets,

fees based on a debtor’s liabilities, and a flat fee for all debtors.” H.R. Rep. No. 99-764 at 26.

        25.     Congress charges graduated quarterly fees based on the size of a chapter 11 case’s

disbursements because it determined that “[s]maller chapter 11 debtors should pay smaller

additional fees than larger debtors; [and] the funding mechanism [in section 1930(a)(6)] ensures

that this will be the case.” Id.

        26.     This regime allows Congress to easily increase or reduce the fees paid under section

1930, so that the amount collected for deposit in the Fund will never be unacceptably small or

unreasonably large. The Attorney General is required to report to Congress every year on the
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amounts deposited in the Fund and expenditures made from it. See 28 U.S.C. § 589a(d). If the

amounts collected exceed the appropriations by Congress for a particular year, the excess remains

in the Fund to offset appropriations in subsequent years. See 28 U.S.C. § 589a(c). Conversely, if

the costs of operating the Program in a particular year exceed the amounts available in the Fund,

monies collected from taxpayers might be required to fund part of the appropriation to the United

States Trustee Program. See 28 U.S.C. § 589a(e).

       27.       On no fewer than ten occasions, Congress has amended section 1930(a) or section

589a of title 28, which establishes how the Fund is funded and how those funds may be expended:

             •   Departments of Commerce, Justice and State, the Judiciary, and Related Agencies
                 Appropriations Act, 1990, Pub. L. No. 101-162, tit. II, § 406, 103 Stat. 988, 1016
                 (1989) (increasing filing fee);

             •   Departments of Commerce, Justice and State, the Judiciary, and Related Agencies
                 Appropriations Act, 1992, Pub. L. No. 102-140, tit. I, § 111, 105 Stat. 782, 795
                 (1991) (increasing filing fee and quarterly fees, and directing deposit of a
                 percentage of fees into Fund);

             •   Departments of Commerce, Justice, and State, the Judiciary and Related Agencies
                 Appropriations Act, 1994, Pub. L. No. 103-121, tit. I, § 111, 107 Stat. 1153,
                 1164-65 (1993) (increasing filing fees, changing percentage of fees allocated to
                 Fund, and requiring Judicial Conference to report on bankruptcy fee system and
                 possible impact of using graduated fee system based on assets, liabilities, or both,
                 of debtor);

             •   Omnibus Consolidated Appropriations Act, 1997, Pub. L. No. 104-208, tit. I,
                 § 109, 110 Stat. 3009, 3009-18-3009-19 (1996) (increasing quarterly fees and
                 clarifying that quarterly fees requirement applies regardless of confirmation status
                 of debtor’s reorganization plan);

             •   Federal Courts Improvement Act of 2000, Pub. L. No. 106-518, §§ 102 -105, 114
                 Stat. 2410 (2000) (increasing filing fee and conversion fee, and providing for fees
                 under subsection (a)(7));

             •   Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L. No.
                 109-8, tit. III, § 325, 119 Stat. 23, 98-99 (2005), as amended by Pub. L. No. 109-

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                 13, § 6058, 119 Stat. 297 (2005) (increasing filing fees and changing percentage
                 of fees allocated to Fund);

             •   Deficit Reduction Act of 2005, Pub. L. No. 109-171, tit. X, § 10101, 120 Stat. 4,
                 184 (2006) (increasing filing fees);

             •   Consolidated Appropriations Act, 2008, Pub. L. No. 110-161, div. B, tit. II,
                 §§ 212, 213, 121 Stat. 1844, 1914 (2007) (adjusting quarterly fees and directing
                 deposit of fines into Fund);

             •   Temporary Bankruptcy Judgeships Extension Act of 2012, Pub. L. No. 112-121,
                 § 3, 126 Stat. 346, 348-349 (2012) (increasing filing fee and decreasing allocation
                 of fees into Fund);

             •   Additional Supplemental Appropriations for Disaster Relief Requirements Act,
                 Pub. L. No. 115-72, div. B, § 1004, 131 Stat. 1224, 1232 (2017) (increasing
                 quarterly fees for largest chapter 11 debtors).

       28.       All jurisdictions participate in the United States Trustee Program except the North

Carolina and Alabama bankruptcy administrator districts. See Pub. L. No. 99-554 (1986); Pub. L.

No. 106-518, § 501 (2000). In those districts, Judicial Branch employees known as bankruptcy

administrators oversee chapter 11 cases.

       29.       Although bankruptcy administrators initially could not charge quarterly fees,

Congress fixed that in 2001 by enacting section 1930(a)(7) of title 28. See Federal Courts

Improvements Act of 2000, Pub. L. No. 106-518, § 105, 114 Stat. 2410 (2000).

       30.       Section 1930(a)(7) provides that in the bankruptcy administrator districts “the

Judicial Conference of the United States may require the debtor in a case under chapter 11 of title

11 to pay fees equal to those imposed by paragraph (6) of this subsection.” 28 U.S.C. § 1930(a)(7)

(emphasis added). It does not permit them to charge amounts that differ from those set by section

1930(a)(6). Id. It permits only fees that are equal to section 1930(a)(6).



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       31.     Promptly upon section 1930(a)(7)’s enactment, the Judicial Conference issued its

2001 Directive approving the imposition of quarterly fees in bankruptcy administrator districts “in

the amounts specified in 28 U.S.C. § 1930, as those amounts may be amended from time to time.”

Report of the Proceedings of the Judicial Conference of the United States (Sept./Oct. 2001) at 45-

46 (emphasis added) (available at http://www.uscourts.gov/sites/default/files/2001-09_0.pdf)

(attached as Exhibit A). The 2001 Directive automatically approved future changes to the

quarterly fees charged in bankruptcy administrator districts so they immediately mirror

amendments to section 1930(a)(6). Id. (noting fees in bankruptcy administrator districts would go

up when the statute was amended “from time to time”).

       32.     By its 2001 Directive imposing the same bankruptcy fees in North Carolina and

Alabama as set by section 1930(a)(6), as amended from time to time, the Judicial Conference

guaranteed that those districts would always be in compliance with section 1930(a)(7). Whenever

Congress amended section 1930(a)(6) to increase quarterly fees, the Judicial Conference’s 2001

Directive ensured that the bankruptcy administrators in North Carolina and Alabama were in

compliance with section 1930(a)(7) by increasing fees to “equal” those required by section

1930(a)(6).

       B.      Congress temporarily increased fees in 2017 to avoid a deficit in the United
               States Trustee System Fund and to fund additional judgeships.

       33.     In October 2017, Congress amended 28 U.S.C. § 1930(a)(6) to increase the

quarterly fees where both the disbursements equal or exceed $1 million during a quarter and the

Fund balance at Treasury is below $200 million in the most recent fiscal year. See H.R. Rep. No.

115-130, at 7-8. The new subparagraph B provides:


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      (B) During each of fiscal years 2018 through 2022, if the balance in the United States
      Trustee System Fund as of September 30 of the most recent full fiscal year is less
      than $200,000,000, the quarterly fee payable for a quarter in which disbursements
      equal or exceed $1,000,000 shall be the lesser of 1 percent of such disbursements or
      $250,000.

28 U.S.C. § 1930(a)(6)(B).

          34.   The 2017 amendment provides that it “shall apply to quarterly fees payable under

section 1930(a)(6) . . . for disbursements made in any calendar quarter that begins on or after the

date of enactment” of the amendment. Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72,

§ 1004(c) (uncodified). That quarter began on January 1, 2018. Id.

          35.   Congress passed this most recent amendment following a seven-year decline in

bankruptcy filings. See Dep’t of Justice U.S. Tr. Program FY 2018 Performance Budget Cong.

Submission at 9, available at https://www.justice.gov/file/968761/download (last visited April 10,

2019) (“UST FY 2018 Submission”) (showing consistent decrease in quarterly fee and filing fee

collections over past several years). The resulting decrease in fees collected under section 1930(a)

exhausted the Fund’s unrestricted balance at Treasury during fiscal year 2017. See Dep’t of Justice

U.S. Tr. Program FY 2019 Performance Budget Cong. Submission at 9, available at

https://www.justice.gov/jmd/page/file/1034391/download (last visited April 10, 2019). Without

the amendment, the Fund was predicted to have a zero balance in fiscal year 2018. See UST FY

2018 Submission at 9. The remaining fund balance and fee collections were projected to fall $92

million short of offsetting the funds Congress appropriated for the Program in fiscal year 2017.

See id.

          36.   Because the Program’s appropriations are offset from the Fund, id. at 8, any

shortfall in offsetting the appropriations results in taxpayers bearing the burden of those
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operational costs. Without the Fund surplus from prior years, the Fund would not have been able

to fully offset appropriations to the United States Trustee Program. See id. at 9 (“In FY 2016,

offsetting collections covered approximately 66 percent of the Program’s appropriation, with the

remainder being drawn from the Fund.”).

       37.     Given Congress’s longstanding intention that collections should be sufficient to

offset Program appropriations, on October 26, 2017, Congress temporarily increased the cap on

the amount of quarterly fees collected in the largest chapter 11 cases. Pub. L. No. 115-72, § 1004;

see H.R. Rep. No. 115-130, at 7-8. Congress specified that the temporary fee increase would

become effective for disbursements made in the first quarter beginning after the statute’s

enactment—that is, for the quarter starting on January 1, 2018—which was more than two months

after the enactment. See Pub. L. No. 115-72, div. B, § 1004(c), 131 Stat. at 1232.

       38.     A May 17, 2017 House Report states that the bill that led to the 2017 amendment

sought to convert 14 temporary bankruptcy judgeships to permanent judgeships and add four new

bankruptcy judgeships. 5 H.R. Rep. No. 115-130, at 7-8. The Report explains that the increase in

the quarterly fees for large chapter 11 cases is intended to cover the costs of the judgeships, in

addition to providing separately needed funds for the operations of the United States Trustee

Program. 6




5
 H.R. 2266 was later amended to extend the temporary judgeships rather than converting them to
permanent judgeships.
6
  See H.R. Rep. No. 115-130, at 8 (“The funds generated by the fee increase will cover both the
costs of this bill and separately needed funds for the operation of the U.S. Trustee Program.”); id.
at 7 (noting “inclusion of an increase in the quarterly U.S. Trustee fees for large chapter 11 cases
to serve as a funding offset for the cost of the judgeships”). The Report noted that Congress had
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        39.     The House Report states that the Judiciary Committee expected “based on informal

estimates by CBO” that the increased quarterly fees would increase revenues “by an amount

sufficient to fully offset the increases in direct spending caused by the bill.” Id. at 9. The day after

the House Report was issued, the Congressional Budget Office issued a Cost Estimate, which

reflects that its calculations assume that the increased fees would apply to cases pending on the

amendment’s effective date. For example, the Cost Estimate states that the amendment would

increase fees paid “by entities that are currently in Chapter 11 bankruptcy and that have

disbursements of more than $1 million per quarter.” See Cong. Budget Office Cost Estimate, H.R.

2266,   Bankruptcy Judgeship         Act   of 2017,      at   1   (May 18,      2017),   available    at

https://www.cbo.gov/system/files/2018-07/52739-hr2266.pdf (last accessed May 6, 2019)

(attached as Exhibit B); see also id. (“The act also would adjust the formula used to set certain

quarterly fees paid by businesses involved in ongoing Chapter 11 bankruptcy cases . . . .”); id. at

5 (“H.R. 2266 would . . . increase[e] the amount of fees paid to the DOJ by entities that are already

in bankruptcy and that have disbursements . . . of more than $1 million per quarter.”) (emphasis

added); id. at 6 (“Some portion of those [increased quarterly fee] collections would be from entities

already in bankruptcy . . .”) (emphasis added).

        40.     Congress exercised its legislative judgment in designing the temporary fee increase.

The 2017 amendment affected only those chapter 11 cases in which disbursements during a quarter

equal or exceed $1 million. 28 U.S.C. § 1930(a)(6)(B). Quarterly fees in those cases were set to

the lesser of 1 percent of their disbursements or $250,000. Id.


previously introduced a similar bill that did not include funding for the judgeships, which was not
enacted. Id. at 7.
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       41.     Based on historical fee and disbursement patterns, the government estimates that

only about 10% of chapter 11 debtors have disbursements of $1 million or more and only about

1% of chapter 11 debtors would be assessed the maximum fee. See Remarks of Director Cliff

White before the Del. Bankruptcy American Inn of Court (Dec. 11, 2018), available at:

https://www.justice.gov/ust/speech/remarks-director-cliff-white-delaware-bankruptcy-american-

inn-court (last visited April 10, 2019). The amendment provides for the fees to revert to their

previous levels when the Fund equals or surpasses $200 million at the end of a fiscal year. 28

U.S.C. § 1930(a)(6)(B); see H.R. Rep. No. 115-130, at 8. Regardless, the increase terminates at

the end of fiscal year 2022. Id.

       42.     Notably, the 2017 amendment made the percentage charged in the largest chapter

11 cases more consistent with the percentages charged in the smaller cases. The following chart

shows the relative percentages before the amendment: 7




7
 The chart calculates the fees due as a percentage of the disbursements as set forth in the statute,
but rounds to the nearest hundredth.
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       43.       After the 2017 amendment, the percentages for fees in cases with $1 million or

more in quarterly disbursements are as follows:




       44.       In cases with disbursements of less than $1 million, the fees range between 0.49%

to more than 4% of quarterly disbursements. By contrast, before the 2017 amendment, in cases

with $1 million or more in disbursements, the fees ranged between 0.1% to 0.65%. In addition,

before the amendment, in cases with $1 million or more in disbursements, the fees were never

more than 0.65%, while the fees were never less than 0.65% in cases with less than $300,000 in

disbursements.     Here, the pre-amendment fees averaged only about 0.096% of quarterly


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   disbursements and were only about 0.019% of the total disbursements through December 31, 2017.

  See supra ¶ 15. Under the 2017 amendment, those high-disbursement cases still never pay more

   than 1%.

II.      The 2017 Amendment Does Not Violate the Bankruptcy Clause.

             45.     Congress did not violate the Bankruptcy Clause when it amended section

      1930(a)(6) of title 28. The Constitution provides that Congress “shall have the power . . . [t]o

      establish . . . uniform Laws on the subject of Bankruptcies throughout the United States.” U.S.

  Const. art. 1, § 8, cl. 4. 8 Three things must be true for the Bankruptcy Clause to be violated: the

      subject of the challenge is a “Law,” the law is not “uniform,” and the law is “on the subject of

      Bankruptcies.” Id.

             46.     None is true here. First, the statute at issue is uniform because it requires that any

   fees charged in the bankruptcy administrator districts under section 1930(a)(7) must be “equal” to

      those imposed under section 1930(a)(6). Second, the alleged lack of uniformity—the failure to

      collect the section 1930(a)(6) fees in bankruptcy administrator districts—is not the result of a law

      but human error in allowing fees under section 1930(a)(7) to differ rather than “equal” those under

      section 1930(a)(6)’s 2017 amendment. Third, the 2017 amendment is not “on the subject of




   8
   The Motion also cites Article I, Section 8, clause 3 of the Constitution, which requires “all Duties,
  Imposts and Excises shall be uniform throughout the United States.” Motion ¶ 16 (quoting U.S.
  Const. art. I § 8, cl. 1). The Liquidating Trustee does not explain why he believes the quarterly
  fees established by section 1930 constitute a duty, impost or excise within the scope of this clause.
  Id. They do not. Rather, they are user fees that do not come within the scope of this constitutional
  provision. See Augusta Towing Co. v. United States, 5 Cl. Ct. 160, 167 (Ct. Cl. 1984) (“A user
  charge is one type of revenue measure designed to compensate the Government for supplying a
  benefit to the user and, as such, is not subject to the constitutional limitations on the Government’s
  power to tax, including the Tax Uniformity clause.”).
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Bankruptcies” under Supreme Court precedent because it does not alter any debtor or creditor

rights or remedies under the Bankruptcy Code.

       A.      Congress’s 2017 quarterly fee amendment does not violate the Bankruptcy
               Clause because the law is uniform.

       47.     The Bankruptcy Clause authorizes Congress to pass “uniform” laws. U.S. Const.

art. 1, § 8, cl. 4. But there is “flexibility inherent” in the Bankruptcy Clause that tolerates

significant differences in application of bankruptcy laws. Blanchette v. Conn. Gen. Ins. Corps.,

419 U.S. 102, 158 (1974) (rejecting uniformity challenge to statute that applied only in a single

statutorily defined region because “it overlooks the flexibility inherent in the constitutional

provision”).

       48.     The principal purpose of the Bankruptcy Clause was to enable Congress to pass a

nationwide bankruptcy law enforceable among the states—because, “[g]iven the sovereign status

of the States, questions were raised as to whether one State had to recognize the relief given to a

debtor by another State”—and to prohibit Congress from enacting private bankruptcy laws. See

Ry. Labor Execs. Ass’n v. Gibbons, 455 U.S. 457, 472 (1982); see also In re Reese, 91 F.3d 37, 39

(7th Cir. 1996) (“The limited legislative history of the uniformity clause, plus the decisions by the

Supreme Court interpreting it . . . establish that the clause forbids only two things. The first is

arbitrary regional differences in the provisions of the Bankruptcy Code. The second is private

bankruptcy bills—that is, bankruptcy laws limited to a single debtor—or the equivalent.”).




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        49.    Given the history and purpose of the Bankruptcy Clause, and given the difference

in its language as compared to the tax uniformity clause, U.S. Const. art. I, § 8, cl. 1, 9 the Sixth

Circuit has explained that “the term ‘uniform’ was intended to grant an additional power at the

expense of the fifty states, rather than to limit the scope of Congress’s delegated powers.” See

Schultz v. United States, 529 F.3d 343, 356 (6th Cir. 2008).

        50.    Only once in the nation’s history has the Supreme Court held that a statute violated

the Bankruptcy Clause. It did so because the challenged act, by its terms, applied to only one

regional bankrupt railroad, therefore, the statute was “nothing more than a private bill,” which the

Framers sought to prevent by adopting the Bankruptcy Clause. Gibbons, 455 U.S. at 470-71; see

id. at 472.

        51.    Here, section 1930, including the 2017 amendment, applies uniformly. The statute

sets a graduated amount of fees for all cases under chapter 11, and the amendment governs fees in

all chapter 11 cases with quarterly disbursements equal to or exceeding $1 million.

        52.    The Liquidating Trustee argues that the 2017 amendment is not uniform because

the Judicial Conference did not immediately adopt the fee increase in bankruptcy administrator

districts as of January 1, 2018, but instead only authorized the increase to begin in October 2018.

Motion ¶¶ 18-19. However, nothing in the 2017 amendment purports to exclude chapter 11 cases

in Alabama and North Carolina from the fee increases. Neither of those states is even mentioned

in the amendment in connection with quarterly fees.


9
  This clause provides: “The Congress shall have power to lay and collect taxes, duties, imposts
and excises, to pay the debts and provide for the common defense and general welfare of the United
States; but all duties, imposts and excises shall be uniform throughout the United States.” Id.
(emphasis added).
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       53.     Nor is there any lack of uniformity simply because the fees in North Carolina and

Alabama are governed by a different subparagraph of section 1930(a). Section 1930(a)(7)

provides that in the bankruptcy administrator districts “the Judicial Conference of the United States

may require the debtor in a case under chapter 11 of title 11 to pay fees equal to those imposed by

paragraph (6) of this subsection.” 28 U.S.C. § 1930(a)(7) (emphasis added).

       54.     In other words, subsection (a)(7) mandates that any fees charged in these districts

must be the same as—“equal to”—those prescribed in subsection (a)(6). The law is uniform in its

prescription of the amount of fees due in chapter 11 cases.

       55.     The statute itself thus refutes the Liquidating Trustee’s assertion that “the

Bankruptcy Administrator (‘BA’) program utilized in North Carolina and Alabama was not subject

to the 1930 fee increase amendment approved by Congress in 2017.” Motion ¶ 16. Likewise

incorrect is the statement of the Buffets court that the 2017 amendment “increased quarterly fees

only in the UST program.” In re Buffets, LLC, No. 16-50557-RBK, 2019 WL 518318, at *4

(Bankr. W.D. Tex. Feb. 8, 2019) (cited in Motion ¶ 19).

       56.     Because section 1930(a)(7) authorizes the Judicial Conference only to charge fees

“equal to those imposed by [section 1930(a)(6)],” the 2017 amendment applies to the bankruptcy

administrator districts and there is no lack of uniformity.

       57.     The Judicial Conference’s decision to enact its 2001 Directive underscores this.

The 2001 Directive requires that fees in bankruptcy administrator districts be charged in the

amount specified in section 1930(a)(6), as it is amended from time to time. The 2001 Directive

was still in full force and effect on January 1, 2018, when the 2017 amendment became effective.

See Report of the Judicial Conference Committee on the Administration of the Bankruptcy System,
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at 19 (Sept. 2018) (“2018 Judicial Conference Committee Report”) (attached as Exhibit C)10

(referring to 2001 approval).

        58.     As of January 1, 2018, then, the 2001 Directive commanded bankruptcy

administrators to charge the same fees as charged in the rest of the country: those set forth in

section 1930(a)(6), as amended in 2017.

        59.     As Eighth Circuit precedent makes plain, even if there were a statutory difference

in quarterly fees—which there is not—(and even if section 1930(a)(6) were a law “on the subject

of Bankruptcies,” which it is not, see infra Part II.C.) such a difference would not violate the

Bankruptcy Clause. When Congress first implemented the United States Trustee Program in 1978,

it did so initially as a pilot program. See In re Prines, 867 F.2d 478, 480 (8th Cir. 1989). In 1986,

Congress expanded the Program nationwide. Id. The law that expanded the Program had different

effective dates for districts that participated in the pilot program than for those that did not

participate in it. Id. at 482-83.

        60.     The Eighth Circuit held that the different fees charged in those various districts did

not violate the uniformity requirement of the Bankruptcy Clause. Id. at 484-85.

        61.     The Eighth Circuit noted that “[a]rguably, debtors are being treated equally by the

statutory scheme, since pending cases are subject to the quarterly fee assessment only if the trustee

has authority over them.” Id. at 485. See also In re Miles, 330 B.R. 861, 863 (Bankr. M.D. Ga.

2005) (holding debtors failed to show cases are administered any differently between bankruptcy

administrator and United States Trustee districts and “law could be construed as uniform if the


10
  This Report was included in the appendix of the appellee in a pending appeal, Cranberry
Growers Coop. v. Layng, Case No. 18-3289 (7th Cir.).
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programs operate the same”). The same is true here because the only alleged lack of uniformity is

between districts over which United States Trustees have authority and those over which they do

not.

        62.    The Eighth Circuit went on to hold that, even if this application was not uniform,

that non-uniformity was not a constitutional violation because “the Supreme Court has held . . .

[that] the appropriate standard for measuring the propriety of classifications in bankruptcy

legislation to be ‘that of rational justification.’” In re Prines, 867 F.2d at 485 (quoting United

States v. Kras, 409 U.S. 434, 446 (1973)). 11 The Eighth Circuit thus found that, even “[a]ssuming

unequal treatment, . . . this statutory scheme is rationally related to the legitimate governmental

interest of establishing a nationwide self-supporting trustee system.” Id. Here, too, the 2017

amendment easily passes rational basis review. See infra Part III.C.1.

        B.     An ultra vires failure to enforce section 1930 does not violate the Bankruptcy
               Clause.

        63.    In addition, the Bankruptcy Clause does not apply to the difference in fees about

which the Liquidating Trustee complains because that difference does not result from a law. The

Bankruptcy Clause, by its terms, applies only to “Laws,” i.e., acts of Congress. U.S. Const. art. 1,

§ 8, cl. 4.




11
   Cf. United States v. Ptasynski, 462 U.S. 74, 86 (1983) (upholding geographically defined class
against tax uniformity challenge, because “[w]here, as here, Congress has exercised its considered
judgment with respect to an enormously complex problem,” courts should be “reluctant to disturb
its determination”); but see Schultz, 529 F.3d at 355 (finding that a lower level of scrutiny should
apply to the uniformity requirement of the Bankruptcy Clause than applied in Ptasynski to the tax
uniformity clause).
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       64.     Accordingly, an ultra vires failure to enforce a law does not render that law

unconstitutionally non-uniform. Cf. Rosenberg v. United States, 72 Fed. Cl. 387, 395-96 (Ct. Fed.

Cl. 2006) (holding that complaint alleging that IRS engaged in “ultra vires and nonuniform

collection” of a tax did not allege a violation of the tax uniformity clause, U.S. Const., art. I, § 8,

cl. 1, because “[t]he Uniformity Clause . . . is a limitation on legislative, not executive, action”);

Peony Park v. O’Malley, 121 F. Supp. 690 (D. Neb. 1954) (rejecting tax uniformity challenge

where statute was uniform but enforcement was not), aff’d, 223 F.2d 668 (8th Cir. 1955).

       65.     Section 1930(a)(7) authorizes the Judicial Conference only to charge fees “equal

to those imposed by paragraph (6) . . . .” 28 U.S.C. § 1930(a)(7) (emphasis added). The statute

gives the Judicial Conference only two options: (1) charge quarterly fees equal to quarterly fees

specified by section 1930(a)(6); or (2) do not charge any quarterly fees at all. It does not authorize

charging fees inconsistent with section 1930(a)(6).

       66.     In 2001, the Judicial Conference elected in its Directive to charge quarterly fees in

bankruptcy administrator districts, and the 2001 Directive required them to match those Congress

imposed under section 1930(a)(6). For the next 16 years, quarterly fees imposed in bankruptcy

administrator districts and United States Trustee districts were consistent, including when fees

went up from time to time.

       67.     The Judicial Conference’s 2001 Directive imposing fees in the amount specified in

section 1930(a)(6), as amended from time to time, was still in effect on January 1, 2018, when the

2017 amendment became effective and was still mandatory in September of 2018. See 2018

Judicial Conference Committee Report, at 19 (referring to 2001 approval). Nothing in either the



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statute or the Judicial Conference’s 2001 Directive permitted charging fees less than those set by

section 1930(a)(6) between January 1, 2018 and September 30, 2018.

        68.     The Liquidating Trustee’s grievance therefore, is not that a federal statute is non-

uniform. The Bankruptcy Clause requires only uniform laws, not uniform implementation. U.S.

Const. art. 1, § 8, cl. 4. The 2017 amendment is uniform on its face. The failure of the bankruptcy

administrators to comply with the Judicial Conference 2001 Directive and with sections 1930(a)(6)

and (a)(7) is not a problem of constitutional dimension and cannot justify striking down a

congressional enactment. 12

        C.      Alternatively, the quarterly fees do not violate the Bankruptcy Clause
                because section 1930(a)(6) is not a law “on the subject of Bankruptcies.”

        69.     To be subject to the Bankruptcy Clause, a law also must be one “on the subject of

Bankruptcies.” U.S. Const. art. 1, § 8, cl. 4. The Supreme Court has defined “bankruptcy” as the

“‘subject of the relations between [a] . . . debtor and his creditors, extending to his and their relief.’”

Gibbons, 455 U.S. at 466 (quoting Hanover Nat’l Bank v. Moyses, 186 U.S. 181, 186 (1902)); see

also Ashton v. Cameron Cnty. Water Imp. Dist. No. 1, 298 U.S. 513, 536-37 (1936) (stating that

the Court’s consistent reading of the Bankruptcy Clause is that it says, in substance: “Congress

shall have power to establish uniform laws on the subject of any person’s general inability to pay

his debts throughout the United States”) (Cardozo, J., dissenting) (internal quotation marks

omitted).




12
  The Liquidating Trustee has not challenged the bankruptcy administrators’ implementation of
the amendment and lacks standing to do so in this case.
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        70.     In other words, “Congress’ power under the Bankruptcy Clause ‘contemplate[s] an

adjustment of a failing debtor’s obligations.’” Gibbons, 455 U.S. at 466 (quoting Hanover Nat’l

Bank, 186 U.S. at 186).

        71.     The quarterly fee statute does not violate the Bankruptcy Clause because it is not a

law “on the subject of Bankruptcies,” and thus the Bankruptcy Clause does not apply to it. The

quarterly fee is merely a funding mechanism for the efficient administration of bankruptcy matters

and to pay for bankruptcy judgeships—it does not alter substantive bankruptcy law.                  The

amendment does not govern the relations between creditor and debtor. See Gibbons, 455 U.S. at

466; In re Reese, 91 F.3d at 39-40; cf. U.S. Trustee v. Gryphon at Stone Mansion, Inc., 166 F.3d

552, 557 (3d Cir. 1999) (“Congress’s mandate requiring payment of post-confirmation quarterly

fees is not an effort to alter the terms of pre-existing debts; rather, it creates a new expense that did

not exist before the plan was confirmed.”) (internal quotations omitted). Indeed, the Bankruptcy

Code itself remains unchanged by the 2017 amendment. See In re Reese, 91 F.3d at 39 (holding

Bankruptcy Clause forbids “arbitrary regional differences in the provisions of the Bankruptcy

Code”). A change to the fees charged is a matter of judicial administration and appropriations, not

the substantive law of bankruptcy.

        D.      Like Prines, Victoria Farms supports the government’s position.

        72.     The Buffets decision ignores the Eighth Circuit’s directly relevant Prines decision,

which upheld section 1930(a)(6) against a uniformity challenge, choosing instead to rely upon a

Ninth Circuit case, St. Angelo v. Victoria Farms, 38 F.3d 1525 (9th Cir. 1994), as amended by 46

F.3 969 (1995). In re Buffets, LLC, 2019 WL 518318, at *3-4 (quoted in Motion ¶ 19). See supra

¶¶ 59-62 (discussing Prines, 867 F.2d at 484-85).
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       73.     Buffets’s reliance on Victoria Farms is misplaced. In focusing solely on Victoria

Farms, the Buffets court failed to recognize that the Victoria Farms decision addressed the validity

of a different provision, section 317(a) of the Judicial Improvements Act of 1990, which extended

the time for Alabama and North Carolina to implement the United States Trustee Program.

       74.     Reliance on Victoria Farms to invalidate the 2017 amendment is inappropriate for

three other reasons, as well. First, the result in Victoria Farms supports the government’s position.

The Ninth Circuit in Victoria Farms did not invalidate section 1930(a)(6) and did not permit the

debtor to evade its quarterly fees despite what the court perceived to be a lack of uniformity in the

implementation of the United States Trustee Program. Second, unlike the situation at the time of

the Victoria Farms decision, there is no longer any statutory difference in the amount of quarterly

fees permitted to be charged. Finally, Victoria Farms does not support invalidating the 2017

amendment because its uniformity decision was incorrect.

               1.      Victoria Farms enforced the quarterly fee requirement.

       75.     In Victoria Farms, the Ninth Circuit addressed a challenge to section 1930(a)(6) at

a time when there was no provision for quarterly fees in the bankruptcy administrator districts.

When Congress decided to expand the United States Trustee Program in 1986, North Carolina and

Alabama initially were not required to implement the Program until 1992. Victoria Farms, 38

F.3d at 1529. Through section 317(a) of the Judicial Improvements Act of 1990, Pub. L. No. 101-

650, 101st Cong., 2d Sess. § 317(a) (1990), Congress extended the deadline for North Carolina

and Alabama to implement the United States Trustee Program until 2002. Id. In a divided opinion,

the Victoria Farms majority held that the bifurcated system under which United States Trustees

administered bankruptcy cases and charged quarterly fees in 48 states, but bankruptcy
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administrators administered bankruptcy cases and did not charge quarterly fees in the other two

states, violated the Bankruptcy Clause. Id. at 1532. 13

       76.     Notably, however, the Ninth Circuit “adher[ed] to the principle of judicial restraint”

and did not strike down the quarterly fees provision. Id. And it did not hold that section

1930(a)(6), a revenue provision, violated the Bankruptcy Clause.

       77.     Rather, the court specifically “decline[d] to invalidate all of section 1930 or any

other part of the statutory scheme governing the U.S. Trustee system.” Id. at 1533. Instead, the

Ninth Circuit struck down section 317(a), which extended the time for North Carolina and

Alabama to opt-in to the United States Trustee system. The Ninth Circuit stated that by doing so

“we leave in place a uniform law governing bankruptcy throughout the nation.” Id.

       78.     Having cured the perceived uniformity problem, the court proceeded to reverse the

bankruptcy and district courts’ decisions and ordered the debtor to pay all of the quarterly fees

owed under a plain language reading of the statute. Id. at 1534. That the system was not, in the

eyes of the Ninth Circuit, uniform during the quarters at issue had no bearing on the debtor’s duty

to pay the quarterly fees.

               2.      The Liquidating Trustee does not dispute that later amendments to
                       the statute cured any lack of uniformity.

       79.     As noted above, at the time of the Victoria Farms decision, section 1930 did not

include any provision for quarterly fees in chapter 11 cases pending in bankruptcy administrator


13
  The Liquidating Trustee challenges only the differential in fees; he does not allege that excepting
the bankruptcy administrator districts from the United States Trustee Program violates the
Constitution. Nor could he. As discussed above, see supra Part II.C, laws governing the
administration of the court system are not laws “on the subject of Bankruptcies” because they do
not alter the rights or remedies available to debtors or creditors.
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districts. In response to Victoria Farms, the Judicial Conference recommended, and Congress

adopted, a provision for the imposition of quarterly fees in bankruptcy administrator districts as a

way to address the perceived uniformity problem.

          80.    In 1999, Congress heard testimony by the Judicial Conference recommending that

Congress authorize the collection of quarterly fees in bankruptcy administrator districts. See

Multidistrict, Multiparty, Multiforum Trial Jurisdiction Act of 1999 and Federal Courts

Improvement Act of 1999: Hearing before the Subcomm. on Courts and Intellectual Property of

the H. Comm. on the Judiciary on H.R. 2112 and H.R. 1752, 14 106 Cong. 26-27 (1999) (“1999 H.

Subcomm. Hearing”). That testimony explained that “[a]t its March 1996 proceeding, the Judicial

Conference determined that implementing the establishment of chapter 11 quarterly fees in the

bankruptcy administrator districts would eliminate any Victoria Farms problem.” Id. at 26.

          81.    In 2001, Congress granted the Judicial Conference’s request and amended section

1930 to add section 1930(a)(7). Federal Courts Improvements Act of 2000, Pub. L. No. 106-518,

§ 105, 114 Stat. 2410 (2000). 15 As discussed above, this amendment allows only fees “equal to”

those set forth in section 1930(a)(6)—it does not permit imposition of a different amount of fees.

28 U.S.C. § 1930(a)(7).

          82.    The Liquidating Trustee does not dispute that the addition of section 1930(a)(7)

was designed to, and did, cure any possible lack of uniformity. See Motion ¶ 19. Rather, he

complains of the failure to implement the 2017 amendment in the bankruptcy administrator


14
     H.R. 1752 is the House of Representative’s companion bill to the enacted Senate bill.
15
  In that same legislation, Congress removed the deadline for Alabama and North Carolina to
adopt the United States Trustee system. See Pub. L. No. 106-518, § 501, 114 Stat. 2410, 2421
(2000).
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districts, but that failure is not a result of the statute, and thus provides no basis for finding that the

statute is constitutionally infirm. See supra Part II.B.

                3.      Victoria Farms did not rule on a revenue provision like the 2017
                        amendment, which is not a law “on the subject of Bankruptcies.”

        83.     Victoria Farms’ conclusion that the extension of time for districts in Alabama and

North Carolina to implement the United States Trustee Program was a law “on the subject of

Bankruptcies,” 38 F.3d at 1530-31, does not support holding that the 2017 amendment is such a

law.

        84.     The 2017 amendment is a revenue provision—it recoups funds for the U.S.

Treasury to offset congressional appropriations to the Justice Department for the United States

Trustee Program—rather than “a Law on the subject of Bankruptcies.” Without question, many

federal laws affect the financial status of debtors, but neither Congress nor the Supreme Court has

ever characterized such revenue provisions as laws “on the subject of Bankruptcies.” To do so

would expand the Bankruptcy Clause far beyond its historic role and the courts’ understanding of

it.

        85.     Victoria Farms did not analyze whether revenue provisions, such as section

1930(a)(6), are laws on the subject of bankruptcies within the scope of the Bankruptcy Clause,

much less hold that they are. See 38 F.3d at 1530-31 (discussing whether the United States Trustee

Program, and the extension of time for Alabama and North Carolina to implement it, is such a

law).

        86.     The Victoria Farms’ majority erroneously focused on the effect of the statute to

determine whether it is subject to the Bankruptcy Clause. See Victoria Farms, 38 F.3d at 1530-31


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(reasoning that the statute establishing the United States Trustee system is a law on the subject of

bankruptcies because it has a “direct effect” upon debtors and creditors and because higher fees

have “a concrete effect” on the relief available to creditors). Under Supreme Court precedent, the

relevant question instead is whether a statute is a law that “contemplate[s] an adjustment of a

failing debtor’s obligations.’” Gibbons, 455 U.S. at 466 (quoting Hanover Nat’l Bank, 186 U.S.

at 186).

        87.     The fact that a law has an effect on a bankruptcy right or remedy cannot mean that,

without more, the law is one “on the subject of Bankruptcies” within the scope of the Bankruptcy

Clause. Any statute imposing or increasing a financial obligation, such as a property tax, a license

fee, or a domestic support obligation, likewise could “reduce[] the amount of funds that the debtor

can ultimately pay to his creditors.” Victoria Farms, 38 F.3d at 1531. The Supreme Court has

never even intimated that such a law would be one “on the subject of Bankruptcies.”

        88.     Likewise, no one contends that local rules of bankruptcy procedure violate the

uniformity provision, although there are geographical differences in such rules and they have a

direct effect on debtors’ and creditors’ rights. Local rules impact parties, for example, by providing

for dismissal of cases for violations of certain rules. See, e.g., Bankr. N.D. Tex. R. 1007-1

(providing that failure to file mailing list is “cause for summary dismissal”); Bankr. E.D. Va. R.

1006-1(C)(1) (providing for dismissal if filing fee is not paid within three-day cure period and no

hearing is requested). 16


16
  True, local rules are not statutes. But neither is a decision of the Judicial Conference establishing
different fees for bankruptcy administrator districts. And unlike the case of local rules, the Judicial
Conference acted outside its authority in charging different fees than those established by section
1930(a)(6).
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               89.     The Supreme Court’s decision in Shady Grove Orthopedic Assocs. PA v. Allstate

       Ins. Co., helps explain why such local rules, as well as fee provisions, are not laws on the subject

       of bankruptcies. 559 U.S. 393, 407 (2010) (plurality opinion). In that case, the Court explained

       the difference between rules that are merely procedural and those that alter substantive rights and

       are thus prohibited by the Rules Enabling Act. Id. The Court noted that “[t]he test is not whether

       the rule affects a litigant’s substantive rights; most procedural rules do.” Id. Rather, the Court

       explained, a rule modifies a substantive right only “if it alters ‘the rules of decision by which [the]

       court will adjudicate [those] rights;’” but it is an authorized procedural rule if it “governs only ‘the

       manner and the means’ by which the litigants’ rights are ‘enforced.’” Id. (alterations in original,

       quoting Mississippi Publishing Corp. v. Murphree, 326 U.S. 438, 445 (1946)).

               90.     Statutes establishing case fees are akin to such rules of procedure; while they may

       have a practical effect on the parties, they do not alter the rules of decision by which courts will

       adjudicate debtors’ or creditors’ rights. See id.; see also id. at 435 (categorizing filing fees as

       procedural) (Stevens, J., concurring in part and concurring in the judgment).

               91.     Because section 1930(a)(6) is a revenue statute and does not modify any rights or

       remedies of creditors or debtors under the Bankruptcy Code, see supra Part II.C., it is not a law

       “on the subject of Bankruptcies.” U.S. Const. art. I, § 8, cl. 4.

III.       The 2017 Amendment Raises No Retroactivity Concerns.

               92.     The Liquidating Trustee argues that the 2017 amendment should not be read as

   applying to cases pending on its effective date because doing so would have a retroactive effect

   that violates the Due Process Clause of the Constitution. Motion ¶¶ 20-31. The Liquidating



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Trustee is wrong; the amendment does not operate retroactively, and if it did, it does not do so in

a constitutionally impermissible way.

       A.      The presumption against retroactivity does not apply because the
               amendment’s temporal reach is clear.

       93.     The presumption against retroactivity is not implicated here because the

presumption is only a tool of statutory construction; it does not determine the constitutionality of

a statute. Because the temporal scope of the 2017 amendment is explicit, resort to such a tool is

inappropriate. See Landgraf v. USI Film Products, 511 U.S. 244, 280 (1994) (presumption applies

only in the “[a]bsen[ce of] plain language in a statute or clear legislative intent”).

       94.     The Liquating Trustee argues that the 2017 amendment “does not specify its

application to” pending cases. Motion ¶ 23; see also Buffets, 2019 WL 518318, at *5. This

proposition is not correct.

       95.     Section 1930(a)(6)(B) expressly states that it applies “[d]uring each of fiscal years

2018 through 2022.” 28 U.S.C. § 1930(a)(6)(B). In addition, the 2017 amendment expressly

provides that the amendment “shall apply to quarterly fees payable under section 1930(a)(6) . . .

for disbursements made in any calendar quarter that begins on or after the date of enactment” of

the amendment. Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, § 1004(c) (uncodified).

       96.     That quarter began on January 1, 2018, so under the amendment’s plain language,

“disbursements” made on or after January 1, 2018 are subject to the 2017 amendment’s temporary

fee structure. Congress stated with precision both when the amendment became effective—

roughly ten weeks after enactment—and to what it applied—disbursements made by debtors on or




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after January 1, 2018. That means the Trust must pay fees under the 2017 amendment for all the

disbursements it makes on or after January 1, 2018. The statute is perfectly clear about that.

       97.     Congress did more here than simply provide a generic “statement that a statute will

become effective on a certain date.” Landgraf, 511 U.S. at 257 (quoted in Motion ¶ 21). Rather,

Congress specifically identified the relevant conduct—disbursements in a chapter 11 case—and

expressly provided that the statute applied to such conduct occurring in quarters beginning on or

after January 1, 2018.

       98.     The Liquidating Trustee effectively asks the Court to re-write the amendment so it

applies to quarterly fees payable in “any calendar quarter that begins on or after the date of

enactment other than in pending cases.” But those are not the words that Congress wrote. Because

the statute provides an express directive as to when it applies to disbursements in chapter 11 cases,

the presumption against retroactivity does not apply. See Landgraf, 511 U.S. at 280.

       99.     Any such re-write would be both contrary to congressional intent and undermine

Congress’s funding goals. The Judiciary Committee recommended passage of the amendment to

replenish the United States Trustee System Fund and to fund bankruptcy judgeships. See H.R.

Rep. No. 115-130, at 8. The Committee expected the amendment to accomplish this goal in part

based on an estimate from the Congressional Budget Office, id. at 9, which assumed the

amendment would increase the fees paid “by entities that are already in bankruptcy”—not just

those that file for bankruptcy after the amendment’s effective date. Cong. Budget Office Cost

Estimate, H.R. 2266, Bankruptcy Judgeship Act of 2017, at 5 (May 18, 2017) (emphasis added),

(attached as Exhibit B); see also id. at 1 (stating amendment would increase fees paid “by entities

that are currently in Chapter 11 bankruptcy and that have disbursements of more than $1 million
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per quarter”) (emphasis added); see also id. (“The act also would adjust the formula used to set

certain quarterly fees paid by businesses involved in ongoing Chapter 11 bankruptcy cases . . . .”)

(emphasis added).

          100.   The fact that the fee increase would apply to pending cases was critical to the

Congressional Budget Office’s analysis for another reason as well. By statute, the Congressional

Budget Office is required to determine whether the aggregate costs of “mandates” would be greater

than certain statutory thresholds established in Unfunded Mandates Reform Act, 2 U.S.C. § 1501,

et seq. See also 2 U.S.C. §§ 651-658g (governing Congressional Budget Office duties). According

to the Congressional Budget Office’s analysis, however, it was only because the fee increase

applied to pending cases that it constituted a “mandate” that required this determination. See, e.g.,

id. at 6 (“Some portion of those [increased quarterly fee] collections would be from entities already

in bankruptcy . . . and those are the entities that would face a mandate under the act.”) (emphasis

added).

          101.   The version of the bill reviewed by the Congressional Budget Office included the

substantially same language as the final version—passed five months later—mandating

application of the increased fees to disbursements made in any quarter after its effective date. H.R.

2266, 115th Cong. (May 17, 2017). 17 Had Congress thought the Congressional Budget Office’s


17
  Compare H.R. 2266, 115th Cong. (May 17, 2017) (“The amendments made by this section shall
apply to quarterly fees payable under section 1930(a)(6) of title 28 of the United States Code, as
amended by this section, for disbursements made in any calendar quarter that begins on or after
the effective date of the amendments made by this section.”) with Bankruptcy Judgeship Act of
2017, Pub. L. No. 115-72, § 1004(c) (uncodified) (“The amendments made by this section shall
apply to quarterly fees payable under section 1930(a)(6) of title 28, United States Code, as
amended by this section, for disbursements made in any calendar quarter that begins on or after
the date of enactment of this Act.”).
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repeatedly stated assumption that the increased fees applied to cases pending on the amendment’s

effective date was incorrect, it easily could have changed this language, and certainly would have

reconsidered whether the increased fees were sufficient to meet its purpose.

       102.    In addition, Congress was not operating on a blank slate when in amended the

statute in 2017. Historically, amendments imposing or increasing quarterly fees had been applied

to pending cases. Indeed, when Congress first enacted the quarterly fee statute in the Bankruptcy

Judges, United States Trustees, and Family Farmer Bankruptcy Act of 1986, Pub. L. 99-554, 100

Stat. 3088 (1986), the Eighth Circuit squarely rejected the argument, like the one the Liquidating

Trustee makes here, that the fees did not apply to cases pending in pilot districts on its effective

date. See In re Prines, 867 F.2d 478 (8th Cir. 1989). 18 The Act stated that it “shall not be construed

to require the payment of a fee under [section 1936(a)(6)] . . . for any conduct or period occurring

before such paragraph becomes effective in the district in which such case is pending.” Id. (quoting

Pub. L. No. 99-554, § 303(e)(3), 1986 U.S. Code Cong. & Admin. News (100 Stat.) 3120–21).

The Eighth Circuit construed this language in conjunction with the general effective date to mean

that the quarterly fees should be applied to cases pending in pilot program districts as of the general

effective date. Prines, 867 F.2d at 483-84. In light of this history, Congress would not have seen




18
  The 1986 Act provided that in non-pilot districts the quarterly fees would not become effective
until a specified period of time after the statute’s general effective date. See Prines, 867 F.2d at
484; Pub. L. No. 99-554, § 302(d), 1986 U.S. Code Cong. & Admin. News (100 Stat.) 3120–21.
By contrast, for pilot districts, the Act contained no such provision for a delayed effective date. In
re Prines, 867 F.2d at 483.
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any need to be yet more explicit in the 2017 amendment than its express command that the fees

are due based on disbursements in any calendar quarter that begins on or after its enactment date. 19

        103.    Notably, in United States v. Sperry, in which the Supreme Court rejected a

constitutional challenge to a fee imposed on awards made by the Iran-United States Tribunal, all

parties and the Court assumed that the fee applied to cases pending on the statute’s effective date

as long as the award was entered after the effective date. 493 U.S. 52, 65-65 (1989). In Sperry,

the statute had an expressly retroactive effective date of June 7, 1982. Id. at 58. The Court’s

opinion reflects that the statute applied to all awards made after that date—even if the case was

pending before that date—and that even under a purely prospective application of the statute the

fees would still apply to cases pending on the statute’s effective date. Id. at 64-65 (“If Congress

had made the application of § 502 prospective only, the costs of the Tribunal would have fallen

disproportionately on the claimants whose awards, for whatever reason, were delayed . . . .”).

Likewise, here, imposition of the fees based on disbursements made after the effective date, even

if the case already was pending at the time the amendment became effective, is a purely prospective

application of the statute.



19
   This also is consistent with the 1996 amendment to section 1930(a)(6), which applied to all
cases, including those in which a plan had been confirmed. Because some courts did as the
Liquidating Trustee asks and effectively rewrote the 1996 amendment, Congress was obligated to
clarify in a subsequent amendment that it meant what it said and the 1996 amendment applied to
all pending cases. See Omnibus Consolidated Appropriations Act of 1997, Pub. L. No. 104-208,
110 Stat. 3009, 3009-19 (1996) (clarifying that quarterly fees payable under 28 U.S.C.
§ 1930(a)(6) “shall accrue and be payable from and after January 27, 1996, in all cases (including,
without limitation, any cases pending as of that date), regardless of confirmation status of their
plans”). Cf. In re Blair, 644 F.2d 69 (2d Cir. 1980) (applicable law for determining
dischargeability is law in force at time of determination of dischargeability, not at time petition
was filed).
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       B.      The 2017 amendment does not have a retroactive effect.

       104.    The 2017 amendment does not operate retroactively because it is triggered only by

conduct that occurs after the amendment. The conduct that triggers liability for quarterly fees is

the pendency of a chapter 11 case and the disbursements of amounts equal to or exceeding $1

million during any calendar quarter after January 1, 2018. Because the amendment applies only

to disbursements made in pending cases more than 9 weeks after its enactment, the amendment

only operates prospectively. 20 U.S. Trustee v. CF & I Fabricators of Utah, Inc. (In re CF & I

Fabricators of Utah, Inc.), 150 F.3d 1233, 1237 (10th Cir. 1998) (holding that 1996 amendment

to section 1930(a)(6) imposing quarterly fees post-confirmation is not retroactive); In re

Richardson Serv. Corp., 210 B.R. 332, 335 (Bankr. W.D. Mo. 1997) (“The amendment only

triggers prospective assessment of fees from the amendment’s effective date until entry of the final

decree.”).

       105.    Landgraf undermines the Liquidating Trustee’s contention that the amendment is

retroactive as applied here because the Plan was confirmed before the amendment became

effective. See Motion ¶¶ 25-29. A statute does not operate retroactively “merely because it is

applied in a case arising from conduct antedating the statute’s enactment, or upsets expectations

based in prior law.” 511 U.S. at 269 (citation omitted). Nor is a law retroactive simply because

its application requires some reference to antecedent facts. EPA v. New Orleans Pub. Serv., Inc.,




20
   The legislation was passed on October 26, 2017. The first calendar quarter that began after
passage of the amendment began on January 1, 2018. Thus, the amendment applies to
disbursements made on or after January 1, 2018.
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826 F.2d 361, 365 (5th Cir. 1987) (holding that law altering classification of transformers for

purposes of future matters is not retroactive).

       106.    As the First Circuit put it in McAndrews v. Fleet Bank of Massachusetts, 989 F.2d

13, 16 (1st Cir. 1993):

       [A] statute may modify the legal effect of a present status or alter a preexisting
       relationship without running up against the retroactivity hurdle. The key lies in
       how the law interacts with the facts. So long as the neotonic law determines status
       solely for the purposes of future matters, its application is deemed prospective.

       107.    The 2017 amendment does not backdate collection of increased fees from the date

a case was filed or the date a plan was confirmed. The amendment only triggers prospective

assessment of the increased fees from the amendment’s effective date until entry of the final

decree. Therefore, it does not operate retroactively.

       C.      Even if the amendment had applied retroactively, it would be constitutional.

       108.    Even if the amendment could be characterized as retroactive, it would be

constitutional—contrary to the Liquidating Trustee’s claim that retroactive application would

violate the Due Process Clause. Motion ¶ 26.

       109.    The Supreme Court has upheld the constitutionality of retroactive statutes. See,

e.g., Concrete Pipe & Prods. of Cal., Inc. v. Constr. Laborers Pension Tr. for S. Cal., 508 U.S.

602, 637 (1993) (upholding statute that imposed retroactive withdrawal liability against taking and

due process challenges); Sperry Corp., 493 U.S. 52 (upholding retroactive statute against due

process and takings challenges).

       110.    And courts have consistently upheld the constitutionality of section 1930(a)(6) and

Congress’s authority to issue it. For example, the Tenth Circuit resoundingly rejected a claim that


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a prior amendment to section 1930(a)(6) was impermissibly retroactive by interfering with a

confirmed plan in In re CF & I Fabricators of Utah Inc., 150 F.3d at 1237-38. See also U.S.

Trustee v. Gryphon at Stone Mansion, Inc., 166 F.3d 552, 557 n.7 (3d Cir. 1999) (discussing cases

rejecting constitutional challenges to section 1930(a)(6)); In re Richardson Serv. Corp., 210 B.R.

at 334-35 (holding prior amendment to section 1930(a)(6) was supported by rational basis because

it was enacted to collect additional revenues to support the self-funded administration of

bankruptcy cases).

       111.    Here, too, the 2017 amendment does not violate the Due Process Clause.

               1.      There are no retroactivity concerns when, as here, Congress had a
                       rational basis for its law.

       112.    The 2017 amendment easily satisfies the requirements of the Due Process Clause.

The constitutional restraint upon enacting retroactive civil legislation is a “modest” one. Landgraf,

511 U.S. at 272. “Statutes may be invalidated on due process grounds only under the most

egregious of circumstances.” Eastern Enters. v. Apfel, 524 U.S. 498, 550 (1998) (Kennedy, J.

concurring in part and dissenting in part). Laws adjusting the burdens and benefits of economic

life are presumed to be constitutional and the burden is on the party complaining of a due process

violation to establish that Congress has acted in an arbitrary way. Usery v. Turner Elkhorn Mining

Co., 428 U.S. 1, 15 (1976). As long as there is a legitimate legislative purpose furthered by rational

means, economic legislation meets the test of due process. General Motors Corp. v. Romein, 503

U.S. 181, 191 (1992); United States v. Carlton, 512 U.S. 26 (1994) (upholding amendment to

estate tax deduction that operated retroactively).




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        113.    In addition, “courts must accord substantial deference to the predictive judgments

of Congress.” Turner Broadcasting Sys., Inc. v. FCC, 520 U.S. 180, 195 (1997) (internal quotation

marks omitted). This deference stems from the different institutional competencies and roles of

the courts and Congress. Congress as an institution is best equipped to amass and evaluate data

bearing on legislative questions. Id.

        114.    Congress exercised this legislative expertise in determining that the amount of

quarterly fees it voted to impose was needed to fund the cost of providing the bankruptcy system

to debtors. That decision was not arbitrary or irrational.

        115.    As explained supra in Part I.B., the 2017 amendment was enacted to collect

sufficient funds to fully offset Program appropriations and the costs of 18 bankruptcy judgeships

so that ordinary taxpayers would not have to bear those costs of the bankruptcy system. H.R. Rep.

No. 115-130, at 8. Congress acted rationally in applying the temporary fee increase in all pending

cases, rather than only in cases filed after its effective date, because application to all pending cases

spreads the costs among all of the largest chapter 11 debtors using the bankruptcy system, instead

of making comparatively fewer debtors shoulder the burden. Moreover, applying the temporary

fee increase to a larger number of cases allowed Congress’s funding goal to be met, and met more

quickly. See Cong. Budget Office Cost Estimate, H.R. 2266, Bankruptcy Judgeship Act of 2017,

at 5 (May 18, 2017) (relying on application of the fee increase to pending cases for cost and revenue

estimates) (attached as Exhibit B). This is perfectly acceptable Congressional action. See Sperry,

493 U.S. at 64 (“It is surely proper for Congress to legislate retrospectively to ensure that costs of

a program are borne by the entire class of persons that Congress rationally believes should bear

them.”).
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       116.    In addition, the 2017 amendment provides two safety valves that protect debtors.

If the Fund balance at the end of a prior fiscal year equals or exceeds $200 million, the temporary

fees revert to their former levels. This—and the mandatory sunset in fiscal year 2022—is how

Congress chose to protect debtors. There is no legitimate ground upon which to give them greater

protection than Congress did.

       117.    The Buffet court’s reliance on In re Burk Development Co., Inc., 205 B.R. 778

(Bankr. M.D. La. 1997), to support its due process holding is misplaced. In re Buffets, LLC, 2019

WL 518318, at *6 (cited in Motion ¶ 27). In Burk Development, the bankruptcy court addressed

the 1996 amendment to section 1930(a)(6) that required the payment of quarterly fees after

confirmation in open chapter 11 cases. Id. at 780. The Burk Development court found that

retroactive application of the 1996 amendment would not violate the Due Process Clause. 205

B.R. at 786-89; see also id. at 800 (“[H]ad Congress wanted to give the Amendment retrospective

effect, such effect would not have been constitutionally infirm—the imposition of

postconfirmation quarterly fees is a rational means of generating income.”). 21

       118.    The Liquidating Trustee argues that the new fees were imposed without sufficient

notice to Debtors. Motion ¶¶ 26, 28. But debtors have no constitutional right to insist that quarterly

fees remain static. Since Congress first instituted quarterly fees in 1986, Congress has re-visited


21
   As a matter of statutory interpretation, the Burk Development court held that the 1996
amendment did not apply to cases in which plans already had been confirmed as of its effective
date. Id. at 800. This reading, however, was incorrect and expressly rejected by Congress in its
clarifying amendment stating that the 1996 amendment indeed did apply to pending cases with
confirmed plans. See Omnibus Consolidated Appropriations Act of 1997, Pub. L. No. 104-208,
110 Stat. 3009, 3009-19 (1996) (clarifying that quarterly fees payable under section 1930(a)(6)
“shall accrue and be payable from and after January 27, 1996, in all cases (including, without
limitation, any cases pending as of that date), regardless of confirmation status of their plans”).
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section 1930(a) or section 589a of title 28 (which governs the United States Trustee System Fund

established in the U.S. Treasury) to adjust the amount or the allocation of bankruptcy fees ten

times. See supra ¶ 27. Cf. Gryphon at Stone Mansion, Inc., 166 F.3d at 557 n.7 (noting quarterly

fees do not violate the Takings Clause “because, due to the vagaries of the bankruptcy process,

there can be no reasonable expectation that the amount of the final distribution will remain fixed

throughout the process”); In re CF & I Fabricators of Utah, Inc., 150 F.3d at 1239 (agreeing, in

rejecting Takings Clause challenge, that “any expectation new fees would not be assessed is

patently unreasonable in an ongoing bankruptcy case”).

       119.    The fact that the Plan did not include any provision for increased fees makes no

difference. As appellate courts have recognized, a reorganization plan can no more immunize a

reorganized debtor from post-confirmation fee increases than it can from increased taxes or any of

the other infinite number of potential increases to its post-confirmation costs of doing business.

See Gryphon at Stone Mansion, Inc., 166 F.3d at 557 (holding new fees are “no different from

taxes arising post confirmation or any similar post confirmation expenses not specified in plan”

and a plan cannot extinguish claims arising post-confirmation) (quoting In re A.H. Robins Co. Inc.,

219 B.R. 145, 148 (Bankr. E.D. Va. 1998)); In re CF & I Fabricators, 150 F.3d at 1238 (same);

In re Postconfirmation Fees, 224 B.R. 793, 796 (E.D. Wash. 1998) (“This fee is no different than

any expense which arises post-confirmation and is not provided for in a plan. . . . Nothing in a

bankruptcy proceeding immunizes a debtor from paying license fees or taxes or governmental

charges which are created post-confirmation.”). See also Holywell Corp. v. Smith, 503 U.S. 47,

58 (1992) (“Even if § 1141(a) [regarding the effects of a confirmed plan] binds creditors of the

corporate and individual debtors with respect to claims that arose before confirmation, we do not
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see how it can bind the United States or any other creditor with respect to postconfirmation

claims.”). Quarterly fees are creatures of statute; they cannot be contracted away. In re CF & I

Fabricators, 150 F.3d at 1239-40.

        120.    When Congress amended section 1930(a)(6) in 2017, it did so thoughtfully and

rationally. Nothing more is required. Congress ensured that the temporary increase in fees would

not be charged if the Fund balance reached a certain level. It set caps on fees. It provided for the

temporary increase to expire. And like its prior nine amendments, Congress ensured that the cost

of the system will not be borne by taxpayers. This is a far cry from the sort of arbitrary or irrational

action that could violate the Due Process Clause.

                2.      Supreme Court jurisprudence rejects the Liquidating Trustee’s
                        argument that any payment that exceeds the benefits received is
                        unconstitutional.

        121.    The Liquidating Trustee argues that, in determining the constitutionality of the

amendment, the Court should consider that “the huge new fees bear no reasonable relationship or

proportionality to the amount of work performed.” Motion ¶ 30. However, in United States v.

Sperry, the Supreme Court specifically rejected a similar challenge, under both the Due Process

and Takings Clauses, to a fee that applied retroactively to an arbitration award on the ground that

it allegedly was disproportionate to the services received. 493 U.S. at 60-61. 22

        122.    The statutory fee in Sperry was 1.5% of the first $5 million, and 1% of any amount

over $5 million, awarded to United States-based claimants on certain arbitral awards and



22
  The Supreme Court also has soundly rejected the notion that the “equities,” Motion ¶ 30, can
override statutory mandates. See Law v. Siegel, 571 U.S. 415, 421 (2014) (“[A] bankruptcy court
may not contravene specific statutory provisions.”).
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settlements before the Iran-United States Tribunal. 23 Id. at 58. Sperry, who had been granted an

award by the Tribunal, contended that the deducted charge could not be upheld as a user fee—and

thus must constitute a taking or violate due process—because “there [was] no showing that the

amount of the deduction approximates the cost of the Tribunal to the United States or bears any

relationship to Sperry’s use of the Tribunal or the value of the Tribunal’s services to Sperry.” 493

U.S. at 60.

       123.    The Supreme Court disagreed. It noted that ‘“[a] governmental body has an

obvious interest in making those who specifically benefit from its services pay the cost.’” Id. at

63 (quoting Massachusetts v. United States, 435 U.S. 444, 462 (1978)). The Supreme Court held

that Sperry had benefited from the Tribunal’s existence, even though its settlement was reached

through private negotiations. Id. at 63. It upheld the government’s ability to require Sperry “to

pay a [1.5%] charge for the availability of the Tribunal even if it never actually used the Tribunal;

Sperry received the ‘benefit from [the Tribunal] in the sense that the services are available for [its]

use.’” Id. (quoting Massachusetts, 435 U.S. at 468) (edits in original).

       124.     The Court further noted that “[t]his Court has never held that the amount of a user

fee must be precisely calibrated to the use that a party makes of Government services. Nor does

the Government need to record invoices and billable hours to justify the cost of its services.” Id.

The Court elaborated, holding that “when the Federal Government applies user charges to a large

number of parties, it probably will charge a user more or less than it would under a perfect user-

fee system.” Id. at 61 (citing Massachusetts, 435 U.S. at 463 n.19). The Supreme Court declined


23
  By contrast, the temporary quarterly fee at issue here is for the lesser of 1% or $250,000. 28
U.S.C. § 1930(a)(6)(B).
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to identify what percentage of a Tribunal award might be too great for the government to assess,

as it upheld the government’s authority to charge 1.5% as constitutional “by any standard of

excessiveness.” Id. at 62. The Supreme Court concluded that the 1.5% fee “was obviously the

judgment of Congress and we abide by it.” Id.

       125.    Sperry holds that the Constitution does not require a case-by-case correlation

between a user fee and either the costs or benefits of the government’s services. Id. at 60-61.

Rather, whether the fee represents a “fair approximation” of the costs of government benefits is

determined on an aggregate basis without any reference to what use was made in any particular

case. Id. at 60; cf. Alamo Rent-a-Car, Inc. v. Sarasota-Manatee Airport Authority, 906 F.2d 516,

520 (11th Cir. 1990) (upholding airport usage fee against Commerce Clause challenge, despite the

“imprecise” nature of approximating airport use by measuring car rental company’s gross receipts

from customers at airport, when approximation was “not irrational,” and rejecting argument that

fee should correspond exactly to the percentage of company’s airport use).

       126.    Significantly, Sperry’s “fair approximation” looks at the cost of the government’s

provision of services. 493 U.S. at 60, 63. It does not look at the use the payer makes of the system,

id., as the Liquidating Trustee argues it should, Motion ¶ 30.

       127.    As these cases show, it is the role of Congress to consider efficiency, equity,

revenue adequacy, and administrative burden when it designs federal regulatory fees. Congress

has done that with quarterly fees.

       128.    Following the Supreme Court’s guidance in Sperry, the court in In re Kindred

Healthcare, Inc. expressly upheld the constitutionality of section 1930(a)(6) against a takings

challenge asserting that quarterly fees exceeded benefits provided. No. 99-3199 (MFW), 2003
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WL 22327933, at *3-5 (Bankr. D. Del. Oct. 9, 2003). As held in Kindred Healthcare, fees assessed

under section 1930(a)(6) are “fees associated with the Debtors’ use of the bankruptcy judicial

system.” Id. at *4.

          129.   Having successfully reorganized under chapter 11, the Liquidating Trustee does

not, and could not, dispute that the Debtors have received—and continue to receive—the benefits

of the bankruptcy system. See, e.g., In re A.H. Robins Co. Inc., 219 B.R. 145, 148 n.8 (Bankr.

E.D. Va. 1998) (noting that while the United States Trustee had done little in the case post-

confirmation, the debtor “benefitted from the Court’s continued involvement in this still-open

case”).

          130.   Despite the Liquidating Trustee’s complaint about the “exponential” increase in

quarterly fees, Motion ¶ 12, the fees are not particularly large as a percentage of total

disbursements. They are capped at 1%. By contrast, payments to plan professionals during this

time period were approximately 17.79% of total disbursements. See supra ¶ 13.

          131.   Indeed, as a percentage of disbursements, the pre-amendment fees in cases with $1

million or more in quarterly disbursements were disproportionately low as compared to the smaller

cases. See 28 U.S.C. § 1930(a)(6). See supra ¶¶ 42-44. The 2017 amendment merely brought the

percentage charged in those largest cases in line with the percentages charged in the smaller cases.

Even under the 2017 amendment, the fees in these largest of chapter 11 cases are still never more

than 1%.

          132.   As shown by the chart below, comparing Sperry and the fees challenged here

demonstrates that the quarterly fee regime is more favorable to the payee than the fees upheld in

Sperry.
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 Factor                  U.S. v. Sperry                             Quarterly fee       statute    as
                                                                    amended in 2017
 Statutory Percentage    1.5% (on first $5 million, then 1%)        Up to 1%
 Dollar    cap       on No                                          Yes ($250,000)
 payments?
 Voluntary use of the No (use was involuntary because party did Yes (debtor chose to use the
 service?             not want to use tribunal)                 bankruptcy system)
 Sunset?                 No                                         Yes
 Retroactive statute?    Yes (expressly retroactive)                No (didn’t apply until the quarter
                                                                    after enactment)
 Upheld statute?         Yes. S. Ct. upheld



        133.     There is no basis for the bankruptcy court to overrule Congress’s determination that

the amount of the quarterly fees it voted to impose is a fair approximation of the cost of providing

the bankruptcy system to debtors, and a fair distribution of those costs among those who use the

bankruptcy system. See Sperry, 493 U.S. at 60, 63.

        134.     No justification exists for taking the extreme step of striking down the amendment

to quarterly fees.

                                              CONCLUSION

                 For these reasons, the United States Trustee respectfully asks this Court to deny

the Motion.

Date: May 9, 2019                                       Respectfully submitted,

                                                        John P. Fitzgerald, III
                                                        Acting United States Trustee, Region Four

                                                        By: /s/ Robert B. Van Arsdale
                                                        Robert B. Van Arsdale (Va. Bar No. 17483)




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RAMONA D. ELLIOTT                                  JOHN P. FITZGERALD, III
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                                APPENDIX A

                                                      % of Fee
                Quarter       DisbursementsFee        to Disb
                4-2008         1,811,073,999    30,000 0.002%
                1-2009         1,356,776,000    30,000 0.002%
                2-2009           206,515,000    30,000 0.015%
                2-2009            33,190,000    30,000 0.090%
                4-2009             12602000     13,000 0.103%
                1-2010            17,278,000    20,000 0.116%
                2-2010             7,467,415    13,000 0.174%
                3-2010             6,782,656    13,000 0.192%
                4-2010            60,886,775    30,000 0.049%
                1-2011             4,297,083    10,400 0.242%
                2-2011            24,014,008    20,000 0.083%
                3-2011            13,580,501    13,000 0.096%
                4-2011            37,082,144    30,000 0.081%
                1-2012             9,995,244    13,000 0.130%
                2-2012             5,920,491    13,000 0.220%
                3-2012            57,740,516    30,000 0.052%
                4-2012            11,148,936    13,000 0.117%
                1-2013            21,344,817    20,000 0.094%
                2-2013            57,374,409    30,000 0.052%
                3-2013             9,104,550    13,000 0.143%
                4-2013            39,425,099    30,000 0.076%
                1-2014             9,479,730    13,000 0.137%
                2-2014            15,853,765    20,000 0.126%
                3-2014            39,960,031    30,000 0.075%
                4-2014            13,015,450    13,000 0.100%
                1-2015            56,033,793    30,000 0.054%
                2-2015            72,845,691    30,000 0.041%
                3-2015            50,531,274    30,000 0.059%
                4-2014            19,142,942    20,000 0.104%
                1-2016            60,964,510    30,000 0.049%
                2-2016            76,198,875    30,000 0.039%
                3-2016            41,232,820    30,000 0.073%
                4-2016            46,270,193    30,000 0.065%
                1-2017            82,392,180    30,000 0.036%
                2-2017            22,387,521    20,000 0.089%
                3-2017            18,972,015    20,000 0.105%
                4-2017             5,153,940    13,000 0.252%
                Total          4,434,034,373   833,400 0.019%

                Average                    $ 22,524.32   0.096%
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2019, a true copy of the foregoing was delivered via
electronic mail pursuant to the Administrative Procedures of the CM/ECF System for the United
States Bankruptcy Court for the Eastern District of Virginia to all necessary parties, specifically
including the following:
 Robert K. Coulter on behalf of United States of America
 robert.coulter@usdoj.gov; USAVAE.ALX.ECF.BANK@usdoj.gov
 Robert P. McIntosh on behalf of United States of America
 Robert.Mclntosh@usdoj.gov; USAVAE.RIC.ECF.CIVIL@usdoj.gov;
 Heidi.E.Bokor@usdoj.gov; HBokor@usa.do j.gov
        In addition, a copy was mailed to the following by first class postage pre-paid United States
mail:
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 c/o Lee J. Lofthus
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                                                      /s/ Robert B. Van Arsdale
                                                      Robert B. Van Arsdale
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       R EPORT OF THE P ROCEEDINGS
       OF THE J UDICIAL C ONFERENCE
       OF THE U NITED S TATES


       September/October 2001


                     The Judicial Conference of the United States convened in Washington,
             D.C., on September 11, 2001, pursuant to the call of the Chief Justice of the
             United States issued under 28 U.S.C. § 331. The Chief Justice presided, and
             the following members of the Conference were present:

                    First Circuit:

                                Chief Judge Michael Boudin
                                Chief Judge D. Brock Hornby,
                                       District of Maine

                    Second Circuit:

                                Chief Judge John M. Walker, Jr.
                                Judge Charles P. Sifton,
                                       Eastern District of New York

                    Third Circuit

                                Chief Judge Edward R. Becker
                                Chief Judge Sue L. Robinson,
                                       District of Delaware

                    Fourth Circuit

                                Chief Judge J. Harvie Wilkinson III
                                Chief Judge Charles H. Haden II,
                                       Southern District of West Virginia

                    Fifth Circuit

                                Chief Judge Carolyn Dineen King
                                Judge Hayden W. Head, Jr.,
                                       Southern District of Texas
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Judicial Conference of the United States

                               Sixth Circuit

                                           Chief Judge Boyce F. Martin, Jr.
                                           Judge Thomas A. Wiseman, Jr.,
                                                  Middle District of Tennessee

                               Seventh Circuit

                                           Chief Judge Joel M. Flaum
                                           Chief Judge Marvin E. Aspen,
                                                  Northern District of Illinois

                               Eighth Circuit

                                           Chief Judge Roger L. Wollman
                                           Chief Judge James M. Rosenbaum,
                                                  District of Minnesota

                               Ninth Circuit

                                           Chief Judge Mary M. Schroeder
                                           Judge Lloyd D. George,1
                                                  District of Nevada

                               Tenth Circuit

                                           Chief Judge Deanell R. Tacha
                                           Chief Judge Frank Howell Seay,
                                                  Eastern District of Oklahoma

                               Eleventh Circuit

                                           Chief Judge R. Lanier Anderson, III
                                           Chief Judge Charles R. Butler, Jr.,
                                                  Southern District of Alabama




                      1
                       Designated by the Chief Justice to attend in lieu of Judge Judith N. Keep of
                      the Southern District of California.

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                                                                               September/October 2001

                        District of Columbia Circuit:

                                    Chief Judge Douglas H. Ginsburg
                                    Chief Judge Thomas F. Hogan,
                                           District of Columbia

                        Federal Circuit:

                                    Chief Judge Haldane Robert Mayer

                        Court of International Trade:

                                    Chief Judge Gregory W. Carman

                         Shortly after the Judicial Conference session began on September 11,
                 2001, members were informed of terrorist attacks in New York and
                 Washington, D.C. The Conference adjourned promptly upon notification of
                 the evacuation of the Supreme Court Building. No Conference business was
                 conducted on that day, although the members were addressed by Senators
                 Patrick Leahy, Orrin Hatch, and Jeff Sessions, and Representatives James
                 Sensenbrenner and Howard Coble. The committee recommendations
                 comprising the Conference’s consent and discussion calendars were
                 subsequently considered by Conference members in two mail ballots2 — one
                 concluded on September 19, 2001, and the second concluded on October 1,
                 2001. The actions taken as a result of these mail ballots are described below.3


        E XECUTIVE C OMMITTEE

             RESOLUTIONS

                    The Judicial Conference approved a recommendation of the Executive
             Committee to adopt the following resolution in recognition of the substantial
             contributions made by Judicial Conference committee chairs who will
             complete their terms of service in 2001:



             2
                 Two discussion items were deferred until the March 2002 Conference session.
             3
              Unless otherwise noted, all actions were approved by the mail ballot
             concluded on September 19, 2001.

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Judicial Conference of the United States

                                     The Judicial Conference of the United States recognizes
                              with appreciation, respect and admiration the following judicial
                              officers:

                                            HONORABLE CAROL BAGLEY AMON
                                             Committee on Codes of Conduct

                                           HONORABLE WALTER K. STAPLETON
                                           Committee on Federal-State Jurisdiction

                                             HONORABLE WILLIAM J. ZLOCH
                                             Committee on Financial Disclosure

                                              HONORABLE DAVID R. HANSEN 4
                                              Committee on the Judicial Branch

                                             HONORABLE WILL L. GARWOOD
                                    Advisory Committee on Rules of Appellate Procedure

                                             HONORABLE W. EUGENE DAVIS
                                    Advisory Committee on Rules of Criminal Procedure

                                     Appointed as committee chairs by Chief Justice William
                              H. Rehnquist, these outstanding jurists have played a vital role
                              in the administration of the federal court system. These judges
                              served with distinction as leaders of their Judicial Conference
                              committees while, at the same time, continuing to perform their
                              duties as judges in their own courts. They have set a standard of
                              skilled leadership and earned our deep respect and sincere
                              gratitude for their innumerable contributions. We acknowledge
                              with appreciation their commitment and dedicated service to the
                              Judicial Conference and to the entire federal judiciary.




                     4
                      The resolution recognizing the contributions of Judge Hansen was approved
                     by the Executive Committee, on behalf of the Conference, by mail ballot
                     concluded on March 29, 2001, to coincide with the completion of his term as
                     chair.

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             UNITED STATES SENTENCING COMMISSION

                     On recommendation of the Executive Committee, the Judicial
             Conference agreed to urge the President, with the advice and consent of the
             Senate, to reappoint to the United States Sentencing Commission Judges
             Sterling Johnson, Jr., of the Eastern District of New York, and Joe Kendall of
             the Northern District of Texas.


             INFORMATION TECHNOLOGY SECURITY/
             USE OF THE INTERNET

                     In March 2001, the Executive Committee was advised that, consistent
             with Judicial Conference policy (see JCUS-SEP 88, p. 57), the Administrative
             Office was confidentially informing chief judges of potentially inappropriate
             use of the Internet by court personnel, so that the chief judge could take action,
             if appropriate. The Committee supported these actions, and asked the
             Committee on Automation and Technology to develop a comprehensive plan
             for improving information technology security in the judiciary. In late May,
             upon hearing of objections by certain judges to the judiciary’s Internet access
             policy as managed by the AO, the Executive Committee urged the Committee
             on Automation and Technology, on an expedited basis, to develop policies and
             procedures to protect the confidentiality of electronic judicial communications
             and work product, including appropriate controls on monitoring.

                     The Executive Committee subsequently learned that the Ninth Circuit
             Judicial Council had directed the disconnection of intrusion detection software
             installed at the Ninth Circuit Internet gateway (which also serves the Eighth
             and Tenth Circuits). This software made possible, among other things, the
             identification of high-volume music and movie files. Concerned that the
             security of judiciary data in these circuits was jeopardized, the Committee
             determined to ask that the Ninth Circuit Council reactivate the intrusion
             detection software immediately, and agreed that if this was done, the
             identification of high-volume files (to which the Ninth Circuit Council had
             objected) would cease in all three judiciary gateways, pending the previously
             requested development of policies and procedures by the Automation and
             Technology Committee. The Ninth Circuit Council agreed.

                      In June, and again in August 2001, the Executive Committee was
             informed by the Chair of the Automation and Technology Committee of the
             latter committee’s efforts to develop procedures on appropriate Internet use and
             the management of such use and on recommendations to be presented to the

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                     Conference for actions to be taken pending further development (see “Use of
                     the Internet ,” p. 43). In August 2001, the Executive Committee, with the
                     concurrence of the Automation and Technology Committee, agreed to release
                     to the public prior to the Conference session the latter committee’s addendum
                     to its report, which deals with this matter.


                     MISCELLANEOUS ACTIONS

                              The Executive Committee—

                     •        Approved proposed interim financial plans for fiscal year 2002 for the
                              Salaries and Expenses, Defender Services, Fees of Jurors and
                              Commissioners, and Court Security accounts, as recommended by the
                              Director of the Administrative Office, and authorized the Director of
                              the Administrative Office to make technical and other adjustments as
                              deemed necessary. The Executive Committee will be consulted as
                              necessary concerning significant changes in the financial plans or
                              allotments that might be required once a full-year appropriation is
                              enacted.

                     •        Concurred in the determination of the Court Administration and Case
                              Management Committee to defer seeking enactment in a federal courts
                              improvement bill of a provision authorizing the judiciary to charge fees
                              for courtroom technologies such as videoconferencing of appellate
                              arguments, in order to maintain the noncontroversial nature of the bill.

                     •        Declined to take action on a Judicial Branch Committee request to
                              authorize the Director of the Administrative Office to “weigh-in” in
                              support of permitting federal employees to utilize frequent flier mileage
                              for personal use.

                     •        Discussed the issue of judges’ attendance at private seminars, and
                              determined to ask the Codes of Conduct Committee to consider
                              amending Advisory Opinion No. 67 in light of In re Aguinda, 241 F.3d
                              194 (2d Cir. 2001).

                     •        Approved a recommendation of the Budget Committee to amend the
                              cost control monitoring system policy on funding court positions to
                              provide nine months of funding for each increase in work units and
                              three months of funding for each decrease in work units, subject to the
                              availability of funds as determined by the Executive Committee during
                              approval of annual financial plans, and upon consideration of the advice

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                    and recommendation of the Director of the Administrative Office.

             •      Approved a recommendation of the Security and Facilities Committee
                    that a third “judicial space emergency” be declared in Brooklyn, New
                    York.

             •      Agreed to release to the public prior to Conference action a Court
                    Administration and Case Management Committee report relating to
                    privacy and public access to electronic case files.

             •      On recommendation of the Criminal Law Committee, agreed to (a)
                    strongly support the establishment of projects designed to evaluate
                    reentry programs to assist certain criminal offenders’ reintegration into
                    local communities from prison; (b) not oppose legislation designed to
                    implement such projects so long as the judiciary is fully funded to
                    implement the required provisions of any proposed legislation; and (c)
                    authorize the Administrative Office Director to work with Congress to
                    suggest modifications to any proposed legislation reflecting concerns of
                    the Conference including, among other things, that the project
                    parameters be structured to maximize efficiency and effectiveness.

             •      Agreed to ask the Administrative Office to implement certain changes
                    to the Federal Law Clerk Information System suggested by law school
                    placement personnel and also agreed to encourage all judges to
                    participate in the system.


        C OMMITTEE ON THE A DMINISTRATIVE O FFICE

             COMMITTEE ACTIVITIES

                     The Committee on the Administrative Office reported that, at the
             request of the Executive Committee, it conducted a review of the purposes for
             which statutorily required reports are produced by the Administrative Office
             and determined that it was not necessary to seek to modify or eliminate any of
             the 17 statutorily required reports. The Administrative Office Committee
             devoted considerable attention to the AO’s role and actions in managing the
             security and performance of the judiciary’s data communications network,
             including its procedures for notifying chief judges about possible inappropriate
             Internet use, which were consistent with established protocols. The Committee
             was briefed on current issues respecting the managing of judiciary Internet
             usage; it met in executive session and reviewed and approved the actions of the
             Administrative Office in that regard. The Committee was also briefed on the

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                     progress of several major initiatives and studies, including the status of the
                     AO’s management oversight and stewardship initiative.


             C OMMITTEE ON A UTOMATION AND T ECHNOLOGY

                     LAWBOOKS AND LIBRARIES STUDY

                             At the request of the Executive Committee, the Committee on
                     Automation and Technology, with the assistance of the Committee on Security
                     and Facilities, undertook a comprehensive study of lawbook and library usage
                     within the judiciary with an eye toward cutting costs. Based on this study, the
                     Committee recommended that the Conference adopt the following strategic
                     recommendations:

                     1.       The lawbooks and library program should be actively managed through
                              circuit-wide library committees and governance structures, increased
                              use and better application of existing management tools and techniques,
                              and periodic review of and consultation with users as to their needs and
                              use of legal research materials. Potential opportunities for more
                              efficient use of lawbook resources should be explored by each circuit.

                     2.       While successful efforts to restrain the costs of the lawbooks and library
                              program have been achieved over the past several years, modest
                              changes to chambers core collection guidelines and refinements to
                              space and other guidelines would assist in a cost-effective use of
                              judiciary lawbook funds.

                     3.       There continues to be a clear and compelling need for legal research
                              materials in hard copy format, and it is clear that the transition to on­
                              line legal research is an evolutionary process. The judiciary should
                              continue to promote the use of on-line research and training for judges,
                              librarians and others. Local variations due to differences in research
                              needs, types of cases, culture, and physical plant need to be recognized,
                              and the reduction of lawbook collections should occur on a voluntary
                              basis.

                     The Committee also recommended adoption of 32 implementing
                     recommendations, which are contained in the executive summary to the
                     Committee’s Lawbooks and Libraries Study Report. The Judicial Conference
                     approved the Committee’s recommendations, which are intended to make the
                     lawbook and library program more cost-effective and efficient without
                     sacrificing availability of research materials.

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             USE OF THE INTERNET

                      In September 1997, the Judicial Conference approved a judiciary-wide
             policy aimed at protecting the security of the judiciary’s electronic systems and
             information, requiring that, for computers connected to the judiciary’s data
             communications network, access to the Internet would be provided only
             through national gateway connections approved by the Administrative Office
             pursuant to procedures adopted by the Automation and Technology Committee.
             It also urged all courts to adopt their own policies establishing local
             responsibility for managing employee access to the Internet and providing
             guidance on appropriate Internet use. JCUS-SEP 97, pp. 52-53. In December
             2000, concerned with the explosive growth in Internet usage within the
             judiciary, the Committee asked the Administrative Office to conduct an
             analysis of such use. The analysis revealed that a significant factor
             contributing to the growth of Internet traffic in the courts appeared to be related
             to personal, rather than business usage.

                     Informed of the Automation and Technology Committee’s efforts, of
             the AO’s analysis, and of subsequent steps taken to advise chief judges of
             potentially inappropriate Internet use, the Executive Committee, in March
             2001, asked the Committee on Automation and Technology to develop a
             comprehensive plan for improving information technology security in the
             judiciary (see JCUS-MAR 2001, p. 6). The Executive Committee later
             expanded its request, urging the Automation Committee, on an expedited basis,
             to develop policies and procedures to protect the confidentiality of electronic
             judiciary communications and work product, including appropriate controls on
             monitoring (supra, “Information Technology Security/Use of the Internet,”
             pp. 39-40).

                     The Committee on Automation and Technology developed a number of
             recommendations regarding operations of the national communications
             infrastructure, appropriate use of judiciary information technology resources,
             noticing of judiciary employees, and protection of the judiciary’s
             communications infrastructure. These recommendations were approved by the
             Judicial Conference, as follows:



             That the Judicial Conference—

             •      Pending the completion of a review of the system architecture in 2002

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                              that will be completed under the Committee’s direction, with a view
                              toward possible decentralization of Internet access to individual courts
                              in a manner consistent with the security of the entire judiciary network,
                              agree to reaffirm (a) that computers connected to the data
                              communications network (DCN) shall access the Internet only through
                              national gateways; and (b) that operations and security at those
                              gateways are under the administrative, managerial, and logistical
                              control of the Administrative Office, subject to the direction of the
                              Conference or, where appropriate, Conference committees;

                     •        Agree to adopt immediately, on an interim basis, the model use policy
                              developed by the federal Chief Information Officers Council (except for
                              Section F, “Privacy Expectations,” which the Committee determined to
                              reconsider), as ultimately revised by the Committee or its
                              Subcommittee on IT Architecture and Infrastructure to tailor it to the
                              judiciary, as a national minimum standard defining appropriate Internet
                              use, subject to the right of each court unit to impose or maintain more
                              restrictive policies. Further agree that in carrying out routine
                              administrative, operational, and maintenance responsibilities, should
                              instances of possibly inappropriate use of government resources come
                              to the attention of the management of a court unit or the Administrative
                              Office, established Judicial Conference notification policy will be
                              followed;

                     •        Reaffirm that individual courts have responsibility to enforce
                              appropriate Internet use policies and direct the Administrative Office, as
                              part of its regular audit process, to examine and comment upon the
                              adequacy of the courts’ enforcement methods;

                     •        Agree to recommit to the Committee on Automation and Technology a
                              recommendation on providing notice to judiciary employees of Internet
                              use policies, in light of developments in technology and recent concerns
                              raised on privacy; and

                     •        Having discerned no material business use for Gnutella, Napster,
                              Glacier, and Quake, all of which raise immediate and continuing
                              security vulnerabilities, agree to (a) direct the Administrative Office to
                              take appropriate steps to block such traffic involving computers
                              connected to the DCN; and (b) delegate to the Committee the authority
                              to block other tunneling protocols that may cause security breaches.

                     COMMITTEE ACTIVITIES


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                     The Committee on Automation and Technology reported that it had
             approved priorities for implementing the recommendations of a
             comprehensive, independent study of the judiciary’s national information
             technology program and approved resource requirements and priorities for the
             five programs under its jurisdiction: automation, telecommunications, court
             automation support reimbursable, library services, and electronic public access.
             The Committee discussed a revised information technology vision to be
             included in the next update to the Long Range Plan for Information
             Technology and received briefings on a number of information technology
             projects. The Committee also endorsed the continuation of an implementation
             strategy for installation of the replacement electronic mail system.


        C OMMITTEE ON THE A DMINISTRATION
        OF THE B ANKRUPTCY S YSTEM

             TRUSTEE RETENTION OF PROFESSIONALS

                     Section 327(d) of the Bankruptcy Code (11 U.S.C. § 327(d)) allows
             courts to authorize trustees to hire themselves or their firms as attorneys or
             accountants for an estate if it is “in the best interest of the estate.” This practice
             has been defended on the grounds of economy and efficiency to the estate, but
             has also raised concerns about possible conflicts of interest as well as a public
             perception of impropriety. In March 1994, the Judicial Conference agreed to
             support amendments to section 327(d) to address such concerns (JCUS-MAR
             94, p. 11), but for a variety of reasons, such legislation has not been pursued.
             Upon reconsideration, the Committee determined to recommend that the
             Conference rescind its March 1994 position, noting that courts are aware of the
             dangers inherent in the practice of trustees employing themselves or their firms
             and have not encountered any difficulty in supervising the practice, or in
             applying the “best interest of the estate” standard that presently exists in section
             327(d). The Conference adopted the Committee’s recommendation.


             CHAPTER 11 QUARTERLY FEES

                     Bankruptcy administrators are independent non-judicial officers within
             the judicial branch who by statute perform the same bankruptcy estate
             administration oversight functions in the six districts in Alabama and North
             Carolina that the United States trustees perform in the other districts. Section
             105 of the Federal Courts Improvement Act of 2000, Public Law No. 106-518,
             proposed by the Judicial Conference in March 1996 (JCUS-MAR 96, p. 10)

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                     and enacted on November 13, 2000, authorizes the Conference to impose
                     quarterly fees in chapter 11 cases in bankruptcy administrator districts
                     comparable to those already being charged in United States trustee districts. To
                     implement this statute, the Conference approved a Bankruptcy Committee
                     recommendation that such fees be imposed in bankruptcy administrator
                     districts in the amounts specified in 28 U.S.C. § 1930, as those amounts may be
                     amended from time to time.


                     COMMITTEE ACTIVITIES

                             The Bankruptcy Committee reported that it has established a
                     subcommittee to study venue-related issues in bankruptcy cases, including
                     effective procedures for handling large chapter 11 cases.5 It also authorized its
                     chair, at an appropriate time, to create a subcommittee to help coordinate the
                     judiciary’s implementation of bankruptcy reform legislation. The Committee
                     further unanimously endorsed the recommendations of the Court
                     Administration and Case Management Committee regarding privacy and public
                     access to court case files (see infra, “Privacy and Public Access to Electronic
                     Case Files,” pp. 48-50) and of the Budget Committee regarding the designation
                     of certifying officers (see infra, “Certifying Officers,” p. 47).


             C OMMITTEE ON THE B UDGET

                     FISCAL YEAR 2003 BUDGET REQUEST

                             The Judicial Conference approved the Budget Committee’s proposed
                     budget request for fiscal year 2003, subject to amendments necessary as a result
                     of new legislation, actions of the Judicial Conference, or any other reason the
                     Executive Committee considers necessary and appropriate.




                     CERTIFYING OFFICERS


                     5
                      Prior to this Judicial Conference session, the Bankruptcy Committee withdrew
                     for further consideration certain recommendations it had made proposing
                     amendments to statutory and rule provisions governing venue in bankruptcy
                     cases and proceedings.

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                      The Federal Courts Improvement Act of 2000 included a Conference-
             sought provision authorizing the Director of the Administrative Office to
             designate certifying officers in the judiciary. In anticipation of such legislation,
             at its September 1998 session, the Judicial Conference adopted an
             implementation strategy stating that the Director should consult with the chief
             judge before designating additional certifying officers in a district court (JCUS­
             SEP 98, p. 59). At this session, the Judicial Conference approved a
             recommendation of the Budget Committee, made in consultation with the
             Committees on Court Administration and Case Management, Bankruptcy,
             Criminal Law, and Defender Services, that the September 1998 Conference
             policy be amended so that the appropriate chief judge maintains oversight of
             operations within his or her court unit. Under the amended policy, the Director
             of the Administrative Office will designate certifying officers in appellate,
             district, and bankruptcy courts with the concurrence of the respective chief
             judges of those courts. In those courts in which the clerk’s office functions of
             the district and bankruptcy units are consolidated, certifying officer
             responsibilities also will be consolidated, and concurrence of the chief district
             judge will be required. Certifying officers in the bankruptcy administrator and
             bankruptcy appellate panel programs will be designated with the concurrence
             of the circuit chief judge, and federal public defenders will be designated
             without chief judge concurrence.


             COMMITTEE ACTIVITIES

                     The Budget Committee and chairs of the program committees discussed
             news articles that reported the apparent use of the Internet by court employees
             for non-official purposes including substantial downloading of inappropriate
             material. The Budget Committee believes that the judiciary must employ
             adequate safeguards over the use of its property and facilities; that past success
             in acquiring the necessary appropriations for the operations of the courts is due
             largely to the trusting relationship that the judiciary enjoys with the Congress
             and the confidence Congress has that the judiciary will use its resources wisely;
             and that all reasonable steps must be taken to retain Congress’ confidence in
             the courts’ stewardship of the taxpayers’ dollars. Therefore, the Committee
             unanimously resolved that, in formulating an information resources use policy,
             the Committee on Automation and Technology should ensure that judiciary




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                     automation property and facilities are used for official purposes. The Budget
                     Committee encouraged the Conference to embrace policies and administrative
                     procedures for judiciary programs that will promote reasonable safeguards over
                     the use of judiciary assets. See also, supra, “Use of the Internet,” pp. 43-44.


             C OMMITTEE ON C ODES OF C ONDUCT

                     COMMITTEE ACTIVITIES

                             Since its last report to the Judicial Conference in March 2001, the
                     Committee on Codes of Conduct received 31 new written inquiries and issued
                     31 written advisory responses. During this period, the average response time
                     for these requests was 18 days. The Chairman received and responded to 17
                     telephonic inquiries. In addition, individual committee members responded to
                     126 inquiries from their colleagues.


             C OMMITTEE ON C OURT A DMINISTRATION
             AND C ASE M ANAGEMENT

                     PRIVACY AND PUBLIC ACCESS TO
                     ELECTRONIC CASE FILES

                             After extensive study and opportunity for public comment, the
                     Committee on Court Administration and Case Management, with substantial
                     input from the Committees on Criminal Law, the Administration of the
                     Bankruptcy System, Rules of Practice and Procedure, and Automation and
                     Technology, endorsed the “Report on Privacy and Public Access to Electronic
                     Case Files” (the Privacy Report) and recommended its adoption by the Judicial
                     Conference. The Privacy Report establishes a judiciary-wide policy governing
                     electronic availability of case file information. The Judicial Conference
                     approved the following general principles and specific recommendations
                     contained in the Report regarding access to different types of case files:

                     GENERAL PRINCIPLES

                     •        There should be consistent, nationwide policies in federal courts in
                              order to ensure that similar privacy protections and access presumptions
                              apply regardless of which federal court is the custodian of a particular
                              case file.


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             •      Notice of these nationwide policies should be given to all litigants in
                    federal court so that they will be aware of the fact that materials which
                    they submit in a federal court proceeding could become available on the
                    Internet.

             •      Members of the bar must be educated about the policies and the fact
                    that they must protect their clients by carefully examining the
                    documents that they file in federal court for sensitive, private
                    information and by making the appropriate motions to protect
                    documents from electronic access when necessary.

             •      Except where otherwise noted, the policies apply to both paper and
                    electronic files.

             •      Electronic access to docket sheets through PACERNet and court
                    opinions through court websites will not be affected by these policies.

             •      The availability of case files at the courthouse will not be affected or
                    limited by these policies.

             •      Nothing in these recommendations is intended to create a private right
                    of action or to limit the application of Rule 11 of the Federal Rules of
                    Civil Procedure.

             SPECIFIC RECOMMENDATIONS

             •      Civil Case Files. Documents in civil case files should be made
                    available electronically to the same extent that they are available at the
                    courthouse with one exception (that Social Security cases should be
                    excluded from electronic access) and one change in policy (that certain
                    “personal data identifiers” should be modified or partially redacted by
                    the litigants; these identifiers are Social Security numbers, dates of
                    birth, financial account numbers and names of minor children).

             •      Criminal Case Files. Public remote electronic access to documents in
                    criminal cases should not be available at this time, with the
                    understanding that this policy will be reexamined within two years of
                    adoption by the Judicial Conference.

             •      Bankruptcy Case Files. Documents in bankruptcy case files should be
                    made generally available electronically to the same extent that they are
                    available at the courthouse, with a similar policy change for personal
                    identifiers as in civil cases; section 107(b)(2) of the Bankruptcy Code

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                              should be amended to establish privacy and security concerns as a basis
                              for the sealing of a document; and the Bankruptcy Code and Rules
                              should be amended as necessary to allow the court to collect a debtor’s
                              full Social Security number but display only the last four digits.

                     •        Appellate Case Files. Appellate case files should be treated at the
                              appellate level the same way in which they are treated at the lower
                              level.


                     MODEL LOCAL RULES FOR ELECTRONIC CASE FILING

                             On recommendation of the Committee, the Conference adopted model
                     local rules for district and bankruptcy courts to assist those courts in
                     implementing the electronic case filing (ECF) program.6 The rules were
                     developed with the assistance of the Committee on Automation and
                     Technology and the Committee on Rules of Practice and Procedure. Courts
                     may adopt the rules in full or in part, and courts may also opt to promulgate
                     them through standing orders.


                     MISCELLANEOUS FEES

                             Judicial Panel on Multidistrict Litigation. In September 1996, the
                     Judicial Conference approved increases to certain fees in the miscellaneous fee
                     schedules for appellate, district, and bankruptcy courts and the Court of Federal
                     Claims to account for inflation. These fee increases were made contingent on
                     the enactment of legislation to permit the judiciary to retain the resulting
                     increased amounts (JCUS-SEP 96, p. 54). The Conference’s 1996 action did
                     not extend to the Judicial Panel on Multidistrict Litigation because its fee
                     schedule was not established until March 1997 (JCUS-MAR 97, p. 20).
                     Legislation permitting the judiciary to retain miscellaneous fee increases was
                     enacted in section 102 of the Federal Courts Improvement Act of 2000 and
                     includes the Multidistrict Litigation Panel with the other court types for which
                     such fee increases may be retained. In order to maintain uniformity among the
                     fee schedules of the different court types, the Judicial Conference approved a
                     Committee recommendation that the Miscellaneous Fee Schedule for the
                     Judicial Panel on Multidistrict Litigation be amended to include the fee
                     increases set forth below:


                     6
                      No courts of appeals have yet instituted ECF. Therefore, no rules are
                     proposed for those courts at this time.

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                    Fee                   Current Amount               Increased Amount
                    Search of Records           $15                       $20
                    Certification of Documents $ 5                        $7
                    Returned Check              $25                       $35

                      Federal Agency Exemption in the Courts of Appeals. On
             recommendation of the Committee, the Judicial Conference agreed to amend
             Items 2 and 4 of the Court of Appeals Miscellaneous Fee Schedule to add
             language concerning limitations on federal agency exemption from fees. This
             language, which is similar to that found in the district and bankruptcy court fee
             schedules, had been inadvertently omitted when the appellate fee schedule was
             amended to reflect the application of electronic access fees (see JCUS-SEP 93,
             pp. 44-45). As amended, Items 2 and 4 read as follows (new language in
             italics) :

                    (2) For every search of the records of the court and certifying the
                    results thereof, $20. This fee shall apply to services rendered on
                    behalf of the United States if the information requested is
                    available through electronic access.

                                                 *****

                    (4) For reproducing any record or paper, 50 cents per page. This
                    fee shall apply to paper copies made from either: (1) original
                    documents; or (2) microfiche or microfilm reproductions of the
                    original records. This fee shall apply to services rendered on
                    behalf of the United States if the record or paper requested is
                    available through electronic access.

                     Appeal Fee in Bankruptcy. The Conference adopted the
             recommendation of the Committee on Court Administration and Case
             Management, as endorsed by the Committee on the Administration of the
             Bankruptcy System, to amend Items 15 and 21 of the Bankruptcy Court
             Miscellaneous Fee Schedule to provide that fees for appeals or cross-appeals by
             bankruptcy trustees (and debtors in possession in chapter 11 cases) be payable
             only from the estate and to the extent that an estate is realized in order to
             encourage trustees to pursue estate assets. A similar provision has already been
             included in Item 6 of the Bankruptcy Court Miscellaneous Fee Schedule
             pertaining to the obligation of trustees and debtors in possession to pay
             adversary proceeding filing fees.




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                     JUROR ATTENDANCE FEE

                             Pursuant to the Jury Selection and Service Act, 28 U.S.C. § 1871, jurors
                     are entitled to receive a fee of $40 per day for attendance at a place of trial or
                     hearing. While this fee is not intended to support or replace salaries, it is
                     intended to provide a minimal level of compensation for jurors fulfilling their
                     civic responsibility. However, this fee has not been increased in over ten
                     years.7 On recommendation of the Committee on Court Administration and
                     Case Management, the Judicial Conference agreed to seek legislation to amend
                     28 U.S.C. § 1871(b)(1) to increase from $40 to $50 the fee paid to a juror per
                     day of actual attendance, subject to congressional funding.


                     E-GOVERNMENT ACT OF 2001

                             The proposed E-Government Act of 2001 (S. 803 and H.R. 2458, 107th
                     Congress) is intended to improve the use of information technology by the
                     federal government. Section 205 of both bills would require appellate, district
                     and bankruptcy courts to establish official websites containing information or
                     links to information such as local rules, written opinions and electronically
                     filed documents. It would permit the Judicial Conference to promulgate rules
                     to address privacy concerns, and includes an “opt out” provision. The bills
                     also address the conditions under which fees may be charged for court
                     information. Since an extensive effort is already underway in the judiciary
                     both to expand public access through technology (e.g., the case
                     management/electronic case files system) and to address privacy issues related
                     to public access (see supra, “Report on Privacy and Public Access to Electronic
                     Case Files,” pp. 48-50), it was the Committee’s view that the judiciary is better
                     equipped to address these issues. On recommendation of the Committee, the
                     Judicial Conference agreed to ask Congress to strike section 205 and replace it
                     with a provision giving the judiciary six months to study the use of information
                     technology in providing court-related information to the public and provide the
                     Senate Governmental Affairs and the House Government Reform Committees
                     with language more tailored to the objectives and needs of the judiciary and its
                     users.



                     7
                      In March 1998, the Judicial Conference approved seeking legislation to reduce
                     from 30 to five the number of days jurors are required to serve before they are
                     eligible to receive an additional fee (JCUS-MAR 98, p. 9), but this proposal
                     has not yet been enacted.

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                     In addition, on recommendation of the Committee, the Conference
             adopted the following specific fallback positions in the event Congress declines
             to strike section 205:

             That the Judicial Conference—

             a.     take no position with regard to the meaning of the term “written
                    opinion” as used in the legislation;

             b.     take no position on the amendment of the fee language in the Judiciary
                    Appropriations Act of 1991;

             c.     make Congress aware of the fact that there are significant costs
                    associated with the maintenance of written opinions online for an
                    indefinite period of time;

             d.     make Congress aware of any inconsistencies between any privacy and
                    access policy the Conference may adopt and the provisions of the
                    legislation;

             e.     make Congress aware that the “opt out” provision of the bill is contrary
                    to the establishment of a nationwide access policy and should be
                    viewed as merely a short-term solution to initial noncompliance;

             f.     seek an amendment to the legislation to allow chief bankruptcy judges
                    to create the websites of bankruptcy courts; and

             g.     seek an amendment to the legislation to extend the time requirement for
                    compliance with both the operation of court websites and the
                    availability of electronic documents to five years after the effective date
                    of the Act.


             COMMITTEE ACTIVITIES

                     The Committee on Court Administration and Case Management
             reported that, among other things, it received a briefing on the Criminal Justice
             Act supervisory attorney pilot project, which will be evaluated by the
             Committee at its next meeting; an update on videoconferencing in the federal
             courts; an update on the case management/electronic case files project; and a
             briefing on the Federal Judicial Center’s ongoing district case weighting study.




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             C OMMITTEE ON C RIMINAL L AW

                     DNA AND COMPETENCY OF COUNSEL
                     LEGISLATION

                              Legislation pending in the 107th Congress on improving the availability
                     of post-conviction forensic DNA testing in federal and state criminal justice
                     systems and on ensuring competent counsel in state capital cases was
                     considered by the Committees on Criminal Law, Defender Services, and
                     Federal-State Jurisdiction, each with regard to those provisions falling within
                     its jurisdiction. The recommendations of those committees were presented to
                     the Conference in one consolidated report and are discussed infra,
                     “Consolidated Report on DNA and Competency of Counsel Legislation,”
                      pp. 72-75.


                     COMMITTEE ACTIVITIES

                             The Committee reported on its recommendation to the AO Director that
                     the Regulations of the Director of the Administrative Office Concerning the
                     Carrying and Use of Firearms by U.S. Probation and Pretrial Services Officers
                     be revised to authorize probation and pretrial services officers to carry
                     judiciary-issued, double-action only, semiautomatic firearms in the
                     performance of their official duties. The regulations, adopted by the
                     Conference at its March 1997 session (JCUS-MAR 97, p. 22), delegate to the
                     AO Director, in consultation with the Committee, the authority to determine
                     which firearms and ammunition are authorized for use by the officers. The
                     Committee was briefed on the activities of an ad hoc working group that is
                     reviewing and revising pretrial services and post-conviction supervision
                     monographs.


             C OMMITTEE ON D EFENDER S ERVICES

                     MALPRACTICE CLAIMS AGAINST
                     PANEL ATTORNEYS

                             The Federal Courts Improvement Act of 2000 amended subsection (d)
                     of the Criminal Justice Act (CJA), 18 U.S.C. § 3006A(d), to authorize courts to
                     reimburse panel attorneys for expenses reasonably incurred by them in
                     defending against actions alleging their malpractice in furnishing
                     representational service under the CJA. On recommendation of the Committee

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             on Defender Services, the Judicial Conference approved a proposed revision of
             paragraph 2.27 of the Guidelines for the Administration of the Criminal Justice
             Act and Related Statutes, Volume VII, Guide to Judiciary Policies and
             Procedures, to add a new subparagraph (D) to advise courts and panel
             attorneys regarding implementation of this legislation. (The previous
             subparagraph (D) is redesignated as (E).) The new guideline sets a monetary
             ceiling for reimbursement, the deductible amount of the attorney’s professional
             liability insurance or $5,000, whichever is less; precludes reimbursement for
             the value of the attorney’s own services in defending against the action; and, as
             specified in the statute, prohibits reimbursement if a judgment of malpractice is
             rendered against the panel attorney. Expenses incurred on or after November
             13, 2000 are eligible for reimbursement.


             DNA AND COMPETENCY OF COUNSEL
             LEGISLATION

                      Legislation pending in the 107th Congress on improving the availability
             of post-conviction forensic DNA testing in federal and state criminal justice
             systems and on ensuring competent counsel in state capital cases was
             considered by the Committees on Criminal Law, Defender Services, and
             Federal-State Jurisdiction, each with regard to those provisions falling within
             its jurisdiction. The recommendations of those committees were presented to
             the Conference in one consolidated report and are discussed infra,
             “Consolidated Report on DNA and Competency of Counsel Legislation,”
             pp. 72-75.


             COMMITTEE ACTIVITIES

                    Under its delegated authority from the Judicial Conference (JCUS­
             MAR 89, pp. 16-17), the Committee on Defender Services approved fiscal year
             2002 budgets and grants for 73 federal defender organizations, totaling
             $272,123,700.

                     The Committee reported that it reviewed the continuing development
             and implementation of the Outline of the Defender Services Program Strategic
             Plan, and supported the concept of convening a joint state and federal defender
             conference on quality of representation. The Committee endorsed
             establishment of two capital resource counsel positions to be used to train and
             consult with federal defender organization staffs on federal death penalty
             representation, and, as their availability permits, provide support and training to
             Criminal Justice Act panel attorneys on such matters. Efforts by the

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                     Committee and other components of the judiciary to obtain an increase in the
                     compensation rate for Criminal Justice Act panel attorneys appear to be
                     yielding positive results, in that Congress approved FY 2002 funding for an
                     hourly rate of $90 for in-court and out-of-court work. The Committee also
                     received a report on federal defender and panel attorney training events.


             C OMMITTEE ON F EDERAL -S TATE J URISDICTION

                     DIVERSITY JURISDICTION

                              Section 1332(c) of title 28, United States Code, currently “deems” a
                     corporation to be a citizen of any State by which it has been incorporated and
                     of the State where it has its principal place of business, for purposes of
                     diversity of citizenship and removal jurisdiction. The provision was originally
                     adopted to expand the number of states in which a corporation will be deemed
                     a citizen, thus restricting the scope of diversity jurisdiction. However, some
                     courts have interpreted the word “State” in section 1332(c)(1) as not including
                     foreign states, resulting in the expansion of the availability of diversity
                     jurisdiction for corporations with foreign contacts. In response to this situation,
                     the Committee on Federal-State Jurisdiction recommended that the Judicial
                     Conference endorse enactment of a proposal of the American Law Institute to
                     amend 28 U.S.C. § 1332(c) to deem a corporation to be a citizen of every state
                     and foreign state by which it has been incorporated and of the state or foreign
                     state in which it has its principal place of business. The Conference adopted
                     the Committee’s recommendation, which would have the effect of restricting
                     the availability of diversity jurisdiction for corporations with foreign contacts.


                     PATIENTS’ RIGHTS LEGISLATION

                             During the first session of the 107th Congress, both the Senate and the
                     House of Representatives passed differing versions of the “Bipartisan Patient
                     Protection Act” as S. 1052 and H.R. 2563, respectively. These bills would
                     establish new federal standards governing the provision of medical benefits in
                     health insurance plans. Both bills would also provide legal recourse for
                     damage claims for injuries resulting from the denial by a health plan of a




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             medical benefit. They differ, however, in their allocation of jurisdiction to the
             state and federal courts and in the type of action permitted.8

                     S. 1052 would create a new federal cause of action, with exclusive
             federal court jurisdiction, for personal injuries arising from a failure to exercise
             ordinary care in making a decision regarding an individual’s coverage under a
             health benefit plan. S. 1052 would also lift the preemption bar in the Employee
             Retirement Income Security Act of 1974 (ERISA) to permit suits for personal
             injuries arising from “medically reviewable determinations” (e.g., decisions
             based on the necessity or appropriateness of a treatment) to go forward in state
             courts in accordance with otherwise applicable state law. H.R. 2563 would
             create a single federal cause of action for damages that result from negligent
             coverage decisions, as well as medically reviewable decisions. State and
             federal courts would be given concurrent jurisdiction. Although H.R. 2563
             precludes removal of claims arising from a medically reviewable
             determination, it permits removal if the action is against certain parties. The
             two bills would also provide for access to a court when a benefit has been
             denied and the patient believes that exhaustion of internal and external review
             processes would result in irreparable injury to the patient’s health. S. 1052
             would make federal court the exclusive forum for the adjudication of such
             exigent benefit claims, while H.R. 2563 would provide for concurrent
             jurisdiction in the state and federal courts and would make no provision to bar
             removal.

                     In February 2000, during the 106th Congress, the Executive Committee,
             on behalf of the Judicial Conference, adopted a recommendation of the
             Committee on Federal-State Jurisdiction urging Congress to provide that in any
             managed care legislation, the state courts be the primary fora for the resolution
             of personal injury claims arising from the denial of health care benefits, should
             Congress determine that such legal recourse is warranted. The Executive
             Committee recognized that personal injury claims arising from the provision or
             denial of medical treatment have historically been governed by state tort law,
             and suits on such claims have traditionally and satisfactorily been resolved
             primarily in the state court system. JCUS-MAR 00, pp. 7-8. After reviewing
             the legal recourse provisions of S. 1052 and H.R. 2563, and in light of




             8
              Presently, suits for personal injury damages against health insurance plans
             governed by the Employee Retirement Income Security Act of 1974 are
             generally barred, and only a claim for the actual benefit or service is permitted
             in federal, as well as state, court. 29 U.S.C. § 1132(a).

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                     previous Conference action, the Committee on Federal-State Jurisdiction
                     recommended that the Conference—

                     a.       Continue to recognize that state courts should be the primary fora for
                              the resolution of personal injury claims arising from the denial of health
                              care benefits;

                     b.       Express concern with any provision in patients’ rights legislation that
                              would create a new cause of action in federal court for personal injury
                              claims arising from medically reviewable (e.g., necessity of treatment)
                              benefit decisions; and

                     c.       Encourage Congress, in any such legislation, to provide state courts
                              with jurisdiction (concurrent or otherwise) over any suits to compel
                              insurance plans to provide interim medical benefits on an emergency
                              basis and to bar removal of such suits.

                     By mail ballot concluded on October 1, 2001, the Conference adopted the
                     Committee’s recommendations.


                     DNA AND COMPETENCY OF COUNSEL
                     LEGISLATION

                              Legislation pending in the 107th Congress on improving the availability
                     of post-conviction forensic DNA testing in federal and state criminal justice
                     systems and on ensuring competent counsel in state capital cases was
                     considered by the Committees on Criminal Law, Defender Services, and
                     Federal-State Jurisdiction, each with regard to those provisions falling within
                     its jurisdiction. The recommendations of those committees were presented to
                     the Conference in one consolidated report and are discussed infra,
                     “Consolidated Report on DNA and Competency of Counsel Legislation,”
                     pp. 72-75.


                     COMMITTEE ACTIVITIES

                             The Committee on Federal-State Jurisdiction reported that it was
                     briefed on a number of issues related to mass torts and class actions, including
                     proposed amendments to Rule 23 of the Federal Rules of Civil Procedure
                     regarding duplicative and competing class actions. In addition, the Committee
                     formed a Subcommittee on Federal-State Interaction, which is tasked with

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             making suggestions as to how the Committee can better foster state-federal
             relations and educational initiatives. Other topics discussed by the Committee
             included the work of the Ninth Circuit’s Pacific Islands Committee, the status
             of asbestos litigation, legislative language to make orders of the National Labor
             Relations Board self-enforcing, and a proposal by administrative law judges to
             restructure the appellate administrative review of Social Security claims.


        C OMMITTEE ON F INANCIAL D ISCLOSURE

             FINANCIAL DISCLOSURE REPORT PREPARATION

                     On recommendation of the Committee on Financial Disclosure, the
             Judicial Conference agreed (by mail ballot concluded on October 1, 2001) to
             authorize the reimbursement of judges and judiciary employees for the cost of
             professional fees, not to exceed $1000, for the preparation of annual financial
             disclosure reports. Reimbursement of this expense is appropriate because
             preparation of a financial disclosure report is a part of a filer’s official duties
             and imparts no personal benefit; rather it satisfies an official government need.


             COMMITTEE ACTIVITIES

                     As of July 1, 2001, the Committee had received 3,231 financial
             disclosure reports and certifications for the calendar year 2000, including 1,174
             reports and certifications from Supreme Court justices, Article III judges, and
             judicial officers of special courts; 320 from bankruptcy judges; 488 from
             magistrate judges; and 1,249 from judicial employees.


        C OMMITTEE ON INTERCIRCUIT A SSIGNMENTS

             COMMITTEE ACTIVITIES

                     The Committee on Intercircuit Assignments reported that during the
             period from January 1, 2001, to June 30, 2001, a total of 90 intercircuit
             assignments, undertaken by 58 Article III judges, were processed and
             recommended by the Committee on Intercircuit Assignments and approved by
             the Chief Justice. In addition, the Committee aided courts requesting
             assistance by both identifying and obtaining judges willing to take assignments.


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             C OMMITTEE ON INTERNATIONAL J UDICIAL R ELATIONS

                     COMMITTEE ACTIVITIES

                              The Committee on International Judicial Relations reported that seven
                     delegations of Russian judges have participated in a Library of Congress
                     Russian Leadership Program rule-of-law component that has been established
                     with Committee assistance. The program includes visits to the federal and state
                     courts in a local community in the United States. The Committee also reported
                     on its involvement in rule-of-law and judicial reform activities relating to
                     Africa, Asia, Europe, and Latin America, including work with the Russian and
                     Venezuelan judiciaries funded through the United States Agency for
                     International Development.


             C OMMITTEE ON THE J UDICIAL B RANCH

                     GOVERNMENT MANAGEMENT REFORM ACT OF 1994

                             Section 101 of the Government Management Reform Act of 1994,
                     Public Law No. 103-356, amended the Ethics Reform Act of 1989 to provide
                     that an annual Employment Cost Index (ECI) adjustment for judges, members
                     of Congress, and Executive Schedule officials can be no higher than a
                     comparable pay adjustment for General Schedule employees. The effect of this
                     provision has been that judges and other high-level federal officials have lost
                     2.8 percent of their annual ECI adjustments cumulatively, resulting in a loss of
                     about $4,000 annually. After considering the legislative histories of the Ethics
                     Reform Act and section 101 of the Government Management Reform Act, the
                     Committee concluded that section 101 is contrary to the intent of Congress and
                     the President in enacting the Ethics Reform Act (which was to make annual
                     pay adjustments for high-level officials independent of those for other federal
                     employees) and is unfair in its application to judges. On recommendation of
                     the Judicial Branch Committee, the Judicial Conference agreed to seek repeal
                     of section 101 of the Government Management Reform Act of 1994, as it
                     operates on judges, members of Congress, and Executive Schedule officials.




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             TRAVEL REGULATIONS FOR UNITED STATES
             JUSTICES AND JUDGES

                      On recommendation of the Judicial Branch Committee, the Judicial
             Conference agreed to amend the Travel Regulations for United States Justices
             and Judges to clarify the Director’s authority with regard to reimbursement for
             travel and subsistence expenses for judges with special needs. The
             amendments provide that (a) the Director may authorize a judge with a special
             need (e.g., physical disability) transportation and per diem expenses incurred
             by a family member or other attendant who must travel with the judge to make
             the trip possible; (b) a judge with a special need is authorized services (e.g.,
             renting and/or transporting a wheelchair) to enable the judge to accomplish
             successfully the purpose of the travel; and (c) the Director may authorize an
             actual subsistence expense reimbursement not to exceed 300 percent of the
             applicable maximum per diem rate, where the daily subsistence allowance for
             judges who itemize is inadequate to cover the cost of a hotel room that is
             accessible or otherwise equipped for physically disabled persons.


             COMMITTEE ACTIVITIES

                     The Committee on the Judicial Branch reported that it has continued to
             give high priority to the problem of judicial compensation. The Committee
             also devoted considerable time and attention to benefits matters and received
             an update on the status of two cases raising issues concerning taxation of
             judicial compensation.


        C OMMITTEE ON J UDICIAL R ESOURCES

             COURT INTERPRETER POSITIONS

                     Based on established criteria, the Committee on Judicial Resources
             recommended, and the Judicial Conference approved, ten additional court
             interpreter positions for fiscal year 2003: six positions for the District of
             Arizona, including the conversion of three temporary positions to permanent;
             three positions for the Southern District of California; and one position for the
             Northern District of California. Four of these positions (three in the District of
             Arizona and one in the Southern District of California) were approved for
             accelerated funding in fiscal year 2002. On recommendation of the Committee,

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                     the Conference declined to approve additional court interpreter positions for
                     the Districts of Massachusetts, Nebraska, New Jersey, and Puerto Rico.


                     BANKRUPTCY ADMINISTRATOR STAFF

                             The bankruptcy administrator for the Northern District of Alabama
                     requested authority to have a “type II” chief deputy bankruptcy administrator
                     position, citing the size, geographic distribution and level of responsibilities of
                     that office. This request was supported by the chief judge of the Eleventh
                     Circuit Court of Appeals, and the chief judges of the district and bankruptcy
                     courts of the Northern District of Alabama. On recommendation of the
                     Committee, which determined that the bankruptcy administrator for that district
                     would use a second-in-command type II chief deputy in a manner consistent
                     with the position description set forth in the Judiciary Salary Plan, the
                     Conference approved the bankruptcy administrator’s request.


                     PHYSICAL FITNESS CENTERS

                             Physical fitness programs have been promoted by both the private and
                     federal sectors as a means to improve employee productivity, reduce
                     absenteeism, lessen employee turnover, and decrease health care costs.
                     Judiciary staff have used on-site and shared fitness centers for several years. At
                     the request of the Committee on Security and Facilities, the Committee on
                     Judicial Resources developed a judiciary policy on physical fitness centers to
                     give guidance on such matters as liability, safety, and space concerns, and
                     recommended its adoption by the Conference. Among other things, the policy
                     authorizes local funds to be expended to allow court staff to participate in
                     fitness center activities. The Conference adopted the policy on physical fitness
                     centers proposed by the Committee.


                     BANKRUPTCY APPELLATE PANEL LAW CLERKS

                             In order to develop a methodology for allocating bankruptcy appellate
                     panel law clerks, the Judicial Resources Committee considered the caseloads
                     and resources of bankruptcy appellate panel judges, recommendations made by
                     chief bankruptcy appellate panel judges and bankruptcy appellate panel clerks,
                     and other detailed alternatives. On recommendation of the Committee, the
                     Conference agreed to take the following actions:

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             a.     Adopt a national staffing allocation formula for bankruptcy appellate
                    panel law clerks of one law clerk for every 100 bankruptcy appellate
                    panel annual case participations on a circuit-wide basis, not to exceed
                    one law clerk per bankruptcy appellate panel judge;

             b.     Define bankruptcy appellate panel case participations for the
                    bankruptcy appellate panel law clerk formula as including (1) case
                    terminations on the merits following oral hearing or submission on the
                    briefs and (2) case procedural terminations ruled on by a judge;

             c.     Approve a rounding factor of 75 bankruptcy appellate panel case
                    participations for all filings above the initial base of 100 case
                    participations for receiving a second or subsequent law clerk;

             d.     Approve a stability factor that would reduce the number of allocated
                    positions only if the bankruptcy appellate panel does not meet the
                    formula standard with the rounding factor for two years in a row; and

             e.     Authorize the Director of the Administrative Office to approve requests
                    for bankruptcy appellate panel law clerk extensions for compelling
                    reasons.


             DISTRICT CLERKS’ OFFICES STAFFING FORMULA

                     In September 2000, the Judicial Conference approved a new staffing
             formula for the district clerks’ offices (JCUS-SEP 00, pp. 56-57).
             Subsequently, in order to take into consideration the impact of new
             technologies, the Committee recommended that the Conference revise the
             formula to include a new “automation” factor and to remove the automation
             component from the existing “organizational” factor. In addition, the
             Committee recommended a technical amendment to the “judge support”
             staffing factor to reflect that this factor was intended to be based on “judges
             authorized,” not “judges present,” since the former is a more accurate indicator
             of workload. The Conference adopted the proposed automation,
             organizational, and judge support staffing factors as part of the staffing formula
             for the United States district court clerks’ offices to be implemented in fiscal
             year 2002.




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                     ALTERNATIVE DISPUTE RESOLUTION
                     STAFFING FACTOR

                             In March 1998, the Judicial Conference approved a “basic” and a
                     “robust” staffing factor for clerk’s office positions performing duties related to
                     alternative dispute resolution (JCUS-MAR 98, pp. 20-21). The basic staffing
                     factor was intended to apply to most district courts’ alternate dispute resolution
                     (ADR) programs, while the robust factor was intended for a limited number of
                     courts with extensive ADR programs. The District of South Carolina,
                     heretofore funded using the basic staffing factor, requested application of the
                     robust factor, citing significant growth in its program. Based on the number of
                     cases reported as participating in the District of South Carolina’s ADR
                     program, and the number of hours spent processing those cases for the 12­
                     month reporting period ending June 2000, the Committee on Judicial
                     Resources recommended that the Judicial Conference approve that district’s
                     request. The Conference adopted the Committee’s recommendation.


                     QUALIFICATIONS STANDARDS FOR CHIEF
                     PROBATION AND CHIEF PRETRIAL SERVICES OFFICERS

                             The Judicial Conference approved a recommendation of the Committee
                     on Judicial Resources that it adopt revised qualifications standards for chief
                     probation officers and chief pretrial services officers in order to modernize and
                     enhance those standards. The new standards retain requirements for a
                     bachelor’s degree before specialized experience is credited and for three years
                     of technical experience for continued law enforcement officer retirement
                     system coverage, but they eliminate credit for graduate-level education and
                     allow substitution of three years of successful experience as a supervisor or a
                     manager for the requirement of a year at the next lower level of specialized
                     experience.


                     COMMITTEE ACTIVITIES

                            The Committee on Judicial Resources reported that it encouraged the
                     Director of the Administrative Office to increase the health care flexible
                     spending account cap from $5,000 to a maximum of $10,000. The Committee
                     took no action on special rates proposed by the Office of Personnel
                     Management for information technology personnel because a survey of all

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             court units conducted by the Administrative Office in March 2001 showed no
             apparent nationwide problem with information technology recruitment and
             retention in the judiciary (although the data indicated problems in certain
             locality pay areas). The Committee asked the Administrative Office to provide
             an update if the situation changes and to develop educational materials that
             encourage courts to use the full range of Court Personnel System flexibilities
             and monetary and non-monetary incentives to attract and retain information
             technology employees.


        C OMMITTEE ON THE A DMINISTRATION
        OF THE M AGISTRATE J UDGES S YSTEM

             SELECTION AND APPOINTMENT REGULATIONS

                     On recommendation of the Committee on the Administration of the
             Magistrate Judges System, the Judicial Conference approved technical and
             clarifying changes to the Regulations of the Judicial Conference of the United
             States Establishing Standards and Procedures for the Appointment and
             Reappointment of United States Magistrate Judges. Among other things, the
             changes add the Territory of Guam and the Commonwealth of the Northern
             Mariana Islands as locations where a person may be a member of the bar to be
             qualified for appointment as a magistrate judge, and clarify that any additional
             qualification standard that a court may wish to impose, beyond those in the
             selection and appointment regulations, may not be inconsistent with the court’s
             policy as an equal opportunity employer.


             CHANGES IN MAGISTRATE JUDGE POSITIONS

                     After consideration of the report of the Committee and the
             recommendations of the Director of the Administrative Office, the district
             courts, and the judicial councils of the circuits, the Judicial Conference
             approved the following changes in positions, locations, salaries, and
             arrangements for full-time and part-time magistrate judge positions. Changes
             with a budgetary impact are to be effective when appropriated funds are
             available.




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                     THIRD CIRCUIT

                     Eastern District of Pennsylvania

                              Made no change in the number, locations, or arrangements of the
                              magistrate judge positions in the district.

                     Middle District of Pennsylvania

                              Increased the salary of the part-time magistrate judge position at
                              Williamsport from Level 7 ($5,605 per annum) to Level 6 ($11,211 per
                              annum).

                     FOURTH CIRCUIT

                     District of South Carolina

                     1.       Authorized an additional full-time magistrate judge position in
                              Charleston; and

                     2.       Made no change in the number, locations, salaries, or arrangements of
                              the other magistrate judge positions in the district.

                     FIFTH CIRCUIT

                     Middle District of Louisiana

                              Made no change in the number or arrangements of the magistrate judge
                              positions in the district.

                     Northern District of Texas

                              Increased the salary of the part-time magistrate judge position at
                              Abilene from Level 5 ($22,422 per annum) to Level 4 ($33,633 per
                              annum).

                     Western District of Texas

                              Redesignated the full-time magistrate judge position currently
                              designated as Austin or Waco as Austin.



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             SIXTH CIRCUIT

             Eastern District of Michigan

                    Made no change in the number, locations, or arrangements of the
                    magistrate judge positions in the district.

             NINTH CIRCUIT

             District of Idaho

                    Made no change in the number, location, or arrangements of the
                    magistrate judge positions in the district.

             District of Oregon

                    Made no change in the number, locations, salaries, or arrangements of
                    the magistrate judge positions in the district.

             ELEVENTH CIRCUIT

             Northern District of Alabama

                    Made no change in the number, locations, or arrangements of the
                    magistrate judge positions in the district.


             ACCELERATED FUNDING

                     On recommendation of the Committee, the Judicial Conference agreed
             to designate the new full-time magistrate judge position at Charleston, South
             Carolina, for accelerated funding in fiscal year 2002.


             COMMITTEE ACTIVITIES

                     The Committee considered two issues concerning the selection and
             appointment regulations for magistrate judge positions. First, the Committee
             discussed a judge’s suggestion that the regulations be amended to provide that
             if an applicant for a magistrate judge position is a member of the same law firm
             as a member of the merit selection panel, the panel member must step down.


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                     The Committee determined not to seek a change to the regulations to address
                     the issue, but instead to add language to the selection and appointment
                     pamphlet that each panel member must disclose to all other panel members any
                     personal or professional relationships with any applicants for the position. The
                     Committee also declined to adopt a judge’s suggestion that the regulations be
                     modified to allow career law clerks with at least five years of clerkship
                     experience to have that clerkship time considered in computing the five-year
                     active practice of law requirement.


             C OMMITTEE TO R EVIEW C IRCUIT
             C OUNCIL C ONDUCT AND D ISABILITY O RDERS

                     COMMITTEE ACTIVITIES

                            The Committee to Review Circuit Council Conduct and Disability
                     Orders reported that it met in August 2001 to consider a petition for review of
                     an order entered by the Judicial Council of the District of Columbia Circuit in
                     proceedings conducted under the Judicial Conduct and Disability Act, 28
                     U.S.C. § 372(c). The petition, filed in April 2001, was taken under
                     advisement.


             C OMMITTEE ON R ULES OF P RACTICE AND P ROCEDURE

                     FEDERAL RULES OF APPELLATE PROCEDURE

                             The Committee on Rules of Practice and Procedure submitted to the
                     Judicial Conference proposed amendments to Appellate Rules 1 (Scope of
                     Rules; Title), 4 (Appeal as of Right -- When Taken), 5 (Appeal by Permission),
                     21 (Writs of Mandamus and Prohibition, and Other Extraordinary Writs), 24
                     (Proceeding in Forma Pauperis), 25 (Filing and Service), 26 (Computing and
                     Extending Time), 26.1 (Corporate Disclosure Statement), 27 (Motions), 28
                     (Briefs), 31 (Serving and Filing Briefs), 32 (Form of Briefs, Appendices, and
                     Other Papers), 36 (Entry of Judgment; Notice), 41 (Mandate: Contents;
                     Issuance and Effective Date; Stay), 44 (Case Involving a Constitutional
                     Question When the United States Is Not a Party) and 45 (Clerk’s Duties), and
                     new Form 6 (Certificate of Compliance With Rule 32(a)), together with
                     Committee notes explaining their purpose and intent. The Judicial Conference
                     approved the amendments and new form and authorized their transmittal to the


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             Supreme Court for its consideration with the recommendation that they be
             adopted by the Court and transmitted to Congress in accordance with the law.


             FEDERAL RULES OF BANKRUPTCY PROCEDURE

                     The Committee on Rules of Practice and Procedure submitted to the
             Judicial Conference proposed amendments to Bankruptcy Rules 1004
             (Partnership Petition), 2004 (Examination), 2015 (Duty to Keep Records, Make
             Reports, and Give Notice of Case), 4004 (Grant or Denial of Discharge), 9014
             (Contested Matters), and 9027 (Removal), and new Rule 1004.1 (Petition for
             an Infant or Incompetent Person), together with Committee notes explaining
             their purpose and intent.9 The Judicial Conference approved the amendments
             and the new rule and authorized their transmittal to the Supreme Court for its
             consideration with the recommendation that they be adopted by the Court and
             transmitted to Congress in accordance with the law. The Committee also
             proposed, and the Conference approved, amendments to Official Forms 1
             (Voluntary Petition) and 15 (Order Confirming Plan). The revisions to the
             forms will take effect December 1, 2001.


             FEDERAL RULES OF CIVIL PROCEDURE

                     The Committee on Rules of Practice and Procedure submitted to the
             Judicial Conference proposed amendments to Civil Rules 54 (Judgments;
             Costs), 58 (Entry of Judgment), and 81 (Applicability in General), and to Rule
             C of the Supplemental Rules for Certain Admiralty and Maritime Claims (In
             Rem Actions: Special Provisions), as well as a new Civil Rule 7.1 (Disclosure
             Statement), together with Committee notes explaining their purpose and intent.
             The Judicial Conference approved the amendments and the new rule and
             authorized their transmittal to the Supreme Court for its consideration with the
             recommendation that they be adopted by the Court and transmitted to Congress
             in accordance with the law.




             9
              The proposed amendments originally included revisions to Bankruptcy Rule
             2014 (Employment of a Professional Person); however, prior to the Conference
             session, this proposal was withdrawn by the Committee for further
             consideration.

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                     FEDERAL RULES OF CRIMINAL PROCEDURE

                             The Committee on Rules of Practice and Procedure submitted to the
                     Conference a comprehensive “style” revision of Criminal Rules 1-60. This
                     revision is part of a larger effort to clarify, simplify, and standardize the
                     language of the procedural rules.10 The Committee also submitted to the
                     Conference proposed “substantive” revisions to Criminal Rules 5 (Initial
                     Appearance Before the Magistrate Judge), 5.1 (Preliminary Examination), 10
                     (Arraignment), 12.2 (Notice of Insanity Defense or Expert Testimony of
                     Defendant’s Mental Condition), 26 (Taking of Testimony), 30 (Instructions),
                     35 (Correction or Reduction of Sentence), and 43 (Presence of the Defendant),
                     and a proposed new Rule 12.4 (Disclosure Statement). These revisions had
                     been under consideration apart from the “style” project. The Conference first
                     approved the style amendments, then the substantive amendments,11 and then
                     directed that the substantive amendments be substituted for the corresponding
                     rules contained in the style amendments, inserting new Rule 12.4 as well. The
                     Conference agreed to transmit these changes as a single set of proposals to the
                     Supreme Court for its consideration with the recommendation that they be
                     adopted by the Court and transmitted to Congress in accordance with the law.


                     COMMITTEE ACTIVITIES

                             The Committee on Rules of Practice and Procedure approved the
                     recommendations of its advisory committees to publish for public comment
                     proposed amendments to the Bankruptcy, Civil, Criminal, and Evidence Rules.
                     The Committee was advised of the status of its local rules project, which
                     entails reviewing all local rules of courts for consistency and duplication. An
                     extensive report on this project will be presented at the Committee's January
                     2002 meeting and will be shared with the courts.




                     10
                       The Federal Rules of Appellate Procedure were similarly revised in 1997
                     (JCUS-SEP 97, p. 82).
                     11
                      The substantive amendments to Criminal Rules 5, 10, and 43 were approved
                     by mail ballot concluded on October 1, 2001.

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        C OMMITTEE ON S ECURITY AND F ACILITIES

             U.S. COURTS DESIGN GUIDE

                     In order to accommodate the unique space requirements of individual
             courts, the U.S. Courts Design Guide includes a provision allowing for
             “departures” from the Design Guide, which must be approved by the
             appropriate circuit judicial council. (Such “departures” have also been referred
             to at various times as “exceptions,” “deviations,” and “waivers.”) To reflect
             more accurately that the Design Guide contemplates that some courts would
             have special needs, the Committee on Security and Facilities recommended,
             and the Conference agreed, that the word “departures” should be replaced with
             the words “special requirements” throughout the Design Guide. The approval
             process for such “special requirements” will not change. (Grammatical
             revisions necessitated by this action may be made without further Conference
             approval.)


             DELEGATION OF CONSTRUCTION AUTHORITY

                      Section 614 of title 40, United States Code, authorizes General Services
             Administration (GSA) delegation of construction authority to executive branch
             agencies. Prompted by experience that shows higher costs for the judiciary
             when it obtains alterations services through GSA than when it contracts
             directly with commercial vendors, the Committee recommended that the
             Judicial Conference seek legislation that would expressly permit GSA to
             delegate construction and alteration authority to the judiciary to the same extent
             that it may do so to executive branch agencies. The Conference adopted the
             Committee’s recommendation.


             CONGRESSIONAL REVIEW OF COURTHOUSE CONSTRUCTION

                     On recommendation of the Committee, the Judicial Conference agreed
             to oppose legislation pending before the 107th Congress (H.R. 254) that would
             provide for more detailed congressional review of all court alteration and
             construction projects. The bill would require the AO to submit all planned
             projects in court space to Congress and would allow 30 days for any member of
             Congress to disapprove a project. Currently, Congress only considers



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                     individual prospectus-level (exceeding $1.99 million) court construction and
                     repair and alteration projects for authorization and appropriations. H.R. 254
                     could require time-consuming documentation of even a small project.


                     COURTROOM INFORMATION PROJECT

                              On recommendation of the Committee, the Judicial Conference
                     endorsed voluntary participation by federal courts in the “Courtroom
                     Information Project” of the National Center for State Courts, a program to
                     share information with members of the bar about the size, shape, lighting,
                     wiring, and lines of sight in federal and state courtrooms. The Committee
                     determined that participation would cause minimal risk to the security of a
                     court, and cooperative projects with state courts are worthwhile.


                     COMMITTEE ACTIVITIES

                             The Committee on Security and Facilities reported that in response to
                     questions about firearms standards for court security officers, it resolved that
                     the United States Marshals Service is best qualified to determine the types of
                     weapons necessary to protect the judiciary.12 The Committee made technical
                     revisions to update the Space Acquisition Guidelines, which had been approved
                     by the Judicial Conference in March 1997 (JCUS-MAR 97, p. 41) and last
                     updated February 25, 1999. The Guidelines provide a process for managing
                     and evaluating non-prospectus space projects. The Committee referred the
                     updated Guidelines to the Administrative Office Director for implementation.


             C OMMITTEES ON C RIMINAL L AW , D EFENDER
             S ERVICES, AND F EDERAL -S TATE J URISDICTION

                     CONSOLIDATED REPORT ON DNA AND COMPETENCY
                     OF COUNSEL LEGISLATION

                            Three bills pending in the 107th Congress, the “Innocence Protection
                     Act of 2001" (S. 486 and H.R. 912) and the “Criminal Justice Integrity and

                     12
                      A Conference member identified this matter for the discussion calendar, but
                     when the Conference session was canceled, the item was deferred.

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             Innocence Protection Act of 2001" (S. 800), have the dual goals of improving
             the availability of post-conviction forensic DNA testing in federal and state
             criminal justice systems and ensuring competent counsel in state capital cases.
             Responsibility for considering these legislative proposals was divided among
             three Conference committees. The Committee on Defender Services reviewed
             those sections addressing the assignment of counsel, the Committee on
             Criminal Law examined provisions directed to DNA testing in the federal
             criminal justice system, and the Committee on Federal-State Jurisdiction
             reviewed those provisions affecting state criminal justice systems. At the
             request of the Executive Committee, the three committees submitted their
             recommendations in one consolidated report. These recommendations were
             approved by the Judicial Conference by mail ballot concluded on October 1,
             2001, as follows:

                     With respect to legislation pending in the 107th Congress to enhance the
             availability of post-conviction DNA testing in federal and state criminal justice
             systems and to ensure competent counsel in state capital proceedings (e.g., S.
             486 and H.R. 912, “The Innocence Protection Act of 2001,” and S. 800, the
             “Criminal Justice Integrity and Innocence Protection Act of 2001”), and similar
             legislation that might be introduced in the future, that the Judicial Conference:

             a.     Support the goal of establishing fair and uniform standards for post-
                    conviction forensic DNA testing in the federal criminal justice system.
                    (Committee on Criminal Law)

             b.     Support the goal of affording innocent people wrongly convicted the
                    opportunity to obtain DNA testing relevant to their claim of innocence,
                    but oppose provisions that would entitle a person convicted of a non-
                    capital federal crime the right to apply to the sentencing court for DNA
                    testing in connection with an offense used for sentencing purposes.
                    (Committee on Defender Services)

             c.     Support provisions that would give federal courts discretion to appoint
                    counsel for a financially eligible person who is convicted of a federal
                    crime and is applying to the federal court for DNA testing in connection
                    with that conviction. (Committee on Defender Services)

             d.     Support the goal of ensuring that capital defendants have competent
                    legal representation in both state and federal capital proceedings at
                    every stage of their cases. (Committee on Defender Services)



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                     e.       Support giving the Judicial Conference the opportunity to provide input
                              to any national commission established to set standards specifying the
                              elements of an effective system for providing adequate representation to
                              indigent persons facing the death penalty, but oppose requiring
                              members of the federal judiciary to serve as members of the
                              commission. (Committee on Defender Services)

                     f.       Support the award of grants for the purpose of providing defense
                              services in connection with representation both in state capital trials and
                              appeals and in state and federal post-conviction proceedings, except
                              that, with regard to funds to be used in state court, support the federal
                              judiciary’s providing input into, but oppose the federal judiciary’s being
                              responsible for, the administration of such funds. (Committee on
                              Defender Services)

                     g.       With regard to provisions affecting state criminal justice systems that
                              raise issues of federalism and resources burdens:

                              1.      Oppose provisions that would entitle individuals not in custody
                                      to seek post-conviction DNA testing to challenge a state
                                      criminal conviction;

                              2.      Express concerns with provisions that would displace state time
                                      limits and procedural default rules as applicable to individuals
                                      convicted after DNA testing became a routine feature of the
                                      state’s criminal justice system;

                              3.      Encourage Congress, to the extent it conditions the receipt of
                                      federal funds on a state’s certification that it will provide DNA
                                      testing, to limit such conditions to those grants that relate
                                      directly to developing or improving a state’s DNA analysis
                                      capability or to collecting, analyzing, or indexing DNA material
                                      for law enforcement identification purposes;

                              4.      Oppose provisions that would permit the routine naming of state
                                      judges as defendants in any new federal cause of action to obtain
                                      DNA testing or evidence;




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                    5.     Encourage Congress, in addressing the consequences of a state’s
                           failure to provide appropriate post-conviction DNA testing, to
                           consider making any federal judicial remedy available only
                           where the state judicial system fails to provide an adequate and
                           effective remedy;

                    6.     Oppose provisions that would require the Attorney General to
                           withhold certain prison funding to a state if that state permits the
                           death penalty but does not meet the national standards
                           specifying the elements of an effective system for providing
                           adequate representation in state capital cases as established by a
                           national commission described above; and

                    7.     Oppose provisions that would require states to certify that, as a
                           condition for receiving certain federal grants, juries having a
                           role in determining the sentence in a capital proceeding are
                           instructed as to all statutorily authorized sentencing options,
                           including parole eligibility rules, if a defendant so requests.
                           (Committee on Federal-State Jurisdiction)

             h.     Authorize the Director of the Administrative Office of the U.S. Courts
                    to work with chairs of the respective Judicial Conference committees to
                    suggest to Congress modifications of the relevant legislation that
                    address the concerns of the Conference. (Committees on Criminal Law,
                    Defender Services, and Federal-State Jurisdiction)


        F UNDING

                     All of the foregoing recommendations that require the expenditure of
             funds for implementation were approved by the Judicial Conference subject to
             the availability of funds and to whatever priorities the Conference might
             establish for the use of available resources.




                                                          Chief Justice of the United States
                                                          Presiding




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                    CONGRESSIONAL BUDGET OFFICE
                           COST ESTIMATE

                                                                              May 18, 2017


                                       H.R. 2266
                        Bankruptcy Judgeship Act of 2017

               As passed by the House of Representatives on May 17, 2017


SUMMARY

H.R. 2266 would authorize 18 permanent bankruptcy judgeships—4 judgeships would be
new and 14 temporary judgeships would become permanent. Under current law, any
vacancies that occur among those temporary judgeships after May 25, 2017, cannot be
filled. Under the act, such vacancies could be filled at any time in the future. The act also
would adjust the formula used to set certain quarterly fees paid by businesses involved in
ongoing Chapter 11 bankruptcy cases and would change the budgetary treatment of a
portion of those fees.

CBO estimates that enacting H.R. 2266 would increase direct spending by about
$21 million and would increase revenues by about $21 million over the 2018-2027 period.
CBO also estimates that implementing the act would reduce net discretionary spending by
about $1 billion over the 2018-2027 period.

Because enacting H.R. 2266 would affect direct spending and revenues, pay-as-you-go
procedures apply.

CBO estimates that enacting H.R. 2266 would not increase net direct spending or
on-budget deficits in any of the four consecutive 10-year periods beginning in 2028.

H.R. 2266 contains no intergovernmental mandates as defined in the Unfunded Mandates
Reform Act (UMRA) and would impose no costs on state, local, or tribal governments.

H.R. 2266 would impose a new mandate, as defined in UMRA, by increasing fees paid to
DOJ by entities that are currently in Chapter 11 bankruptcy and that have disbursements of
more than $1 million per quarter. CBO estimates that the cost of the mandates would fall
below the annual threshold established in UMRA for private-sector mandates
($156 million in 2017, adjusted annually for inflation).
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ESTIMATED COST TO THE FEDERAL GOVERNMENT

The estimated budgetary impact of H.R. 2266 is shown in the following table. The costs of
this legislation fall within budget function 750 (administration of justice).

                                                                    By Fiscal Year, in Millions of Dollars
                                                                                                                           2017- 2017-
                                    2017    2018    2019    2020     2021    2022   2023       2024   2025   2026   2027    2022 2027


                                              INCREASES IN DIRECT SPENDING

Judicial Salaries and Benefits
   Estimated Budget Authority           0       *       1       1        1      2          3      3      3      3      3       6    21
   Estimated Outlays                    0       *       1       1        1      2          3      3      3      3      3       6    21

                                                    INCREASES IN REVENUES

Chapter 11 Bankruptcy Quarterly
Fees
   Estimated Revenues                   0       5       5       4        4      4          0      0      0      0      0     21     21

                                NET INCREASE OR DECREASE (-) IN THE DEFICIT FROM
                                  INCREASES IN DIRECT SPENDING AND REVENUES

Impact on Deficit                       0      -5      -4      -3       -3     -2          3      3      3      3      3     -15     0

                    INCREASES OR DECREASES (-) IN SPENDING SUBJECT TO APPROPRIATION

Judicial Administrative Costs
   Estimated Authorization Level        0       1       3       3        4      6          8      8      8      8      8     16     56
   Estimated Outlays                    0       1       3       3        4      6          8      8      8      8      8     16     56

Chapter 11 Bankruptcy Quarterly
Fees
   Estimated Authorization Level        0    -144    -135   -126     -117    -109   -106        -99    -93    -86    -81    -631 -1,096
   Estimated Outlays                    0    -144    -135   -126     -117    -109   -106        -99    -93    -86    -81    -631 -1,096

Net Changes
   Estimated Authorization Level        0    -143    -132   -123     -113    -103     -99       -91    -85    -78    -72    -614 -1,039
   Estimated Outlays                    0    -143    -132   -123     -113    -103     -99       -91    -85    -78    -72    -614 -1,039


Notes: Amounts may not sum to totals because of rounding; * = between zero and $500,000.




BASIS OF ESTIMATE

For this estimate, CBO assumes that H.R. 2266 will be enacted near the end of fiscal year
2017 and that the necessary amounts will be appropriated each year.




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Judicial Salaries and Benefits

The salaries and benefits for bankruptcy judges—about $232,000 in 2017 for each
judge—are considered direct spending.

New Bankruptcy Judgeships. H.R. 2266 would authorize four new permanent
bankruptcy judgeships. Incorporating the effects of anticipated inflation, CBO estimates
that the salaries and benefits for those judges would increase direct spending by
$11 million over the 2018-2027 period.

Temporary Bankruptcy Judgeships Converted to Permanent Judgeships. H.R. 2266
would convert 14 temporary bankruptcy judgeships to permanent judgeships. Under
current law, those 14 judgeships expire on May 25, 2017. After that date, all judges
currently serving in the districts where those temporary judgeships are assigned can
continue to serve until their term expires, they retire, or they die. After May 25, 2017, if any
bankruptcy judge currently serving in such a district vacates a seat that vacancy cannot be
filled if the number of remaining judges in that district equals or exceeds the number of
permanent judgeships authorized for that district. Under H.R. 2266, any vacancies after
May 25, 2017, could be filled because those judgeships would be extended indefinitely.

CBO cannot predict the timing of vacancies among judgeships in the affected districts;
however, based on an analysis of information from the Administrative Office of the U.S.
Courts (AOUSC) about the age of the relevant judges, the amount of time remaining in the
judges’ terms, and the judges’ likelihood of reappointment, we expect that six vacancies
(from more than 50 sitting judges) will probably occur during the ten years following the
enactment of H.R. 2266. Those vacancies will occur at different points over the next
10 years. CBO estimates that filling those six vacancies would increase direct spending for
salaries and benefits by $10 million over the 2018-2027 period.

Judicial Administrative Costs

Implementing H.R. 2266 would increase administrative expenses for each judge
appointed. Such expenses include supporting personnel, security costs, and court
operations and maintenance. According to the AOUSC, expenses in 2017 are about
$700,000 per judge. Based on that information and adjusting for anticipated inflation, CBO
estimates that administrative costs associated with the 10 additional judges would be
$56 million over the 2018-2027 period; subject to the availability of appropriated funds.




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Chapter 11 Bankruptcy Quarterly Fees

H.R. 2266 would change the formula that determines the amount of quarterly fees paid by
debtors in Chapter 11 bankruptcy cases. Chapter 11 of the Bankruptcy Code is typically
used to reorganize a business that is in bankruptcy. Once a business owner or corporation
files for bankruptcy under Chapter 11 they are required to pay a fee to the Department of
Justice (DOJ) at the end of each quarter until their case is closed or dismissed. The
quarterly fee is set in accordance with a formula that takes account of the amount of funds
disbursed by the debtor for salaries, operating expenses, and other expenses in a given
quarter. In 2016, DOJ collected $91 million from such quarterly fees. H.R. 2266 would
increase the quarterly fee for debtors with disbursements over $1 million in a quarter.

Under current law, those quarterly fees are deposited into the U.S. Trustee System Fund
and recorded as offsets to the annual appropriation to the U.S. Trustee Program (USTP).
The fees are collected under permanent law thus their collection is not subject to
appropriation action. (The USTP oversees the administration of bankruptcy cases.) Based
on historic trends in bankruptcy filings and on an analysis of information from DOJ about
the amounts collected from the quarterly fees, CBO estimates that enacting H.R. 2266
would increase collections by about $1.1 billion over the 2018-2027 period.

Under H.R. 2266, 2.5 percent of those quarterly fees would be deposited into the general
fund of the Treasury during fiscal years 2018 through 2022 and would not be available to
be spent. Those amounts would be recorded in the budget as additional revenues. The gross
increase in revenues would be $26 million over the 2018-2027 period. Because excise
taxes and other indirect business taxes (such as bankruptcy quarterly fees) reduce the base
of income and payroll taxes for individuals employed by or serviced by the affected
businesses, higher amounts of those indirect business taxes would lead to reductions in
revenues from income and payroll taxes. As a result, the increase in fees would be partially
offset by a loss of revenues of about 26 percent each year.

That 26 percent offset would normally apply to all of the increase in the bankruptcy fees
(the estimated $1.1 billion), but the underlying law directs that those bankruptcy fees be
treated as offsetting collections. Long-standing conventions dictate that CBO not score any
foregone revenues to fees that are recorded as offsetting collections. The loss in revenues
from increasing the bankruptcy fees would total about $0.3 billion over the 2018-2027
period. Thus, only the offsetting effects to the fees that would be treated as revenues are
subject to the offset. CBO estimates that enacting the fee provisions would increase net
revenues by $21 million over the 2018-2027 period.




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PAY-AS-YOU-GO CONSIDERATIONS

The Statutory Pay-As-You-Go Act of 2010 establishes budget-reporting and enforcement
procedures for legislation affecting direct spending or revenues. The net changes in outlays
and revenues that are subject to those pay-as-you-go procedures are shown in the following
table.

CBO Estimate of Pay-As-You-Go Effects for H.R. 2266 as ordered reported by the House Committee on the Judiciary
on May 3, 2017


                                                             By Fiscal Year, in Millions of Dollars
                                                                                                                    2017- 2017-
                                 2017   2018   2019   2020    2021     2022   2023   2024   2025      2026   2027    2022 2027


                                 NET INCREASE OR DECREASE (-) IN THE DEFICIT

Statutory Pay-As-You-Go Impact      0     -5     -4     -3        -3     -2      3      3       3        3      3     -15    0


Memorandum:

   Changes in Outlays               0      0      1      1        1       2      3      3       3        3      3      6    21
   Changes in Revenues              0      5      5      4        4       4      0      0       0        0      0     21    21




INCREASE IN LONG-TERM DIRECT SPENDING AND DEFICITS

CBO estimates that enacting H.R. 2266 would not increase net direct spending or
on-budget deficits in any of the four consecutive 10-year periods beginning in 2028.


ESTIMATED IMPACT ON STATE, LOCAL, AND TRIBAL GOVERNMENTS

H.R. 2266 contains no intergovernmental mandates as defined in UMRA and would
impose no costs on state, local, or tribal governments.


ESTIMATED IMPACT ON THE PRIVATE SECTOR

H.R. 2266 would impose a new mandate, as defined in UMRA, by increasing the amount
of fees paid to the DOJ by entities that are already in bankruptcy and that have
disbursements (salaries, operating expenses, etc. paid by the entity) of more than
$1 million per quarter. Once an entity files for bankruptcy under Chapter 11, they must pay
a fee to DOJ at the end of each quarter until their case is closed or dismissed. As noted
above, CBO estimates that new fee collections would total $144 million in the first year

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after enactment and decline to $109 million by the fifth year. Some portion of those
collections would be from entities already in bankruptcy that have quarterly disbursements
of more than $1 million, and those are the entities that would face a mandate under the act.
In total, CBO estimates that the cost of the mandate would fall below the annual threshold
established in UMRA for private-sector mandates ($156 million in 2017, adjusted annually
for inflation).


ESTIMATE PREPARED BY:

Federal Costs: Robert Reese
Impact on State, Local, and Tribal Governments: Rachel Austin
Impact on the Private Sector: Paige Piper/Bach


ESTIMATE APPROVED BY:

H. Samuel Papenfuss
Deputy Assistant Director for Budget Analysis




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                                                       Agenda E-3 (Summary)
                                                    Bankruptcy Administration
                                                              September 2018

                                                  SUMMARY OF THE

                             REPORT OF THE JUDICIAL CONFERENCE

     COMMITTEE ON THE ADMINISTRATION OF THE BANKRUPTCY SYSTEM

        The Committee on the Administration of the Bankruptcy System recommends that the
Judicial Conference:

1.     a.        Recommend to Congress that no existing bankruptcy judgeship be statutorily
                 eliminated, and
       b.        Advise the appropriate circuit judicial councils to consider not filling vacancies
                 that currently exist or may occur because of resignation, retirement, removal, or
                 death, until there is a demonstrated need to do so in the following districts:
                 Alaska, South Dakota, Iowa-Northern, California-Northern, Maine, Oklahoma-
                 Northern, Oregon, California-Central, New York-Western, Iowa-Southern, Ohio-
                 Southern, Illinois-Central, California-Eastern, Oklahoma-Western, Ohio-
                 Northern, California-Southern, Virginia-Western, Michigan-Western,
                 Washington-Western, Pennsylvania-Eastern, and Texas-Western ................ pp. 3-6
2.     a.        Approve a request from the Third Circuit Judicial Council to designate
                 Wilmington as the official bankruptcy judge duty station for the two new
                 temporary judgeships in the District of Delaware, and
       b.        Approve a request from the Sixth Circuit Judicial Council to designate Flint as the
                 official bankruptcy judge duty station for the new bankruptcy judgeship in the
                 Eastern District of Michigan .......................................................................... pp. 7-9
3.     Approve a request from the Seventh Circuit Judicial Council to redesignate the official
       bankruptcy judge duty station in the Central District of Illinois from Urbana to Rock
       Island, in accordance with 28 U.S.C. § 152(b)(1), and designate Urbana as a place of
       holding court ............................................................................................................ pp. 9-10
4.     Approve the proposed revisions to the ad hoc and extended service bankruptcy judge
       recall regulations regarding authorization of chambers staff for recalled judges, as set
       forth in the Appendix ............................................................................................. pp. 10-12
5.     Approve expanding the bankruptcy judgeship vacancy pilot project to allow up to five
       long-standing vacancies to be filled and the judge lent to a district that has an emergency
       need for an additional judgeship through the use of an intercircuit assignment designation
       and an agreement between participating circuit councils ...................................... pp. 20-22


                                                             NOTICE
     NO RECOMMENDATIONS PRESENTED HEREIN REPRESENT THE POLICY OF THE JUDICIAL CONFERENCE
                         UNLESS APPROVED BY THE CONFERENCE ITSELF.



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        The remainder of the Report is submitted for the record and includes the following items
for the information of the Judicial Conference:
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        Bankruptcy Judgeships .......................................................................................... pp. 3, 6-7
        Cost-Containment .................................................................................................. pp. 12-14
        Bankruptcy Administrator Matters ........................................................................ pp. 14-16
        Judiciary Strategic Planning ..........................................................................................p. 16
        Bankruptcy Judge Quarterly Reporting of Matters Under Advisement ................ pp. 16-17
        Revised Preliminary Application and Disclosure Statement for Bankruptcy Judge
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        Quarterly Fees in Large Chapter 11 Cases in Bankruptcy Administrator
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        Other Matters ......................................................................................................... pp. 22-23




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                                                                             September 2018

                      REPORT OF THE JUDICIAL CONFERENCE

    COMMITTEE ON THE ADMINISTRATION OF THE BANKRUPTCY SYSTEM

TO THE CHIEF JUSTICE OF THE UNITED STATES AND MEMBERS OF THE
JUDICIAL CONFERENCE OF THE UNITED STATES:

       The Committee on the Administration of the Bankruptcy System met on June 14-15,

2018. All members participated except Judge John E. Waites (Bankr. D.S.C.). Judge Leslie

Joyce Abrams (M.D. Ga.) participated by telephone. At the invitation of the Chair, the following

individuals also attended the meeting: Judge Stuart M. Bernstein (Bankr. S.D.N.Y.),

representing the Advisory Committee on Bankruptcy Rules; Chief Judge Michael E. Romero

(Bankr. D. Colo.), President of the National Conference of Bankruptcy Judges (NCBJ); Judge

Thomas J. Catliota (Bankr. D. Md.), Chair of the Administrative Office’s (AO) Bankruptcy

Judges Advisory Group (BJAG); Judge Catherine Peek McEwen (Bankr. M.D. Fla.), Bankruptcy

Judge Observer to the Judicial Conference; Bill Miller (Bankr. M.D.N.C.), Bankruptcy

Administrator Committee Liaison; and JC Guerrero (Bankr. M.D. Ala.), Bankruptcy Clerk of

Court Committee Liaison.

       Administrative Office support for the meeting was provided by Michele Reed, Chief of

the Judicial Services Office (JSO); Daniel J. Isaacs-Smith and Dana Y. Elliott, JSO Senior

Attorneys; and William T. Rule, JSO Senior Economist. Also attending the meeting from the

AO were Gary E. McCaffrey, Chief of the Court Operations Division of the Court Services

Office; and Kevin A. Lee, Deputy Budget Officer. Other AO staff participated in certain




                                            NOTICE
     NO RECOMMENDATIONS PRESENTED HEREIN REPRESENT THE POLICY OF THE JUDICIAL CONFERENCE
                         UNLESS APPROVED BY THE CONFERENCE ITSELF.




                                                                                  Supp. App.024
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portions of the meeting. Elizabeth C. Wiggins, Senior Research Associate, represented the

Federal Judicial Center (FJC).

                                     FUNDING FOR FISCAL YEAR 2020

         The Committee considered and agreed to recommend to the Committee on the Budget the

following fiscal year (FY) 2020 budget request for bankruptcy judgeship resources and the

Bankruptcy Administrator (BA) program: (a) $1.7 million for up to 30 recalled bankruptcy

judges and their staffs; (b) $3.5 million for temporary bankruptcy law clerks; (c) $6.3 million for

48.2 authorized work units for the BA program, based on application of the Conference-

approved staffing formula (JCUS-SEP 14, pp. 21-22); (d) $80.6 million for salaries and benefits

for 351 authorized bankruptcy judgeships; and (e) $89.7 million for salaries and benefits for

chambers staff for bankruptcy judges. These recommendations reflect the following changes

from the FY 2019 assumed level: an increase of $1.0 million for recalled bankruptcy judges and

their staffs, a reduction of $0.2 million for the BA program, a reduction of $4.1 million for

bankruptcy judges salaries and benefits, and a reduction of $6.3 million for chambers staff for

bankruptcy judges salaries and benefits. 1 The temporary bankruptcy law clerk request is the

same as the FY 2019 request.

         The total budget request by the Bankruptcy Committee (mandatory and discretionary) for

FY 2020 is $181,825,000, which includes funding for active bankruptcy judges and chambers

staff. The total budget request is an increase of 2.6 percent over the FY 2019 assumed funding

level, and thus does not exceed the Budget Committee’s guidance for FY 2020 that budgets not

increase by more than 3.0 percent over the FY assumed level.




         1
          The reduction in bankruptcy judge and chambers staff salaries and benefits results from a greater number
of vacancies due to declines in bankruptcy filings.
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                                BANKRUPTCY JUDGESHIPS

       The Committee was briefed on the number of authorized bankruptcy judgeships, recalled

bankruptcy judges, intercircuit and intracircuit assignments, bankruptcy judgeship vacancies, and

existing temporary bankruptcy judgeships. The Committee also discussed the continuing need

survey process and procedures. As of March 31, 2018, there were 351 authorized bankruptcy

judgeships, 35 of which were temporary judgeships; 30 recalled bankruptcy judges; and 29

bankruptcy judgeship vacancies.

                    Temporary Judgeships, Vacancies, and Related Matters

       Of the 35 temporary judgeships, seven judgeships have not been filled and are not

currently at risk of lapsing because lapse dates occur five years from the appointment date of the

judge named to fill the positions. This includes four new temporary judgeships authorized by the

Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72. One temporary judgeship passed its

lapse date on May 1, 2011, and will be lost when the next vacancy occurs in that court. Thirteen

temporary judgeships passed their lapse dates on May 25, 2017, and will be lost when the next

vacancies occur in those courts. The remaining 14 temporary judgeships were extended by the

Bankruptcy Judgeship Act of 2017 for a period of five years from the date of enactment of that

bill, October 26, 2017, and thus have lapse dates of October 26, 2022. The four new temporary

judgeships and 14 extensions are in the same districts that the Judicial Conference recommended

for new judgeships and conversion to permanent status, respectively, in its 2017 bankruptcy

judgeship request. JCUS-MAR 17, p. 6.

                              Continuing Judgeship Need Survey

       Under 28 U.S.C. § 152(b)(3), the Judicial Conference must assess the continuing need for

all authorized bankruptcy judgeships every two years and report its recommendations to

Congress regarding “any authorized position which can be eliminated when a vacancy exists by

reason of resignation, retirement, removal, or death” by December 31 of each even-numbered
                                                                       Bankruptcy Administration - Page 3

                                                                                      Supp. App.026
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year. Since 1994, after each of the previous continuing judgeship need surveys, the Conference

has approved the Bankruptcy Committee’s recommendation that no bankruptcy judgeship be

statutorily eliminated. The Conference has also advised several circuit judicial councils to

consider not filling bankruptcy judgeship vacancies occurring in districts by reason of

resignation, retirement, removal, or death, unless there is a demonstrated need to do so,

particularly if filling the vacancy would result in a weighted caseload per remaining judgeship(s)

of fewer than 1,000 weighted filings. JCUS-SEP 94, pp. 44-45; JCUS-SEP 96, pp. 50-51; JCUS-

SEP 98, pp. 44-45; JCUS-SEP 00, pp. 42-43; JCUS-SEP 02, pp. 39-40; JCUS-SEP 04, pp. 8-9;

JCUS-SEP 06, p. 8; JCUS-MAR 09, p. 5; JCUS-SEP 10, p. 8; JCUS-SEP 12, p. 8; JCUS-SEP

14, pp. 6-7; and JCUS-SEP 16, p. 7.

         In accordance with the statute and the schedule and procedures approved by the

Committee at its December 2017 meeting, staff identified districts where the elimination of a

bankruptcy judgeship would result in fewer than 1,000 weighted filings per judgeship for the

remaining positions, based on data for calendar year 2017. 2 The chair of the Committee sent a

letter to the chief bankruptcy judges for each affected district and their respective chief circuit

judge offering an opportunity to submit additional information for consideration by the

Committee. Five circuit chief judges with affected districts submitted information related to the

nature and mix of the district’s case types, historical caseload data and filing trends, geographic

issues, current economic data, and specific demographics.

         Using updated weighted caseload data for the twelve-month period ending March 31,

2018, the following 27 districts (listed from lowest to highest weighted filings per authorized

judgeship) had weighted caseloads lower than the 1,000-per judgeship threshold after the

caseloads were recalculated based on one less bankruptcy judgeship in the district:


         2
             Districts with one authorized judgeship are not included in the continuing need survey.

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                                                               (Rev. 8/23/18)

 1. Alaska                         10. Iowa-Southern                 19. Michigan-Western
 2. South Dakota                   11. Ohio-Southern                 20. New York-Northern
 3. Iowa-Northern                  12. Illinois-Central              21. Washington-Eastern
 4. California-Northern            13. California-Eastern            22. Washington-Western
 5. Maine                          14. Oklahoma-Western              23. Pennsylvania-Eastern
 6. Oklahoma-Northern              15. Ohio-Northern                 24. New Mexico
 7. Oregon                         16. California-Southern           25. Pennsylvania-Middle
 8. California-Central             17. Virginia-Western              26. Massachusetts
 9. New York-Western               18. North Carolina-Middle         27. Texas-Western

       Based on information provided on behalf of the affected districts and by AO staff, the

Committee recommended that the Judicial Conference recommend to Congress that no existing

bankruptcy judgeship be statutorily eliminated. The Committee also recommended that the

Conference should advise the appropriate circuit judicial councils with respect to 21 districts

identified by the judgeships subcommittee to consider not filling vacancies that currently exist or

may occur because of resignation, retirement, removal, or death, until there is a demonstrated

need to do so.

       The Committee did not include three districts in its final recommendation—the Middle

District of North Carolina, the Northern District of New York, and the Middle District of

Pennsylvania—because the next vacancy occurring in those districts will result in the lapse of a

temporary judgeship (and thus there will be no vacancy to recommend holding open) and the

resulting weighted caseload calculation does not fall below the 1,000-per-judgeship threshold.

Three districts—the Eastern District of Washington, the District of New Mexico, and the District

of Massachusetts—submitted additional information that led the Committee to conclude that

filling the next vacancy in those districts would be justified, at the discretion of the relevant

court of appeals.

       Recommendations: That the Judicial Conference—

       a.        Recommend to Congress that no existing bankruptcy judgeship be
                 statutorily eliminated, and


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                                                                                         Supp. App.028
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         b.       Advise the appropriate circuit judicial councils to consider not filling
                  vacancies that currently exist or may occur because of resignation,
                  retirement, removal, or death, until there is a demonstrated need to do so
                  in the following districts: Alaska, South Dakota, Iowa-Northern,
                  California-Northern, Maine, Oklahoma-Northern, Oregon, California-
                  Central, New York-Western, Iowa-Southern, Ohio-Southern, Illinois-
                  Central, California-Eastern, Oklahoma-Western, Ohio-Northern,
                  California-Southern, Virginia-Western, Michigan-Western, Washington-
                  Western, Pennsylvania-Eastern, and Texas-Western.

                                 Additional Judgeship Need Survey Process

         Along with the continuing need survey, the Judicial Conference is tasked with assessing

the need for additional bankruptcy judgeships. This requirement is contained in 28 U.S.C.

§ 152(b)(2), which states:

                  The Judicial Conference shall, from time to time, submit
                  recommendations to the Congress regarding the number of
                  bankruptcy judges needed and the districts in which such judges are
                  needed.

         In 1991, the Judicial Conference determined that additional judgeship surveys would be

conducted biennially. JCUS-MAR 91, pp. 12-13. At its September 1996 session, the

Conference approved a change in the schedule for completing the biennial surveys so that

recommendations for additional bankruptcy judgeships would be considered by the Conference

in March, rather than September, of odd-numbered years. JCUS-SEP 96, p. 50. This schedule

permits the judiciary to advocate, when appropriate, for additional bankruptcy judgeships

throughout the full two-year congressional term.

         The Committee approved the schedule and procedures for the 2019 additional judgeship

need survey process. Any on-site surveys needed to examine the judgeship needs for a district

will be conducted in September-November 2018. The Committee will consider requests for

additional judgeships at its December 2018 meeting and make recommendations to the

Conference for consideration at its March 2019 session.




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                                     Judicial Resources Surveys

        At its December 2015 meeting, the Committee approved a process for selecting districts

to receive on-site surveys, based in part on anticipation of the district’s need for judicial

resources. The intent was to minimize the need to survey multiple districts within the short time

frame available to complete the biennial additional judgeship needs review. These surveys

provide the Committee with information beyond raw caseload and weighted caseload data that

may be relevant to Committee decisions, including geographic, population, and other relevant

economic data. At its June 2017 meeting, the Committee selected six districts to survey before

its June 2018 meeting. Two of these surveys were completed prior to the Committee’s

December 2017 meeting, and the remaining four were completed prior to the Committee’s June

2018 meeting. The Committee selected two additional districts to survey before its June 2019

meeting.

                         DUTY STATIONS AND PLACES OF
                     HOLDING COURT FOR BANKRUPTCY JUDGES

                  Designation of Duty Stations for New Temporary Judgeships

        In addition to extending the authorization of 14 existing temporary judgeships, the

Bankruptcy Judgeships Act of 2017, Pub. L. No. 115-72, §§ 1002-03, 131 Stat. 1224, 1229-32,

authorized four new temporary judgeships: two in the District of Delaware, one in the Eastern

District of Michigan, and one in the Middle District of Florida. Of those, the Committee

considered requests to designate duty stations for three of those positions. The Middle District of

Florida indicated that it does not intend to request that this position be filled at this time, and

prefers to maintain the flexibility to designate the duty station in the future when it intends to fill

the position.

        The Committee considered a request from the Third Circuit Judicial Council that the

Judicial Conference designate Wilmington as the duty station for the two new temporary

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judgeships in the District of Delaware. With the two new temporary judgeships, the District of

Delaware has eight authorized bankruptcy judgeships. The six existing judgeships are all

designated to Wilmington, the district’s only duty station and place of holding court. The

Committee noted the size and nature of the district with respect to its sole duty station and place

of holding court and that any adjustments to accommodate the two new judgeships will be made

within the circuit’s existing space footprint, so there will be no impact on the Judicial Conference

“No Net New” policy that requires any increase in square footage within a circuit be offset by an

equivalent reduction in square footage within the same fiscal year. JCUS-MAR 18, p. 11; Guide

to Judiciary Policy (Guide), Vol. 3, Ch. 15, §§ 1520.30(b)(2)(B), (D), (E), and (F). It thus

recommended that the Conference approve the request.

         The Committee also considered a request from the Sixth Circuit Judicial Council that the

Judicial Conference designate Flint as the duty station for the new temporary judgeship in the

Eastern District of Michigan. With the new temporary judgeship, the Eastern District of

Michigan has six authorized bankruptcy judgeships. The duty stations of the existing judgeships

are follows: three in Detroit, one in Bay City, and one in “Flint or Detroit” (the current occupant

is sitting in Detroit). There is a fifth judge currently serving in Detroit on a five-year intercircuit

assignment from the Northern District of Iowa through the Committee’s Bankruptcy Judgeship

Vacancy Pilot program. The Committee noted that the bankruptcy court already has chambers

and courtroom space in Flint, so there is no cost associated with this request; that Flint has the

caseload to support a resident judge; and that approving this request will result in a more even

distribution of cases among the judges in the district. JCUS-MAR 18, p. 11; Guide, Vol. 3, Ch.

15, §§ 1520.30(b)(2)(B), (D), (E), and (F). It thus recommended that the Conference approve the

request.




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       Recommendations: That the Judicial Conference—

       a.      Approve a request from the Third Circuit Judicial Council to designate
               Wilmington as the official bankruptcy judge duty station for the two new
               temporary judgeships in the District of Delaware, and

       b.      Approve a request from the Sixth Circuit Judicial Council to designate
               Flint as the official bankruptcy judge duty station for the new bankruptcy
               judgeship in the Eastern District of Michigan.

                 Redesignation of Duty Station in the Central District of Illinois

       The Committee considered a request from the Seventh Circuit Judicial Council that the

duty station for the vacant judgeship in the Central District of Illinois be redesignated from

Urbana to Rock Island. The Seventh Circuit Judicial Council requested the change due to space

concerns. Neither Urbana or Rock Island has adequate chambers or courtroom space to

accommodate a bankruptcy judge. The General Services Administration is in the process of

seeking replacement leased space for the court in Rock Island. The existing Rock Island court

space is located in a building owned by the U.S. Post Office, and the building suffers from

significant building, maintenance and management, and security deficiencies. In the current

facility, visiting judges use a hearing room or share the district judge’s courtroom when holding

proceedings in Rock Island. The Asset Management Planning business rules—the guidelines

adopted by the Judicial Conference when building a program of requirements for new space—do

not allow the court to seek space equivalent to the hearing room in the replacement lease as it is

not tied to a resident judge. JCUS-MAR 08, p. 26.

       Moving the duty station from Urbana to Rock Island will allow the new leased space in

Rock Island to include chambers and a courtroom for a bankruptcy judge. Absent this

redesignation, the new courthouse in Rock Island would only have one courtroom that would be

shared by the resident district judge, visiting district judges, the visiting magistrate judge, and the

visiting bankruptcy judge. Changing the designation of the bankruptcy judge duty station from

Urbana to Rock Island would allow the new facility to include an additional courtroom and

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provide flexibility for not only the bankruptcy court, but for visiting district and magistrate

judges as well. Ensuring that chambers and courtroom space are available now will save the

judiciary the cost of having to find or construct chambers space in the future if bankruptcy filings

increase and the circuit council elects to fill the current vacancy. It thus recommended that the

Conference approve the request. If this request is approved, it is also recommended that the

Conference designate Urbana as a place of holding court.

         Recommendation: That the Judicial Conference approve a request from the
         Seventh Circuit Judicial Council to redesignate the official bankruptcy judge duty
         station in the Central District of Illinois from Urbana to Rock Island, in
         accordance with 28 U.S.C. § 152(b)(1), and designate Urbana as a place of
         holding court.

                         BANKRUPTCY JUDGE RECALL REGULATIONS

         AO staff periodically review the Guide to ensure that Judicial Conference regulations and

guidelines are clear, complete, accurate, and up-to-date. Recently, staff identified portions of the

bankruptcy judge recall regulations that should be revised to achieve this goal. The changes

concern the regulations for ad hoc (Guide, Vol. 3, Ch. 9) and extended service (Guide, Vol. 3,

Ch. 10) recall of bankruptcy judges.

         The proposed revisions (a) specify the caseload standards for authorizing staff for a

recalled bankruptcy judge; (b) make it clear that a circuit judicial council and the Committee

may authorize a greater or lesser number of chambers staff for a recalled bankruptcy judge than

provided for in the caseload standards after consideration of all relevant factors (but no more

than two full-time chambers staff per recalled bankruptcy judge); and (c) require that the

Committee authorize chambers staff annually for recall appointments that are longer than one

year and one day (extended service recall regulations only).

         With respect to the proposed revision to specify the caseload standards for authorizing

staff for a recalled bankruptcy judge, the regulations currently use percentages of a full-time

bankruptcy judge workload to determine the appropriate number of chambers staff positions
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(75 percent of a full-time bankruptcy judge workload for authorizing two chambers staff

positions, and 40 percent of a full-time bankruptcy judge workload for authorizing one chambers

staff position). However, the regulations do not specify how a full-time bankruptcy judge

workload is defined, or how that figure is determined.

       A full-time bankruptcy judge workload of 1,100 weighted filings was established

following the FJC’s 1988-1989 case weights study. Although there have been subsequent case

weights studies, the Committee has consistently applied the 1,100 weighted filings standard. The

proposed revised regulations specify the weighted filings level to determine the appropriate

number of chambers staff positions—825 weighted filings for authorizing two full-time

chambers staff positions, and 440 weighted filings for authorizing one full-time chambers staff

position. These numbers represent 75 percent and 40 percent of a full-time bankruptcy judge

workload. The workload percentages are the same as in the current regulations but are expressed

in raw figures instead of percentages. This specific guidance will assist bankruptcy judges and

circuit judicial councils when considering staffing requests for recalled bankruptcy judges.

Because all relevant factors may be considered along with the workload standards, there remains

flexibility for the circuit judicial councils and the Committee to address unique staffing needs.

       Additionally, the proposed revisions make it clear that the Committee may approve a

greater or lesser number of (but no more than two total) chambers staff than specified under the

caseload standards after considering factors other than weighted filings. This proposed revision

would provide flexibility for circuits to certify, and the Committee to approve, a greater or lesser

number of chambers staff in appropriate circumstances.

       Finally, under the proposed revisions, the Committee would be required to authorize staff

annually for recall appointments that are longer than one year and one day. Previously, the

Committee authorized chambers staff for the entire term of recall regardless of the length of the


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recall term. This proposed revision would enable the Committee to provide greater oversight

regarding the costs of the bankruptcy judge recall program.

         The Committee reviewed the proposed revisions to the regulations and recommended that

the Conference approve the revisions, as set forth in the Appendix.

         Recommendation: That the Judicial Conference approve the proposed revisions
         to the ad hoc and extended service bankruptcy judge recall regulations regarding
         authorization of chambers staff for recalled judges, as set forth in the Appendix.

                                        COST-CONTAINMENT

                                  CACM Cost-Containment Subcommittee

         At the request of the Budget Committee, the Committee on Court Administration and

Case Management (CACM) is leading a multi-committee initiative to evaluate alternative

organizational models that might contain administrative costs. To carry out this initiative, the

CACM Committee established the CACM Subcommittee on Cost-Containment (CACM

Subcommittee), which includes members from six Judicial Conference committees, including the

Bankruptcy Committee.

         The CACM Subcommittee has worked over the past three years to analyze organizational

concepts for managing the administrative functions of courts. An initial report, which was

presented to the Budget Committee in July 2017, as well as to the September 2017 Judicial

Conference, emphasized a need for additional data and analysis before conclusions could be

drawn about cost savings and the efficacy of the different shared services models, and included

recommendations for longer-term analysis and investigation. The Budget Committee discussed

the initial report at its July 2017 meeting and expressed appreciation for the subcommittee’s

work to date. It provided its views to the CACM Committee, including the belief that it is sound

to assume that some savings will occur with alternative shared services models, and the CACM

Committee should therefore focus its efforts on providing assistance and resources to courts



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interested in moving to alternative organizational models, including identifying the practical

mechanisms for, and obstacles to, implementing the models.

       At its September 2017 meeting, the CACM Subcommittee discussed the Budget

Committee’s suggestions, and drafted a second report documenting its progress and findings.

The second report includes a revised action plan focused on providing feasible alternative

organizational models for the courts to consider while incorporating more limited cost-benefit

analyses. See Report of the Committee on Court Administration and Case Management at

Agenda E-6 for additional information on the work of the subcommittee. After this Committee’s

December 2017 meeting, the chair sent a letter to the chair of the CACM Committee setting forth

the Committee’s comments on the report, agreeing with the subcommittee’s revised approach,

but disagreeing with the Budget Committee’s suggestion that the subcommittee should presume

savings.

       At its March 2018 meeting, the CACM Subcommittee considered and endorsed a

completed draft of its report on vertical consolidation of district and bankruptcy clerks’ offices,

and endorsed several revisions to the report. The CACM Subcommittee asked that the report be

presented to each of the involved Conference committees for discussion. The Committee

endorsed the revised draft of the vertical consolidation report with no comments or proposed

substantive changes. After the vertical consolidation report is finalized, it will be provided to the

Budget Committee and the Executive Committee, and appended to the CACM Committee’s

report to the Judicial Conference at its September 2018 session.

                                  Horizontal Consolidation Pilot

       The Bankruptcy Committee is proceeding with implementing the horizontal

consolidation pilot program approved by the Conference in March 2016. Two courts (the

Bankruptcy Courts for the Northern and Southern Districts of Iowa) entered into a memorandum

of understanding in 2016 and the pilot period formally began following the retirement of one of
                                                                        Bankruptcy Administration - Page 13

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the two clerks of court in July 2017. Two additional courts (the Bankruptcy Courts for the

Districts of North Dakota and South Dakota) entered into a memorandum of understanding to

participate in the pilot in April 2018 and the pilot period formally began following the retirement

of one of the two clerks of court in May 2018. The Committee continues to work to identify an

additional pair of courts to fulfill the goal of having up to three court pairs. The FJC, in

consultation with the Committee’s subcommittee on resource sharing, has also developed a

detailed protocol for evaluating the pilot project and plans to host a meeting in September 2018

to bring together administrative staff from the four participating courts to assist with its study of

the pilot.

                           BANKRUPTCY ADMINISTRATOR MATTERS

          Bankruptcy Administrator Program Review and Executive Committee Inquiry

         In January 2014, the Director of the AO requested a comprehensive review of the BA

program. Several factors led to this review—no review of the program had been performed since

its establishment in 1986; AO staff support of the program changed in 2013 to the newly

established Court Services Office; and negative audit findings in some BA districts had raised

concerns. The goal of the review was to ensure the BA program was being effectively supported

and managed and that the program served the needs of the public. Later, in August 2014, the

Executive Committee asked the Committee to examine and recommend, in consultation with

other Conference committees, whether the BA program should continue to exist as a judiciary

responsibility. The Committee deferred action on the Executive Committee’s request pending

completion of the program review.

         The program review has been completed and the final report was referred by the AO

Director to the Committee for consideration at its December 2017 meeting. The Committee

reviewed the report and recommended that the Director provide the report to the chief judges of

the bankruptcy courts and BAs in Alabama and North Carolina to give them an opportunity to
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provide feedback to the Committee. The responses from five of the six bankruptcy courts, as

well as the BA Advisory Group, indicate the unanimous belief that the BA program should

continue to exist as a judiciary responsibility. The responses highlighted many of the positive

findings in the report, including cleaner audits than those of U.S. trustee districts; overwhelming

support from local attorneys; the efficiency and flexibility of the BA program as compared to its

U.S. trustee counterparts relating to the BAs themselves, caseload, staff, and supervision; and the

overall experience and preference of judges, attorneys, and trustees for the BA program over the

United States Trustee Program (USTP).

       The Committee’s Estate Administration Subcommittee considered the report and the

responses from the bankruptcy courts and the BA Advisory Group and, in addition to echoing

many of the findings in the report discussed above, noted the efficiency of the BA program and

the lower cost of the BA program relative to the USTP in recommending that the BA program

continue to exist as a judiciary responsibility. Consistent with the Executive Committee’s

request, before making its final recommendation, the Committee is seeking the views of the

Committees on Audits and AO Accountability, the Budget, and Judicial Resources regarding

whether the BA program should continue to exist as a judiciary responsibility. Subject to the

feedback received from those committees, a draft response will be considered by the Committee

at its December 2018 meeting and transmitted to the Executive Committee in early 2019.

                Horizontal Restructuring of Bankruptcy Administrator Offices

       During the Bankruptcy Committee’s 2017 meeting with the Economy Subcommittee of

the Budget Committee, there was discussion about exploring the possibility of horizontally

restructuring BA offices. At its December 2017 meeting, the Committee divided its analysis of

the areas where horizontal restructuring of BA offices may result in cost savings into two

categories: (1) management and oversight and (2) other operational and administrative

roles/functions. The Committee referred this matter to its Estate Administration Subcommittee
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to develop, in consultation with its BA liaison, a report on whether there may be areas where

restructuring or further sharing within BA offices may result in cost savings. Following the

Committee’s December 2017 meeting, the Committee’s BA liaison provided the Estate

Administration Subcommittee with information related to the BA program and existing levels of

sharing done by the BAs with one another and with other court units.

         The Committee agreed with the Estate Administration Subcommittee’s conclusion that

the BA offices within the judiciary are already sharing many of their administrative functions

with one another and other court units, and therefore, formal consolidation would not produce

additional cost savings. The chair sent letters to the CACM and Judicial Resources Committees

seeking their views.

                                 JUDICIARY STRATEGIC PLANNING

         The Committee was asked by Chief Judge Carl E. Stewart, the judiciary’s planning

coordinator, to provide an update on the strategic initiatives that it is pursuing to implement the

Strategic Plan for the Federal Judiciary. The Committee was also asked to consider whether

any changes to its strategic initiatives were warranted, based on strategic planning priorities or

other judiciary initiatives. Following the June 2018 meeting, the chair provided a report to Chief

Judge Stewart on the information requested.

                            BANKRUPTCY JUDGE QUARTERLY
                       REPORTING OF MATTERS UNDER ADVISEMENT

         In March 1985, the Judicial Conference adopted a policy requiring circuit executives to

collect quarterly reports from bankruptcy (as well as district and magistrate) judges on matters

held under advisement for over 60 days. JCUS-MAR 85, pp. 11-12; Guide, Vol. 18, Ch. 5,

§ 560. Subsequently, the Civil Justice Reform Act of 1990 (CJRA), Pub. L. No. 101-650, was

enacted imposing reporting requirements on pending matters for district and magistrate judges

(the CJRA did not apply to bankruptcy judges) but only required semiannual reporting. The

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                                                                                     Supp. App.039
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Conference determined that the CJRA reporting requirements were sufficiently similar to its

previously adopted requirements and agreed to adopt the semiannual reporting for district and

magistrate judges, but did not change the bankruptcy judge reporting requirement. JCUS-

SEP 91, pp. 45-46.

       On November 15, 2017, all circuit executives in circuits with bankruptcy judges agreed

to request a change to the reporting requirements for bankruptcy matters held under advisement

for over 60 days from quarterly to semiannually to bring bankruptcy judge reporting

requirements in line with the reporting requirement for other judge types. The Bankruptcy

Judges Advisory Group unanimously agreed that the Committee should recommend approval of

the change. The proposed changes are not intended to prevent circuit executives from requiring

more frequent reporting. Volume 18, Ch. 5, § 560 of the Guide and the reporting form, AO-413,

would need to be modified to reflect semiannual instead of quarterly reporting.

       The Committee requested that the CACM Committee recommend that the Judicial

Conference approve changing the frequency of the reporting requirements for bankruptcy

matters held under advisement for over 60 days. The CACM Committee has recommended the

change to the September 2018 Judicial Conference, to begin with the reporting period ending

March 31, 2019. See Report of the Committee on Court Administration and Case Management

at Agenda E-6.

                REVISED PRELIMINARY APPLICATION AND
        DISCLOSURE STATEMENT FOR BANKRUPTCY JUDGE NOMINEES

       At their March 2018 semiannual meeting held immediately after the Judicial Conference

session, the chief circuit judges and circuit executives discussed the effect of the current sample

application and disclosure statement for bankruptcy judge positions. Some chief judges and

circuit executives expressed concern that the current sample application and disclosure statement




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                                                                                       Supp. App.040
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do not elicit enough information early enough in the process to allow proper consideration prior

to the background investigations required for appointment.

         To address the concerns, at its June 2018 meeting, the Committee discussed proposed

revisions to the sample bankruptcy judgeship application and disclosure statement, the sample

vacancy notices, and the Regulations for the Selection, Appointment, and Reappointment of

Bankruptcy Judges. The Committee will seek the views of the chief circuit judges and circuit

executives on proposed revisions at their September 2018 meeting. The changes will then be

considered by the Committee and the Judicial Conference, as appropriate.

                       QUARTERLY FEES IN LARGE CHAPTER 11
                   CASES IN BANKRUPTCY ADMINISTRATOR DISTRICTS

         The application of chapter 11 quarterly fees in districts under the USTP is set forth in 28

U.S.C. § 1930(a)(6). The fee does not apply to chapter 11 cases in BA districts.

         In 1994, the Ninth Circuit issued an opinion in St. Angelo v. Victoria Farms, Inc., 38 F.3d

1525 (9th Cir. 1994), holding that excluding the BA districts from the fees charged in USTP

districts was unconstitutional under the Uniformity Clause of the Constitution. The Ninth Circuit

found that the chapter 11 quarterly fees required in courts served by the USTP but not assessed

in BA districts resulted in a non-uniform application of bankruptcy law and unequal treatment of

creditors. As a result, in March 1996, the Judicial Conference adopted a recommendation from

the Committee to seek legislation providing authority to collect chapter 11 quarterly fees in BA

districts. JCUS-MAR 96, p. 10. On November 13, 2000, the Federal Courts Improvement Act

of 2000, Pub. L. No. 105-518, § 105, 114 Stat. 2410, 2412, was signed into law, and 28 U.S.C.

§ 1930 was amended to add subsection (a)(7), permitting the Judicial Conference to impose fees

in BA districts in amounts equal to those listed in 28 U.S.C. § 1930(a)(6). Subsection (a)(7)

further requires the judiciary to deposit all chapter 11 quarterly fees collected in BA districts as

offsetting receipts to the fund established under 28 U.S.C. § 1931.

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                                                                                      Supp. App.041
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         In September 2001, the Judicial Conference approved the Committee’s recommendation

that quarterly fees for chapter 11 cases in BA districts be imposed “in the amounts specified in

28 U.S.C. § 1930, as those amounts may be amended from time to time.” JCUS-SEP/OCT 01,

pp. 45-46.

         The Bankruptcy Judgeship Act of 2017 revised subsection (a)(6) to add a new subsection

(B), which provides that, during each of fiscal years 2018 through 2022, if the balance in the

United States Trustee System Fund (Fund) as of September 30 of the most recent full fiscal year

is less than $200 million, the quarterly fee payable for a calendar quarter in which disbursements

equal or exceed $1 million shall be the lesser of one percent of such disbursements or $250,000.

This would be a substantial increase over the fees currently charged, which range from $6,500 to

$30,000 for disbursements exceeding $1 million. The Fund is used for the operation of the

USTP, and it does not apply to the BA districts. See 28 U.S.C. § 589a.

         To ensure nationwide uniformity, the BAs requested that the Committee recommend that

the Conference approve similar fees in BA districts. The Committee noted the following issues

with the quarterly fees generally, and the possibility that increasing the fees would exacerbate

such problems: (1) whether imposing the quarterly fee has had a chilling effect on large chapter

11 case filings and (2) whether imposing the quarterly fee has precluded certain large chapter 11

debtors from successfully reorganizing (and compelling those debtors to instead dismiss or

convert to chapter 7). 3 The Committee will further consider these issues and consider whether

the Conference should make a recommendation to Congress regarding whether to reenact revised

subsection (a)(6)(B).




         3
          The Committee also noted the following issues with interpreting the relevant statutes: (1) whether certain
payments constitute “disbursements” for purposes of calculating the quarterly fee (specifically payments made by a
chapter 11 debtor to its post-petition lender in connection with a revolving line of credit) and (2) whether a chapter
11 debtor is obligated to pay the quarterly fee after confirmation of a chapter 11 plan.
                                                                                    Bankruptcy Administration - Page 19

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(Rev. 8/23/18)
         Notwithstanding the concerns outlined above, the Committee agreed that the quarterly fee

calculation changes in 28 U.S.C. § 1930(a)(6)(B) should apply in BA districts beginning in the

first quarter of fiscal year 2019 (that is, for any chapter 11 case filed on or after October 1, 2018,

and not for cases then pending). The Committee additionally endorsed ensuring that debtors

receive proper notice before imposing a higher fee on them. To allow the BAs and bankruptcy

courts in Alabama and North Carolina time to provide sufficient notice, the Committee asked the

Executive Committee to act on an expedited basis on behalf of the Conference. The Executive

Committee approved the Committee’s request at its August 9-10, 2018, meeting. See Agenda

E-1.

                      BANKRUPTCY JUDGESHIP VACANCY PILOT

         At its June 2014 meeting, the Committee recommended that the Judicial Conference

approve a pilot project that would allow no more than two districts with long-standing

bankruptcy judgeship vacancies to be filled and the selected judges to be assigned to districts

with emergency needs for additional bankruptcy judgeship resources through an intercircuit

assignment. On September 16, 2014, the Judicial Conference approved the bankruptcy

judgeship vacancy pilot. JCUS-SEP 14, p. 7. The pilot was implemented with the United States

Bankruptcy Courts for the Middle District of Florida and the Eastern District of Michigan as the

initial borrowing districts, and the District of South Dakota and Northern District of Iowa as the

lending districts. The participating courts and circuit judicial councils negotiated memoranda of

understanding (MOU) implementing the pilot and, in 2016, the selected judges were appointed.

         Shortly after the Committee’s December 2017 meeting, a vacancy occurred in the Middle

District of Florida that was subsequently filled by the pilot judge from the District of South

Dakota, Judge Roberta Colton. The Bankruptcy Court for the Middle District of Florida advised

that it no longer needed the additional bankruptcy judgeship, and as a result, the lending

arrangement between the District of South Dakota and the Middle District of Florida terminated
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                                                                                       Supp. App.043
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when Judge Colton began her new 14-year term in December 2017. The FJC’s study of the

lending agreement between the District of South Dakota and the Middle District of Florida will

continue until a final report is presented to the Committee.

       The District of South Dakota, with the support of the Eighth Circuit Judicial Council,

agreed to continue to participate as a lending district for another round of the pilot, with the

Northern District of Mississippi, with the approval of the Fifth Circuit Judicial Council, as the

next borrowing district. The Fifth and Eighth Circuit Judicial Councils entered into an MOU in

December 2017 to govern their participation in the pilot program. The Eighth Circuit sought

applications for a bankruptcy judge in the District of South Dakota with a duty station in Sioux

Falls, South Dakota, but who will serve in Aberdeen in the Northern District of Mississippi for

the first five years of the fourteen-year appointment via a long-term intercircuit assignment.

Interviews were conducted and an initial selection made in accordance with the agreement

between the circuit councils. The candidate is undergoing the FBI and IRS background

investigations.

       The Committee noted the positive feedback received to date about the pilot and the

existence of other long-standing bankruptcy judgeship vacancies that could be utilized to better

manage existing judgeship resources across the country. The Committee further noted that the

FJC’s study would benefit from additional participation in the pilot, particularly from courts in

different circuits participating as the lending districts. Subject to Judicial Conference approval of

the expansion of the pilot and the approval of the appropriate circuit judicial councils, the

Committee has identified at least one other vacancy that it believes may be a good candidate for

participation in the program. It thus recommended that the Judicial Conference approve

expanding the pilot to allow up to five long-standing bankruptcy judgeship vacancies to be filled

and the judges lent through the use of intercircuit assignments and agreements between volunteer

circuits, to districts that have emergency needs for additional bankruptcy judgeships.
                                                                        Bankruptcy Administration - Page 21

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         Recommendation: That the Judicial Conference approve expanding the
         bankruptcy judgeship vacancy pilot project to allow up to five long-standing
         vacancies to be filled and the judge lent to a district that has an emergency need
         for an additional judgeship through the use of an intercircuit assignment
         designation and an agreement between participating circuit councils.

                                        OTHER MATTERS

         Staff updated the Committee on the work of a task force established at its December 2017

meeting to explore options for improving the judiciary’s management of unclaimed funds

attributable to bankruptcy courts. The task force is comprised of judges, clerks of court, a

bankruptcy administrator, and AO staff, as well as representation from the Department of Justice

Executive Office for United States Trustees. The task force considered a number of proposals

related to (1) improving trustee efforts to locate creditors prior to depositing unclaimed funds

with the bankruptcy court, (2) improving the database that consolidates unclaimed funds data,

(3) improving bankruptcy court management of unclaimed funds, and (4) various proposals

related to escheatment, fees, the cy pres doctrine, and the possibility of creditors disclaiming

their interests in unclaimed funds. The task force discussed and agreed on proposals (both short-

and long-term) to develop and further research.

         The Committee received a report from its working group on diversity in bankruptcy

practice and discussed an event the working group organized with the University of San Diego

Law School, which was held the day before the Committee meeting. Law students from the

University of San Diego, externs with federal judges, and local federal judges were invited to

attend. The event included roundtable discussions among judges and law students. Law students

had the opportunity to learn and ask questions about bankruptcy practice, judicial clerkships, and

judicial service.

         The Committee received a report from its working group on interpreting services in

bankruptcy courts regarding progress made on identifying strategies for making interpreting

services available in courts in need of such services, and identifying potential funding sources.
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                                                                                      Supp. App.045
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The Committee is waiting for a legal opinion from the AO’s Office of General Counsel

regarding payments to providers of interpreting services before proceeding.

       The Committee received a report from FJC staff regarding the FJC’s ongoing projects for

the Committee, including evaluations of the Committee’s vacancy and horizontal consolidation

pilots and its study of bankruptcy judge time usage to aid development of new bankruptcy case

weights, as well as work relating to various educational initiatives.

       The Committee received status reports from the Bankruptcy Clerk of Court Committee

Liaison, the Bankruptcy Administrator Committee Liaison, the Advisory Committee on

Bankruptcy Rules Liaison, the Chair of the Bankruptcy Judges Advisory Group, and the

President of the National Conference of Bankruptcy Judges. The Committee also received

briefings from several AO offices.

                                                      Respectfully Submitted,



                                                      Karen E. Schreier, Chair

                                      Leslie J. Abrams                        Barbara J. Houser
                                      Christine M. Arguello                   Thomas L. Ludington
                                      John P. Bailey                          Eduardo C. Robreno
                                      Sara Darrow                             Brendan L. Shannon
                                      Pedro A. Delgado Hernandez              Erithe A. Smith
                                      Paul Engelmayer                         N. Randy Smith
                                      Mary P. Gorman                          John E. Waites
                                      Catharina Haynes

Appendix - Proposed Revisions to the Ad Hoc and Extended Service Bankruptcy Judge Recall
Regulations




                                                                        Bankruptcy Administration - Page 23

                                                                                        Supp. App.046
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                                                                                 Agenda E-3 (Appendix)
                                                                              Bankruptcy Administration
                                                                                        September 2018

Guide to Judiciary Policy
Vol. 3: Judges
                                                          Redlined Version
Ch. 9: Ad Hoc Recall of Retired Bankruptcy Judges
[. . .]

§ 920 Judicial Conference Regulations

[. . .]

§ 920.40 Staff

          [. . .]

          (b)       A recalled bankruptcy judge may be authorized two full-time chambers staff
                    members if the bankruptcy judge performshandles or is expected to
                    performhandle at least 75 percent of a full-time workload.825 weighted filings.
                    One full-time chambers staff member may be authorized if the judge
                    performshandles or is expected to performhandle at least a 40 percent
                    workload440 weighted filings, and no chambers staff may be authorized if the
                    recalled judge performshandles or is expected to performhandle a workload of
                    less than 40 percent440 weighted filings. Workload will be based upon statistics
                    compiled by the AO.

          [. . .]

          (d)       Notwithstanding paragraph (b), aA recalled bankruptcy judge may be authorized
                    onea greater or two full-timelesser number of chambers staff members than
                    provided for in paragraph (b) upon certification by the circuit judicial council, and
                    approval by the Committee, that the number of staff is necessaryappropriate after
                    considering the following factors, provided that a recalled bankruptcy judge may
                    be authorized no more than two full-time chambers staff members:

                       the costs associated with the staff;
                       the nature and mix of the district’s caseload;
                       historical caseload data and filing trends;
                       geographic, economic, and demographic factors in the district;
                       the lack of alternative solutions and resources for handling the district’s
                        workload; and
                       any other pertinent factors.

          [. . .]




                                                                   Bankruptcy Administration Appendix - 1

                                                                                         Supp. App.047
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Guide to Judiciary Policy
                                                           Redlined Version
Vol. 3: Judges

Ch. 10: Extended Service Recall of Retired Bankruptcy Judges
[. . .]

§ 1020 Judicial Conference Regulations

[. . .]

§ 1020.40 Staff

          (a)       Chambers staff may be authorized for a recalled bankruptcy judge only with the
                    approval of the judicial council of the circuit in which the judge will be serving and
                    the Committee. For recall appointments longer than one year and one day, the
                    Committee must reauthorize chambers staff every 12 months from the start of
                    the recall term. The authority to approve the staff may be delegated by the
                    Committee to its chair or an appropriate subcommittee.

          (b)       A recalled bankruptcy judge may be authorized two full-time chambers staff
                    members if the bankruptcy judge performshandles or is expected to
                    performhandle at least 75 percent of a full-time workload.825 weighted filings.
                    One full-time chambers staff member may be authorized if the judge
                    performshandles or is expected to performhandle at least a 40 percent
                    workload440 weighted filings, and no chambers staff may be authorized if the
                    recalled judge performshandles or is expected to performhandle a workload of
                    less than 40 percent.440 weighted filings. Workload will be based upon statistics
                    compiled by the AO.

          [. . .]

          (d)       Notwithstanding paragraph (b), aA recalled bankruptcy judge may be authorized
                    onea greater or two full-timelesser number of chambers staff members than
                    provided for in paragraph (b) upon certification by the circuit judicial council, and
                    approval by the Committee, that the number of staff is necessaryappropriate after
                    considering the following factors, provided that a recalled bankruptcy judge may
                    be authorized no more than two full-time chambers staff members:

                       the costs associated with the staff;
                       the nature and mix of the district’s caseload;
                       historical caseload data and filing trends;
                       geographic, economic, and demographic factors in the district;
                       the lack of alternative solutions and resources for handling the district’s
                        workload; and
                       any other pertinent factors.

          [. . .]


Bankruptcy Administration Appendix - 2



                                                                                         Supp. App.048
